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Apple market value hits $600 billion, closing in
on Microsoft record
By Associated Press, Published: April 10

NEW YORK — Apple, already the world’s most valuable company, hit the $600 billion level for the
first time Tuesday.

Only one other company has been worth $600 billion — Apple’s old sparring partner Microsoft Corp. It
reached that valuation for 13 trading days around the turn of the millennium, at the peak of the
technology stock mania.

At its highest level, on Dec. 30, 1999, Microsoft’s valuation was $619 billion. It’s now worth about
$255 billion.

General Electric Co. came just short of reaching a $600 billion valuation in August 2000.

Apple shares hit $644 in morning trading, up 1.2 percent from Monday’s close. At that price, the entire
company was worth $600.4 billion. By midday, the shares had retreated. The stock closed at $628.44,
down 1.2 percent from the day before, putting the value below $600 billion again.

Apple’s stock is up nearly 60 percent since the start of the year, an indication that investors are catching
up to what analysts have been saying for a while: Despite its enormous market capitalization, Apple’s
stock has been undervalued relative to its even more enormous profits.




http://www.washingtonpost.com/business/technology/apple-market-value-hits-600-billion-... 4/23/2012
Apple market value hits $600 billion, closing in on Microsoft record - The Washington Post Page 2 of 2
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The rally has also been fueled by the report of another blow-out holiday quarter, and the announcement
that Apple will start putting its $97.6 billion cash hoard to use this summer by paying a dividend and
buying back shares.

Apple’s market capitalization hit $500 billion on Feb. 29. That, in itself, was a rare achievement: Only
five other U.S. companies have ever been worth that much.

Apple’s market capitalization is still well below Microsoft’s 1999 record if inflation is taken into
account. The $619 billion then becomes $846 billion.

Many analysts believe Apple can get there, though. Last week, Brian White of Topeka Capital Markets
was the first to set a stock price target of more than $800, with a goal of $1,001. That target implies a
market capitalization of $932 billion.

White believes Apple will expand its reach this year by starting to sell the iPhone through China Mobile,
that country’s largest phone company, and by launching a TV set. Apple hasn’t confirmed either piece
of speculation.

In a rare contrarian opinion, BTIG Research analyst Walter Piecyk downgraded Apple from “Buy” to
“Hold” on Monday, saying its profit margins are unsustainable. Phone companies are seeing the profits
sapped by the subsidies they pay for the iPhone, he notes, and are set to curb their upgrade policies and
otherwise make it harder for people to trade up to the newest model. That effect will hardly be visible
when Apple reports results for the most recent quarter in two weeks, Piecyk believes, but he said it will
become more apparent later this year.

China’s largest oil company, PetroChina, was briefly worth $1 trillion after it listed on the Shanghai
stock exchange in 2007, but only based on its price on that exchange. Its shares also trade in Hong Kong
and on the New York Stock Exchange. Based on trading there, its market capitalization has never
reached $500 billion.

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                    EXHIBIT B
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                Apple Reports First Quarter Results
                Highest Quarterly Revenue and Earnings Ever

                All-Time Record iPhone, iPad and Mac Sales
                                                                                                                     Data Summary
                CUPERTINO, California—January 24, 2012—Apple® today announced financial results for its              Download
                fiscal 2012 first quarter which spanned 14 weeks and ended December 31, 2011. The
                Company posted record quarterly revenue of $46.33 billion and record quarterly net profit
                of $13.06 billion, or $13.87 per diluted share. These results compare to revenue of $26.74
                billion and net quarterly profit of $6 billion, or $6.43 per diluted share, in the year-ago
                quarter. Gross margin was 44.7 percent compared to 38.5 percent in the year-ago quarter.
                International sales accounted for 58 percent of the quarter’s revenue.


                The Company sold 37.04 million iPhones in the quarter, representing 128 percent unit
                growth over the year-ago quarter. Apple sold 15.43 million iPads during the quarter, a 111
                percent unit increase over the year-ago quarter. The Company sold 5.2 million Macs during
                the quarter, a 26 percent unit increase over the year-ago quarter. Apple sold 15.4 million
                iPods, a 21 percent unit decline from the year-ago quarter.


                “We’re thrilled with our outstanding results and record-breaking sales of iPhones, iPads and
                Macs,” said Tim Cook, Apple’s CEO. “Apple’s momentum is incredibly strong, and we have
                some amazing new products in the pipeline.”


                “We are very happy to have generated over $17.5 billion in cash flow from operations during
                the December quarter,” said Peter Oppenheimer, Apple’s CFO. “Looking ahead to the second
                fiscal quarter of 2012, which will span 13 weeks, we expect revenue of about $32.5 billion
                and we expect diluted earnings per share of about $8.50.”


                Apple will provide live streaming of its Q1 2012 financial results conference call beginning
                at 2:00 p.m. PST on January 24, 2012 at www.apple.com/quicktime/qtv/earningsq112. This
                webcast will also be available for replay for approximately two weeks thereafter.


                This press release contains forward-looking statements including without limitation those
                about the Company’s estimated revenue and earnings per share. These statements involve
                risks and uncertainties, and actual results may differ. Risks and uncertainties include
                without limitation the effect of competitive and economic factors, and the Company’s
                reaction to those factors, on consumer and business buying decisions with respect to the
                Company’s products; continued competitive pressures in the marketplace; the ability of the
                Company to deliver to the marketplace and stimulate customer demand for new programs,
                products, and technological innovations on a timely basis; the effect that product
                introductions and transitions, changes in product pricing or mix, and/or increases in
                component costs could have on the Company’s gross margin; the inventory risk associated
                with the Company’s need to order or commit to order product components in advance of
                customer orders; the continued availability on acceptable terms, or at all, of certain
                components and services essential to the Company’s business currently obtained by the
                Company from sole or limited sources; the effect that the Company’s dependency on
                manufacturing and logistics services provided by third parties may have on the quality,
                quantity or cost of products manufactured or services rendered; risks associated with the
                Company’s international operations; the Company’s reliance on third-party intellectual
                property and digital content; the potential impact of a finding that the Company has
                infringed on the intellectual property rights of others; the Company’s dependency on the
                performance of distributors, carriers and other resellers of the Company’s products; the
                effect that product and service quality problems could have on the Company’s sales and
                operating profits; the continued service and availability of key executives and employees;
                war, terrorism, public health issues, natural disasters, and other circumstances that could
                disrupt supply, delivery, or demand of products; and unfavorable results of other legal
                proceedings. More information on potential factors that could affect the Company’s
                financial results is included from time to time in the “Risk Factors” and “Management’s
                Discussion and Analysis of Financial Condition and Results of Operations” sections of the
                Company’s public reports filed with the SEC, including the Company’s Form 10-K for the
                fiscal year ended September 24, 2011 and its Form 10-Q for the fiscal quarter ended
                December 31, 2011 to be filed with the SEC. The Company assumes no obligation to update




http://www.apple.com/pr/library/2012/01/24Apple-Reports-First-Quarter-Results.html                                                                     4/6/2012
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                any forward-looking statements or information, which speak as of their respective dates.


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                and professional software. Apple leads the digital music revolution with its iPods and iTunes
                online store. Apple has reinvented the mobile phone with its revolutionary iPhone and App
                Store, and is defining the future of mobile media and computing devices with iPad.


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            Apple Announces Plans to Initiate Dividend and Share
            Repurchase Program
            Expects to Spend $45 Billion Over Three Years

            CUPERTINO, California—March 19, 2012—Apple® today announced plans to initiate a dividend and share repurchase program
            commencing later this year.


            Subject to declaration by the Board of Directors, the Company plans to initiate a quarterly dividend of $2.65 per share
            sometime in the fourth quarter of its fiscal 2012, which begins on July 1, 2012.

            Additionally, the Company’s Board of Directors has authorized a $10 billion share repurchase program commencing in the
            Company’s fiscal 2013, which begins on September 30, 2012. The repurchase program is expected to be executed over three
            years, with the primary objective of neutralizing the impact of dilution from future employee equity grants and employee
            stock purchase programs.

            “We have used some of our cash to make great investments in our business through increased research and development,
            acquisitions, new retail store openings, strategic prepayments and capital expenditures in our supply chain, and building out
            our infrastructure. You’ll see more of all of these in the future,” said Tim Cook, Apple’s CEO. “Even with these investments, we
            can maintain a war chest for strategic opportunities and have plenty of cash to run our business. So we are going to initiate a
            dividend and share repurchase program.”


            “Combining dividends, share repurchases, and cash used to net-share-settle vesting RSUs, we anticipate utilizing
            approximately $45 billion of domestic cash in the first three years of our programs,” said Peter Oppenheimer, Apple’s CFO.
            “We are extremely confident in our future and see tremendous opportunities ahead.”


            Apple will provide live streaming of a conference call to discuss its plans beginning at 6:00 a.m. PDT on Monday, March 19,
            2012 at www.apple.com/quicktime/qtv/call31912. The Company will not be providing an update on the current quarter nor
            will any topics be discussed other than cash. This webcast will also be available for replay for approximately two weeks
            thereafter.


            This press release contains forward-looking statements including without limitation those regarding future business outlook
            and plans for dividends and share repurchases. These statements involve risks and uncertainties, and actual results may
            differ. Risks and uncertainties include without limitation the effect of competitive and economic factors, and the Company’s
            reaction to those factors, on consumer and business buying decisions with respect to the Company’s products; continued
            competitive pressures in the marketplace; the ability of the Company to deliver to the marketplace and stimulate customer
            demand for new programs, products, and technological innovations on a timely basis; the effect that product introductions
            and transitions, changes in product pricing or mix, and/or increases in component costs could have on the Company’s gross
            margin; the inventory risk associated with the Company’s need to order or commit to order product components in advance of
            customer orders; the continued availability on acceptable terms, or at all, of certain components and services essential to the
            Company’s business currently obtained by the Company from sole or limited sources; the effect that the Company’s
            dependency on manufacturing and logistics services provided by third parties may have on the quality, quantity or cost of
            products manufactured or services rendered; risks associated with the Company’s international operations; the Company’s
            reliance on third-party intellectual property and digital content; the potential impact of a finding that the Company has
            infringed on the intellectual property rights of others; the Company’s dependency on the performance of distributors, carriers
            and other resellers of the Company’s products; the effect that product and service quality problems could have on the
            Company’s sales and operating profits; the continued service and availability of key executives and employees; war, terrorism,
            public health issues, natural disasters, and other circumstances that could disrupt supply, delivery, or demand of products;
            and unfavorable results of other legal proceedings. More information on potential factors that could affect the Company’s
            financial results is included from time to time in the “Risk Factors” and “Management’s Discussion and Analysis of Financial
            Condition and Results of Operations” sections of the Company’s public reports filed with the SEC, including the Company’s
            Form 10-K for the fiscal year ended September 24, 2011 and its Form 10-Q for the fiscal quarter ended December 31, 2011.
            The Company assumes no obligation to update any forward-looking statements or information, which speak as of their
            respective dates.




http://www.apple.com/pr/library/2012/03/19Apple-Announces-Plans-to-Initiate-Dividend-... 4/20/2012
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            Apple designs Macs, the best personal computers in the world, along with OS X, iLife, iWork and professional software. Apple
            leads the digital music revolution with its iPods and iTunes online store. Apple has reinvented the mobile phone with its
            revolutionary iPhone and App Store, and is defining the future of mobile media and computing devices with iPad.


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                                                                                Page 1
 1                UNITED STATES DISTRICT COURT
 2    NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 3                CASE NO. 12-CV-00630-LHK (PSG)
 4       -----------------------------------------)
         APPLE INC., a California corporation,    )
 5                                                )
                        Plaintiff,                )
 6                                                )
                    vs.                           )
 7                                                )
         SAMSUNG ELECTRONICS CO., LTD., a         )
 8       Korean business entity; SAMSUNG          )
         ELECTRONICS AMERICA, INC., a New         )
 9       York corporation; SAMSUNG                )
         TELECOMMUNICATIONS AMERICA, LLC, a       )
10       Delaware limited liability company,      )
                                                  )
11                      Defendants.               )
         -----------------------------------------)
12
13
14
15           VIDEOTAPED DEPOSITION OF NATHANIEL POLISH
16                       New York, New York
17                         April 3, 2012
18
19
20
21
22
23        Reported by:
24        KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25        JOB NO. 47971

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                                            Page 2                                                  Page 3
 1         April 3, 2012                              1
 2                                                    2          A P P E A R A N C E S:
 3      VIDEOTAPED deposition of NATHANIEL            3
 4   POLISH, held at Quinn Emanuel Urquhart &         4   GIBSON DUNN & CRUTCHER
 5   Sullivan, LLP, 51 Madison Avenue, New York,      5   Attorneys for Plaintiff
 6   New York, before Kathy S. Klepfer, a Registered 6       200 Park Avenue
 7   Professional Reporter, Registered Merit          7      New York, New York 10166
 8   Reporter, Certified Realtime Reporter,           8   BY: JOSHUA FURMAN, ESQ.
 9   Certified Livenote Reporter, and Notary          9   BY: BRIAN M. BUROKER, ESQ.
10   Public of the State of New York.                10
11                                                   11
12                                                   12
13                                                   13
14                                                   14   MORRISON & FOERSTER
15                                                   15   Attorneys for Plaintiff
16                                                   16      425 Market Street
17                                                   17      San Francisco, California 94105
18                                                   18   BY: DIANA B. KRUZE, ESQ.
19                                                   19
20                                                   20   QUINN EMANUEL URQUHART & SULLIVAN
21                                                   21   Attorneys for Defendants
22                                                   22      51 Madison Avenue
23                                                   23      New York, New York 10010
24                                                   24   BY: ANASTASIA M. FERNANDS, ESQ.
25                                                   25      ROBERT KANG, ESQ.
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                                            Page 4                                                  Page 5
 1                                                    1
 2                                                    2       IT IS HEREBY STIPULATED AND
 3                                                    3   AGREED, by and between the attorneys for
 4   ALSO PRESENT:                                    4   the respective parties herein, that the
 5     MICHAEL PINEIRO, Videographer                  5   filing and sealing be and the same are
 6                                                    6   hereby waived.
 7                                                    7       IT IS FURTHER STIPULATED AND
 8                                                    8   AGREED that all objections, except as to
 9                                                    9   the form of the question, shall be
10                                                   10   reserved to the time of the trial.
11                                                   11       IT IS FURTHER STIPULATED AND
12                                                   12   AGREED that the within deposition may be
13                                                   13   sworn to and signed before any officer
14                                                   14   authorized to administer an oath, with
15                                                   15   the same force and effect as if signed
16                                                   16   and sworn to before the Court.
17                                                   17
18                                                   18
19                                                   19
20                                                   20
21                                                   21
22                                                   22
23                                                   23
24                                                   24
25                                                   25
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 1          I mean, the point of the whole system        1   time?
 2   was that you were looking at recent history to      2      A. No. It was, I think -- in all the
 3   change -- I see, okay. So looking in column 5,      3   systems we built, the database was very, very
 4   about line 7, "The system state is updated to       4   tightly wedded to the rules we were using and
 5   reflect the new conversation history and updates    5   the grammars we were using. So, I mean, you
 6   the grammar weightings for the 'pick grammars'      6   could partition the database to run it on
 7   phase of the model. Updates to the system state     7   multiple computers for efficiency, but the
 8   signal actions for the controlled unit to           8   database was a very tightly crafted piece of the
 9   execute. For example, the navigation of a Web       9   overall system.
10   browser or the operation of the VCR."              10          So when you look at, you know, on the
11          So the idea was that you would, as you      11   front cover, the database 111, that was -- that
12   made progress through a conversation, you would    12   was all very, very tightly coupled to everything
13   alter the weights to reflect greater likelihood    13   else. We would have loved to have been able to
14   of certain follow-up queries being made. So if     14   access other people's databases and not have to
15   you were beginning a conversation about the        15   do the work, but in the work we contemplated
16   Beatles and you had something in the query that    16   here, it was all just one big database.
17   would make it sound like you were -- you were      17      Q. Now, I'm back at column 4, where we
18   inquiring about the early Beatles, you might       18   were before, toward the bottom of the column at
19   have some different weights for that than for      19   about line 64?
20   later. Or if you were having a conversation        20      A. Okay.
21   about playing something on the VCR, you would      21      Q. Do you see the reference to a "fuzzy
22   alter the weights of the grammars to reflect the   22   matching process"?
23   greater likelihood of those coming up next.        23      A. Yes.
24      Q. Was the Soliloquy system capable of          24      Q. And how was a fuzzy matching process
25   querying multiple SQL databases at the same        25   used to refine an answer?
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                                             Page 24                                                Page 25
 1          MR. BUROKER: Object to form.                 1   fuzzy matching process in the Soliloquy system?
 2      A. Right. Well, the example that I               2      A. I think that at least for some
 3   always used in something like that is mentioned     3   definitions of "heuristic" phonetic searching
 4   on line 65, which is to say searching               4   could well be referred to as a heuristic. I
 5   phonetically. The example I always used was if      5   don't think I -- I don't think I thought of it
 6   you, because you were taking text coming from a     6   or referred to it as heuristic search in any of
 7   dictation system, you'd get text and it might be    7   this, in any of this work, but certainly some
 8   that there was some misunderstanding, and so        8   people might refer to looking for phonetic
 9   what you do is you would pass it through            9   matches as being heuristic.
10   something to convert it to a list of phonemes      10      Q. Your '531 patent was filed in 2000; is
11   and then you would do a phonetic search.           11   that correct?
12          There were a number of technologies         12           MR. BUROKER: Object to form.
13   around to do that, and so instead of looking       13      A. I'm relying entirely upon the face of
14   for, you know, say you got the word "beer," you    14   the patent because it was a long time ago. It
15   might also be looking for things that would        15   looks like the provisional was filed in '99 and
16   sound a bit like "beer," maybe "bin" or "bear"     16   the -- the final was filed in February 2000.
17   or things that are not necessarily                 17      Q. Was there an ordinary meaning in
18   typographically close, but phonetically close.     18   computer science for "heuristic" in 2000?
19          So that's what was generally meant by       19      A. Certainly heuristic was a well-known
20   the kind of a fuzzy search, not just looking --    20   artificial intelligence concept by 2000.
21   you could look for things that were                21      Q. In your earlier answer, you had stated
22   typographically close, like small misspellings,    22   that for some definitions of "heuristic" the
23   but you could also look for things that were       23   searches in the Soliloquy -- the phonetic
24   phonetically close that had a similar acoustic.    24   searches could be considered heuristic searches.
25      Q. Were heuristic algorithms used in the        25           Under what definitions of "heuristic"?
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                                                                                7 (Pages 22 to 25)
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 1      A. Well, I taught computer science around        1   what the arguments were and why certain
 2   this time and I taught artificial intelligence,     2   approaches were taken. I mean, I looked at a
 3   and we taught something referred to as heuristic    3   range of documents that I have put in the
 4   search. And I think when I looked at the file       4   declaration that all informed my understanding
 5   history for the '604 patent, there was a            5   of the patent. Certainly the prosecution
 6   description in there of some definitions of         6   history did as well.
 7   "heuristic" and I think they were all within the    7      Q. And you understand the prosecution
 8   range of what people would accept, which is         8   history should be considered in determining how
 9   generally some kind of rule of thumb that helps     9   claims should be interpreted in the context of
10   you find an answer. I know it's a very vague       10   the particular patent, correct?
11   answer, but heuristic is kind of a broad           11      A. Yes, my understanding is the
12   concept.                                           12   prosecution history needs to be taken into
13      Q. Now, you've reviewed the prosecution         13   account. There's different -- different aspects
14   history for the '604 patent in connection with     14   of it have different -- have different weight
15   your work on this case?                            15   and different importance, but certainly it's
16      A. Yes.                                         16   part of the record that's important.
17      Q. And I believe you stated that you saw        17      Q. In your declaration in this case, you
18   some definitions for "heuristic" in there,         18   didn't identify any particular portion of the
19   correct?                                           19   prosecution history that informed your claim
20      A. Yes.                                         20   interpretation, correct?
21      Q. Is there anything that you saw in the        21          MR. BUROKER: Object to form.
22   prosecution history that informed your             22      A. I don't recall specifically and I
23   interpretation of the claims of the '604 patent?   23   haven't got the declaration in front of me. It
24      A. Well, I -- I mean, I learned a lot           24   might be helpful if I had it.
25   looking at the prosecution history as to what --   25          (Polish Exhibit 3, Expert Declaration
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 1      of Dr. Nathaniel Polish Concerning U.S.          1      A. Well, I think I've been deposed about
 2      Patent No. 8,086,604, marked for                 2   35 times. If you consider those testimony, yes.
 3      identification, as of this date.)                3      Q. Were those all as an expert witness?
 4   BY MS. FERNANDS:                                    4      A. I think one or two of those may have
 5      Q. You now have what we marked as Polish         5   been as a -- as a fact witness regarding patents
 6   Exhibit 3.                                          6   of mine that were being litigated.
 7      A. Okay.                                         7      Q. Were the cases in which you were
 8      Q. Is this the declaration to which you          8   testifying as an expert witness all in patent
 9   referred?                                           9   cases?
10      A. Yes, it is.                                  10      A. One or two of them involved copyright
11      Q. And in this declaration, you did not         11   issues or trade secret issues or contracts
12   point to any particular portion of the             12   issues. They all I think generally involved
13   prosecution history that informed your             13   intellectual property, but most -- but the vast
14   interpretation of the claims, correct?             14   majority are patent.
15      A. I believe I refer to the fact that           15      Q. So you understand what it means to say
16   I -- that it's important and that I looked at      16   that a patent "claims" a certain invention,
17   it. I don't recall citing a particular spot.       17   correct?
18           Yes, I don't think I referred to any       18      A. Generally speaking, yes.
19   particular spot on the prosecution history.        19      Q. And you understand that the language
20      Q. You also reviewed the prosecution            20   of the claims controls the scope of the
21   history for the parent application that resulted   21   invention?
22   in the '959 patent; is that correct?               22      A. Yes.
23      A. That's correct.                              23      Q. In your analysis in connection with
24      Q. I think you said earlier you have            24   this case for the '604 patent, you first
25   testified about 35 times; is that right?           25   considered how you believe the claims would be
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                                                                                8 (Pages 26 to 29)
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                                             Page 30                                                 Page 31
 1   interpreted by a person of skill in the art; is     1   particularly looking at what the attorneys on my
 2   that correct?                                       2   side or the attorneys on the other side were
 3      A. Yes.                                          3   doing in terms of claim construction.
 4      Q. Do you have your declaration there,           4      Q. So in your declaration you haven't set
 5   which is Exhibit 3?                                 5   forth any proposed claim constructions; is that
 6      A. Yes.                                          6   correct?
 7      Q. Could you turn to paragraph 19,               7      A. I believe in my -- in the declaration
 8   please, to start?                                   8   I put forth everything should be ordinary
 9      A. Okay.                                         9   meaning, and that's how I was interpreting them.
10      Q. I just wanted to ask you about the           10   And in the case of trying to understand how
11   first sentence in paragraph 19 where you state,    11   to -- what some of these things meant in more
12   "I understand that the parties dispute the         12   detail, I looked at the spec and I found some
13   construction of several terms"?                    13   support for particular ways I was looking at
14      A. Yes.                                         14   what would have -- what one of ordinary skill
15      Q. On what is that understanding based?         15   would have thought the terms meant.
16      A. It would only have been based upon           16      Q. If you look at page -- paragraph 48,
17   what the lawyers I was working with would have     17   rather. The last sentence of paragraph 48, you
18   told me.                                           18   state, "At present, my opinions are based on the
19      Q. Are you aware of any dispute as to           19   claims as I believe a person of ordinary skill
20   claim terms that exist in this case right now?     20   in the art would have understood them." Is that
21      A. I'm not aware -- I don't think I'm           21   correct?
22   aware of particular claim construction arguments   22      A. Yes.
23   that are going on. I was focused in this -- in     23      Q. And is it your understanding that a
24   this declaration on what I thought the claims      24   person of ordinary skill in the art would have
25   meant and not -- I wasn't -- I wasn't              25   assigned a plain and ordinary meaning to the
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                                             Page 32                                                 Page 33
 1   terms in the '604 patent?                           1   and certainly in light of what's in the spec, it
 2          MR. BUROKER: Object to the form.             2   was -- it was clear what they were.
 3      A. I think, again, I didn't perform a            3      Q. So is the specification of the '604
 4   claim construction analysis as part of this. I      4   patent necessary for an understanding of the
 5   looked at the claims, I looked at what I thought    5   meaning of "heuristic module" as used in the
 6   the terms meant, and I looked at the spec to        6   claims in your opinion?
 7   help. To the extent that that's plain and           7      A. I think -- I think you have to read
 8   ordinary meaning, yes.                              8   the claims in light of what's in the spec, and I
 9      Q. So at the top of that page that we            9   think the spec is -- is very informative and
10   were on, page 14, there are two claims, claim 6    10   very important, and so I used the spec as part
11   and claim 19, do you see that?                     11   of my understanding of -- of what -- of what the
12      A. Yes.                                         12   claims meant.
13      Q. And those were the two claims that you       13      Q. And in forming your opinions you set
14   analyzed in connection with this declaration; is   14   forth in this declaration, what was your
15   that correct?                                      15   understanding of the meaning of "heuristic
16      A. That's correct.                              16   module"?
17      Q. So let's start with some of the terms        17      A. Well, my understanding was that it was
18   of those claims. You see the term "heuristic       18   a -- it was a module of software that performed
19   modules" appears in claim 6?                       19   a heuristic search on -- on data. I mean, there
20      A. Yes.                                         20   were -- I was informed largely by a discussion
21      Q. Did the term "heuristic module" have a       21   in the claim spec -- in the patent spec that
22   plain and ordinary meaning in the art in 2000?     22   made a list of examples of heuristic modules
23      A. Well, as I said, "heuristic" means a         23   and -- and what kinds of heuristics were being
24   lot of different things. I think people would      24   used in those modules.
25   have understood what -- what those modules were,   25           (Polish Exhibit 4, U.S. Patent No.
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                                                                                 9 (Pages 30 to 33)
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                                             Page 42                                                 Page 43
 1   equivalent training and course work and some        1   BY MS. FERNANDS:
 2   academic or work experience in computer             2      Q. So if you could take out what we
 3   software.                                           3   marked as Exhibit 4. It's the '604 patent.
 4          So I think -- I think a bachelor's in        4      A. Okay.
 5   computer science is enough right there. If          5      Q. And turn to column 8.
 6   you're not going to have a bachelor's in            6      A. Okay.
 7   computer science -- and I don't have a              7      Q. Claim 6 begins around line 26 of
 8   bachelor's in computer science. I am largely        8   column 8, correct?
 9   self-trained in this sort of thing. I had           9      A. Yes.
10   equivalent training and course work and some       10      Q. And if you go down to about line 30,
11   academic and work experience in computer           11   do you see the claim element "a plurality of
12   software.                                          12   heuristic modules"?
13      Q. Let's go back to what we've marked as        13      A. Yes.
14   Polish 4. The '604 patent.                         14      Q. What is your understanding of what "a
15          THE WITNESS: Okay. At your next             15   plurality of heuristic modules" means?
16      moment, I wouldn't -- a breakpoint, I           16      A. At least two.
17      wouldn't mind a bathroom break.                 17      Q. Would you agree that a device that had
18          MS. FERNANDS: This is a fine point.         18   only one heuristic module would not satisfy the
19          THE VIDEOGRAPHER: This is the end of        19   claim limitation "a plurality of heuristic
20      the tape labeled number 1. The time is          20   modules"?
21      10:32. Going off the record.                    21      A. I would agree with that, yes.
22          (Recess.)                                   22      Q. If you go down to -- it's about the
23          THE VIDEOGRAPHER: This is the start         23   broken line, 34 to 35 in claim 6 still.
24      of tape labeled number 2. The time is           24      A. Yes.
25      10:41. We're back on the record.                25      Q. Do you see the heuristic algorithm
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                                             Page 44                                                 Page 45
 1   limitation?                                         1   before and they would have generally understood
 2      A. Yes.                                          2   what it meant.
 3      Q. In your opinion, did "heuristic               3      Q. I believe you said a couple of answers
 4   algorithm" have an ordinary meaning in the art      4   ago that there were a lot of meanings to
 5   in 2000?                                            5   "heuristic algorithm" in 2000; is that accurate?
 6      A. Yes, as I said before, it -- it had a         6      A. As I said, I think it's -- it's a
 7   lot of different meanings and I think people        7   broad term that I think was described in the
 8   generally understood what it meant, and the spec    8   file history a little bit. People generally
 9   helps you understand at least some of what it       9   understood it to be a rule of thumb that gave
10   meant.                                             10   you the -- that would give you an answer that
11      Q. How would a person of ordinary skill         11   would -- it wouldn't necessarily give you the
12   in the art have understood -- what would a         12   definitive one answer, but it would give you a
13   person of ordinary skill in the art have           13   result that would help you towards an answer.
14   understood "heuristic algorithm" to mean in        14      Q. How would a person of ordinary skill
15   2000?                                              15   in the art in 2000 have determined whether a
16          MR. BUROKER: Object to form.                16   particular algorithm was a heuristic algorithm?
17      A. Well, I think -- I think somebody            17      A. I think they would have -- they would
18   would have understood it to mean that there was    18   have relied upon their computer science
19   some algorithm that would operate on a             19   background and examples from computer science
20   particular -- on a particular area of data and     20   courses of heuristic searches and heuristic
21   come up with a result that would be -- might not   21   algorithms to find examples of heuristic
22   be the definitive answer, but would be a           22   searches, and those would have been distinct
23   helpful -- would be helpful towards an answer,     23   from other kinds of, in some sense, more precise
24   and then they would have looked at the spec and    24   search technologies that -- that might have been
25   seen some examples that we've been talking about   25   alternatives.
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                                                                               12 (Pages 42 to 45)
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                                              Page 46                                                 Page 47
 1      Q. Would the person of ordinary skill in         1   the art have understood that there could be
 2   the art in 2000 looking to the examples of          2   heuristic algorithms other than what the
 3   heuristic algorithms have understood the full       3   examples are in column 4?
 4   scope of what is a heuristic algorithm?             4      A. Yes, certainly.
 5      A. What exactly do you mean by "full             5      Q. And how would the person of ordinary
 6   scope" there?                                       6   skill in the art understand whether an algorithm
 7      Q. When we discussed earlier whether             7   that they were working with was in fact a
 8   there was an ordinary meaning in the art of         8   heuristic algorithm under the broader meaning if
 9   "heuristic algorithms," you said there were a       9   it did not fall within these examples?
10   lot of meanings, correct?                          10      A. Well, I think -- I mean, I used to
11      A. I think -- I don't know the exact            11   teach a class in artificial intelligence and we
12   word, but it's possible, yes.                      12   had -- we had several weeks we talked about
13      Q. And in your opinion, do all of those         13   heuristic algorithms, heuristic searches, and
14   meanings apply in the context of the '604          14   there were plenty of examples in a typical
15   patent?                                            15   course like that of heuristic algorithms. And I
16      A. I don't think that there's a limit set       16   think people would have -- would have seen those
17   in terms of the meaning of "heuristic algorithm"   17   examples and understood that it's -- it's
18   within the patent. I think the patent at least     18   something which might not be -- give you the
19   sets -- it sets it broad with the term             19   precise answer, but which would give you an
20   "heuristic algorithm," and then in column 4, you   20   answer which would help you towards getting your
21   at least have guidance as to three particular      21   answer.
22   examples that are at least included. And I         22      Q. And in your opinion, do all algorithms
23   think that's what would be the guide to know       23   that might not give you the precise answer but
24   what was meant by "heuristic algorithm."           24   which would give you the answer which would help
25      Q. Would a person of ordinary skill in          25   you toward getting the answer qualify as a
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                                              Page 48                                                 Page 49
 1   heuristic algorithm?                                1   be a heuristic algorithm?
 2      A. Depending on the context. I think             2          MR. BUROKER: Object to form.
 3   they likely would. It would depend on the           3       A. Well, in the context of a system such
 4   context. I would have to see a particular -- a      4   as this where you're -- where you're
 5   particular example, but as I say, "heuristic" is    5   implementing a search, I think you would view it
 6   a pretty broad concept and it's a -- it's a         6   as being heuristic. You might have the same
 7   pretty broad concept in that -- but I mean,         7   algorithm in a non-search context where it might
 8   most -- I would have to look at a particular        8   not be called a heuristic.
 9   example, but I think most that would fit, what      9          An example might be you might apply
10   we just said there, that performed an analysis     10   something to a Web page and get a score, and
11   of a particular area of data and came back with    11   that score -- you might call that just some kind
12   a result that helped you towards -- towards        12   of a Web page score. In the context of
13   getting your result, I think those would likely    13   searching Web pages, that algorithm would be a
14   be considered heuristics.                          14   heuristic one, but somebody might just call it a
15      Q. Is it possible that an algorithm could       15   score if they were just doing it in the context
16   be considered a heuristic algorithm in some        16   of scoring a document or scoring the page.
17   contexts but not in others?                        17       Q. Why, in your opinion, would the
18      A. Probably. I would have to think about        18   algorithm be a heuristic one when searching Web
19   that, but probably. Some people might call it      19   pages?
20   something different. Some people might call it,    20       A. Well, again, if you had something
21   you know, have it by a different name in a         21   which scored the page and gave you a result and
22   different context.                                 22   it would help you towards some goal of
23      Q. If it were called by a different name        23   understanding the page, that would be a
24   in a different context, would the person of        24   heuristic, and certainly -- I would say it would
25   ordinary skill in the art still understand it to   25   be a heuristic no matter what, but somebody
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                                                                               13 (Pages 46 to 49)
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                                             Page 50                                                 Page 51
 1   might simply call it a score in other contexts.     1   ordinary meaning as informed by the
 2   In the context of searching, it would clearly be    2   specification, was there a plain and ordinary
 3   a heuristic.                                        3   meaning that was, in your opinion, altered by
 4      Q. In your analysis concerning the '604          4   the specification in some way?
 5   patent, what construction were you using for a      5      A. I wouldn't say it was altered. I
 6   heuristic algorithm?                                6   think the plain and ordinary meaning is, and I
 7      A. Well, I didn't -- I didn't set forth a        7   don't want to do claim construction here, but
 8   claim construction analysis here. I viewed it       8   I -- plain and ordinary meaning as described in
 9   as plain and ordinary meaning and informed by       9   the file history and I think generally is it's
10   the spec. So I viewed it as -- as I think was      10   a -- it's a rule or set of rules that provides
11   described in the file history at various points.   11   an answer that advances you towards -- towards
12          It was an algorithm that would -- it        12   an understanding or a goal that the spec didn't
13   was a rule of thumb or an algorithm that would     13   alter it, but it -- it said, well, it has to at
14   give you a result that would help you towards      14   least include these three items, and then those
15   your answer, and certainly in the context of the   15   three items happened to be ones that were in the
16   spec, those three examples they give would fit     16   accused product so I didn't have to go much
17   under that. And in my infringement analysis, I     17   further.
18   found those specific examples in the accused       18           I mean, I'm in the situation with the
19   product.                                           19   declaration where I don't have a full-on claim
20          So, for the purposes of coming up with      20   construction analysis, but I could still find
21   an infringement analysis, I didn't have to go      21   infringement because it was matching what was in
22   much further than look at what was in the spec     22   the spec so closely.
23   and what -- and what was generally discussed in    23      Q. In your opinion, is "heuristic
24   the file history.                                  24   algorithm" specifically defined in the
25      Q. When you say that you used plain and         25   specification?
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                                             Page 52                                                 Page 53
 1          MR. BUROKER: Object to form.                 1   examples heuristic?
 2      A. There is not a definition and they're         2      A. Well, I think what they're -- what
 3   certainly not acting as their own lexicographer     3   they're getting to here and in other parts of
 4   in the patent.                                      4   the patent is that you're doing -- you're
 5      Q. These examples that you pointed to in         5   narrowing your search based upon certain
 6   column 4, these are examples of searches that       6   heuristics or criteria.
 7   might be run with heuristic algorithms; is that     7           For example, in the -- in the last of
 8   correct?                                            8   the three examples of list of recently accessed
 9      A. Well, these are -- these are examples         9   files, applications and Websites, presumably the
10   that are heuristic, that these searches that are   10   list of all of your files and all of your
11   done within the patent, these are examples of      11   applications and all of the Websites on the
12   what they consider to be heuristic modules or      12   Internet is too big a list. So they are
13   heuristic algorithms.                              13   offering results that are based upon the ones
14      Q. The actual algorithms used are not set       14   you most recently looked at.
15   forth in column 4; is that correct?                15           So it might be that that's wrong and
16          MR. BUROKER: Object to form.                16   that -- and that in fact what you're looking for
17      A. That's right. I don't think they set         17   is a Website you have never accessed before
18   forth what people would consider to be an          18   and/or an application you have never used
19   algorithm here.                                    19   before, but this heuristic will offer you the
20      Q. In your opinion, what makes these            20   ones that are most recent and so they -- they
21   examples heuristic?                                21   might be the ones you're interested in. So, in
22      A. You mean other than they say that            22   that sense, it's heuristic. It's giving you
23   they're heuristic in the patent?                   23   something which will advance you towards the
24      Q. Other than your understanding in the         24   goal of finding what you're looking for, but
25   art of what is a heuristic, what makes these       25   isn't necessarily going to be giving you the
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                                                                               14 (Pages 50 to 53)
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                                            Page 54                                                  Page 55
 1   precise answer.                                     1   necessarily employ heuristic algorithms?
 2      Q. In the second example here in column 4        2      A. Well, again, it would partly depend on
 3   at about line 17, the "module that may index and    3   the context. I think in the case of what
 4   search the contents of files on the local and/or    4   they're talking about here where you're looking
 5   network storage volumes," how is that heuristic?    5   for a particular file and you're saying, well, I
 6      A. Well, this would -- this would enable         6   know it contains the word "heuristic," that
 7   you to, for example, find all the documents or      7   would -- that would be a heuristic algorithm.
 8   find -- find documents that contain a particular    8          I suppose there could be other
 9   word. So if you were looking for documents that     9   contexts in which that might not be considered a
10   contained the word "heuristic," it would give      10   heuristic algorithm, but you'd have to come up
11   you this list of documents that would have the     11   with some hypothetical for where that would be.
12   word in it and you'd have to figure out further    12      Q. Now, as we've been going through this
13   which is the one you're actually looking for.      13   today, we've used the term "heuristic" and the
14          So it wouldn't give you the exact file      14   term "heuristic algorithm." Is there a
15   you're looking for; it would give you a list       15   distinction between a "heuristic" and a
16   that would likely contain the file you're          16   "heuristic algorithm"?
17   looking for. So, again, it would give you a        17      A. Well, a heuristic algorithm is an
18   result which would advance you towards the goal    18   implementation of a heuristic. The algorithm
19   of finding the right file. It wouldn't             19   might be a little bit, you know, might do a few
20   necessarily find you the exact file, but would     20   other things too, but generally speaking, the
21   say, well, these are likely to be the ones --      21   heuristic algorithm is implementing a heuristic.
22   these are likely to be the file you're looking     22          (Polish Exhibit 5, a document bearing
23   for.                                               23      Bates Nos. APLNDC630-40547 through 558,
24      Q. In your opinion, would a module that         24      marked for identification, as of this date.)
25   indexes and searches contents of files             25   BY MS. FERNANDS:
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                                            Page 56                                                  Page 57
 1      Q. You have just been handed what we             1   the file history, it's something that you
 2   marked as Polish Exhibit 5. Do you recognize        2   reviewed?
 3   this?                                               3      A. Yes, it's something that I certainly
 4      A. I recognize this as being part of a           4   would have seen.
 5   file history. It looks like it's part of the        5      Q. And you referred earlier to
 6   file history for this patent, but I'm --            6   definitions of "heuristic" provided in the file
 7      Q. If you look at the application number         7   history. If you look at page 10, you'll see
 8   at the top and the application number of the        8   dictionary definitions of "heuristic." Do you
 9   '604 patent, I think you'll see that they are       9   see that?
10   the same.                                          10      A. Yes.
11      A. Okay. I looked at this, at the file          11          MR. BUROKER: Object to form.
12   history in its entirety. It was a                  12          Go ahead.
13   400-and-some-odd-page document. I, you know, I     13      Q. So on page 10, there are the
14   can't exactly place this within it, but I'll       14   dictionary definitions of "heuristic," correct?
15   accept the notion that this is from somewhere      15      A. Yes, I see that. Let me just...
16   within those 400-and-some-odd pages.               16          (Document review.)
17      Q. It is. I thought we would all be             17      A. Yes, I see that.
18   better off if I didn't bring the whole thing.      18      Q. Okay. Are these dictionary
19      A. Sounds right.                                19   definitions of "heuristic" on page 10 of what we
20      Q. You have reviewed this whole file            20   marked as Exhibit 5 consistent with your
21   history, you said, in connection with your work    21   understanding of "heuristic" as it would have
22   on this patent?                                    22   been understood by a person of skill in the art
23      A. Yes, I did.                                  23   in 2000?
24      Q. So, although you don't necessarily           24      A. I think so. I'm not sure I
25   recognize this document, it -- if it's part of     25   necessarily buy all of it, but it -- I think
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                                                                               15 (Pages 54 to 57)
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 1   these are not inconsistent with -- with my view     1   because the spec lists those three and they
 2   of it.                                              2   match what's in the accused product.
 3      Q. Which ones do you not necessarily buy?        3          I do think that these definitions here
 4      A. Well, I mean, these definitions that          4   give you a pretty good sense of it, but I
 5   are here are not necessarily even internally        5   wouldn't necessarily accept this paragraph as,
 6   consistent. I mean, there's some -- there's --      6   you know, fully controlling of what the word
 7   I mean, they're describing here -- "used to         7   means.
 8   describe a computer program that can modify its     8      Q. Leaving aside the three that you say
 9   software response to the user." Okay.               9   match the accused product, how would a person of
10   That's -- that's fine, but then there's also       10   ordinary skill in the art understand, if they
11   "using or arrived at by means of process of        11   did not match those three, whether their
12   trial and error rather than set rules." That is    12   algorithm was heuristic?
13   not necessarily the same as or fully consistent    13      A. I think the sense that you get from
14   with the notion that it's -- that it's             14   this paragraph and I think the sense people
15   self-modifying.                                    15   would have is if the heuristic -- if the
16          So there's -- there's a number of           16   algorithm was designed to always give a single
17   the -- you would have to think real hard about     17   precise answer, like -- a single precise answer,
18   drawing the then diagrams of these different       18   that would likely not be a heuristic. And this
19   definitions. I wouldn't necessarily say that       19   sort of gets to it here about not having proven
20   they're all precisely describing the same thing.   20   performance bounds and valuable most of the time
21   I would have to, you know -- certainly when we     21   but the results or performance cannot be
22   do claim construction in this case, I look         22   guaranteed.
23   pretty carefully at it, and I don't, as I say, I   23          I think if you have an algorithm that
24   don't think it matters for the purposes of the     24   always gives you the exact right answer all the
25   infringement of the accused product simply         25   time in a fixed amount -- in a bounded amount of
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                                             Page 60                                                 Page 61
 1   time, that quite likely wouldn't be a heuristic.    1   that satisfied any one of these definitions be a
 2   Somebody somewhere might have some different        2   heuristic algorithm as used in the '604 patent?
 3   opinion there, but I think generally an             3          MR. BUROKER: Object to form.
 4   algorithm that is, you know, knowing that three     4       A. Well, I mean, these aren't all related
 5   plus four is seven, that's not a heuristic.         5   to search. For example, "If the sky is cloudy,
 6   There is one answer. You can compute it. It's       6   then carry an umbrella," that's heuristic, but
 7   done. There's no -- there's no ambiguity there.     7   it's not -- it's hard to see how you would
 8          So I think people would understand           8   directly apply that in the 604. It's a
 9   there's classes of algorithms that are outside      9   heuristic in this example because it -- it might
10   of heuristic and somebody looking at the patent    10   be wrong, you might actually not need the
11   would understand that.                             11   umbrella, but it's a -- it's a rule of thumb
12      Q. Other than algorithms that always give       12   that would generally work.
13   the precise right answer all of their time, are    13          But I think -- let's see. I think,
14   there other classes of algorithms that are         14   generally, if you could apply -- if you could
15   outside of heuristic?                              15   meaningfully apply these particular definitions
16      A. Probably. I'd have to think of some          16   in here to the task at hand in the '604, that
17   examples, but generally, generally, "heuristic"    17   would probably work. Yes, I think that's -- I
18   refers to algorithms that are -- that don't        18   think that's right.
19   always give you the precise right answer; that     19       Q. If you look about I think it's seven
20   give you -- that advance you towards your goal.    20   lines down in that paragraph that starts
21   Some people call those heuristic, some people      21   "dictionary definitions," there is a sentence,
22   have other words to describe them, but I think     22   "Unlike algorithms, heuristics cannot have
23   certainly there are plenty of algorithms that      23   proven performance bounds." Do you see that
24   are not heuristic.                                 24   sentence?
25      Q. In your opinion, would an algorithm          25       A. Yes.
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                                                                               16 (Pages 58 to 61)
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                                            Page 62                                                  Page 63
 1       Q. It seems to be distinguishing between        1   people do. There's what's called depth first
 2   heuristic and algorithm. What then is a             2   search and breadth first search and then there's
 3   heuristic algorithm in your opinion?                3   heuristic search, and in the first two, you are
 4       A. Oh, I think they're distinguishing           4   ordering your search based upon going to the
 5   between -- I think they're -- the way I read        5   deepest element of the tree first and working
 6   that sentence is that they're referring to          6   from there and the ordering is absolute and
 7   really a non-heuristic algorithm versus a           7   defined by the order of elements in your search
 8   heuristic algorithm, and I think they're being a    8   tree, and in breadth first, you're going to --
 9   little bit sloppy in their language, but I think    9   you're covering everything that's one step away
10   it's -- so, unlike algorithms, I would say,        10   from you before you cover everything that's two
11   unlike non-heuristic algorithms, heuristic         11   steps away from you, et cetera. So, in those
12   algorithms cannot have performance bounds.         12   two cases, the ordering of the search is
13            I'm not sure I completely agree with      13   precisely defined by the order of the nodes.
14   that, with that sentence, but I think that the     14           In the case of heuristic search, what
15   distinction they're making that you are asking     15   you do is you apply a heuristic to each node and
16   about between algorithms and heuristics is         16   you -- you search in the place that has the
17   simply that they're eliding out certain words in   17   highest heuristic value first. So breadth first
18   how they're -- in how they're talking about it     18   search and depth first search in that context
19   here.                                              19   would be non-heuristic search algorithms.
20       Q. Are you aware of any search algorithms      20      Q. So is it the case that the algorithm
21   that you would describe as non-heuristic           21   itself that is conducting the search is not the
22   algorithms?                                        22   heuristic; it's the ordering of how this --
23       A. Well, I think there are -- I mean,          23   where the search is taking place?
24   I'll use the, in the context of artificial         24      A. Well, in the hypothetical I just gave
25   intelligence, the -- there are classic searches    25   you of -- of searching of a tree, there you'd
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                                            Page 64                                                  Page 65
 1   have the searching is the searching, but the        1   uncertain about it, there's nothing --
 2   heuristic algorithm part of it is the part that     2   there's -- something is what it is because it's
 3   would give you, in effect, the score or the         3   what it is.
 4   heuristic for each node.                            4          So they're saying that -- I guess they
 5           So there what makes it heuristic or         5   don't -- they're staying with some high-level
 6   not is a particular portion of the search           6   language here.
 7   algorithm that would have a heuristic within it.    7          If you were to have a piece of data
 8      Q. Looking back at the amendment that            8   that had certain attributes to it and you were
 9   we've marked as Polish 5.                           9   simply coming up with a logical relationship
10      A. Okay.                                        10   that was precisely defined, then that would be a
11      Q. Still on page 10 of that, the last --        11   logical algorithm and would simply give you a
12   the partial paragraph at the bottom starts, "By    12   result, just like with the -- with the breadth
13   contrast, Andreoli describes logical algorithms    13   first or depth first search, choosing which node
14   for solving feature constraints -- not heuristic   14   to expand next would be logically defined just
15   algorithms." Do you see that?                      15   because the order in which the nodes appear.
16      A. Yes.                                         16      Q. Are you familiar with something called
17      Q. What's the distinction between the           17   the Needleman-Wunsch algorithm?
18   logical algorithm and a heuristic algorithm?       18      A. I don't think I am. I may know it by
19      A. Again, that's like -- that to me             19   some other name. I'm not sure that name comes
20   that's -- that's -- means non-heuristic. I         20   to mind.
21   think they're saying, by "logical algorithm,"      21          (Polish Exhibit 6, a document bearing
22   they're simply saying that it -- that they're      22      Bates Nos. APLINDC630-40667 through 40686,
23   looking for a very precise set of logical          23      marked for identification, as of this date.)
24   constraints and so there's nothing -- there's no   24   BY MS. FERNANDS:
25   rule of thumb about it, there's nothing            25      Q. So you have just been handed what we
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                                                                               17 (Pages 62 to 65)
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                                            Page 66                                                 Page 67
 1   have marked as Exhibit 6.                          1   trying to do here. It's not unlike what's done
 2       A. Okay.                                       2   in computer speech in systems I've looked at.
 3       Q. And if you look at what is page 6, the      3      Q. Would you agree with the applicants
 4   second full paragraph, you say there,              4   that the Needleman-Wunsch algorithm is a
 5   "Generally, Tang searches the multigrid search     5   non-heuristic method?
 6   tree using a non-heuristic method (i.e. the        6          MR. BUROKER: Object to the form.
 7   Needleman-Wunsch algorithm)."                      7      A. I'd have to -- I'd have to look at
 8       A. Okay.                                       8   this more closely to decide whether I agree with
 9       Q. Let's mark this as 7.                       9   them or not. I accept that they viewed this as
10           (Polish Exhibit 7, printout from          10   non-heuristic. There might well be -- there
11       Wikipedia, marked for identification, as of   11   might well be characteristics of -- I would say
12       this date.)                                   12   that dynamic programming in general might well
13   BY MS. FERNANDS:                                  13   have heuristic qualities to it.
14       Q. And we have just marked as Polish          14          This particular algorithm I'm not sure
15   Exhibit 7 what is a Wikipedia page. I will not    15   why they're saying is -- I mean, they're making
16   attest to whether it's the correct                16   it very clear they don't view it as being
17   Needleman-Wunsch, but perhaps this will refresh   17   heuristic, but I'd need to -- I'd need to
18   your memory as to whether you're familiar with    18   understand a little bit more to be -- to fully
19   it.                                               19   sign up to their argument. Yes.
20       A. Give me a minute to read this.             20      Q. Other than the specification and
21           (Document review.)                        21   prosecution history, did you review any other
22       A. Okay. Okay. I'm not sure I've seen         22   sources in coming to your understanding of
23   this particular algorithm before. I certainly     23   heuristic algorithm for purposes of your
24   am quite familiar with what's referred to as      24   analysis for your declaration?
25   dynamic programming and what -- what they're      25      A. Other than what's in my list of
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                                            Page 68                                                 Page 69
 1   considered documents, I don't think so, no.        1          (Polish Exhibit 9, and excerpt from
 2           (Polish Exhibit 8, List of Materials       2      Modern Dictionary of Electronics, Seventh
 3      Considered, marked for identification, as of    3      Edition, marked for identification, as of
 4      this date.)                                     4      this date.)
 5   BY MS. FERNANDS:                                   5   BY MS. FERNANDS:
 6      Q. You have just been handed what has           6      Q. You've just been handed a few pages
 7   been marked as Polish Exhibit 8. Do you            7   from the Modern Dictionary of Electronics,
 8   recognize that?                                    8   Seventh Edition, and copyright of 1999. We've
 9      A. Yes, I do.                                   9   included the page that has the definition of
10      Q. And what is that?                           10   "heuristic."
11      A. That's my list of considered                11          Is that definition of "heuristic" on
12   documents.                                        12   what is the third page of Polish Exhibit 9
13      Q. And is this a complete and accurate         13   consistent with your understanding of
14   list of the materials that you considered in      14   "heuristic" as it would have been understood in
15   connection with preparing your declaration?       15   2000?
16      A. Yes, I believe it is.                       16          MR. BUROKER: Objection.
17      Q. You didn't look back at any dictionary      17      A. No, I think -- I think there's parts
18   definitions or other sources from the time to     18   of this that -- that I disagree with and that I
19   see whether there was a commonly understood       19   think a computer scientist wouldn't -- wouldn't
20   meaning to "heuristic algorithm" in 2000?         20   necessarily buy.
21      A. Not that I recall, no. I mean, I read       21          I mean, it's interesting to see
22   a lot of stuff, but I certainly don't, in the     22   "heuristic" defined in the electronics
23   context of preparing the declaration, I don't     23   dictionary. I generally don't think of
24   think -- I don't recall going to any one in       24   heuristic as something that one sees in
25   particular, no.                                   25   electronics, but there's certainly some parts of
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                                                                              18 (Pages 66 to 69)
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                                             Page 70                                                 Page 71
 1   this definition that wouldn't fit what some very    1   definition in the Dictionary of Electronics we
 2   commonly accepted heuristic algorithms in           2   have marked as Exhibit 9 that you think a
 3   computer science.                                   3   computer scientist in 2000 would disagree with?
 4      Q. Which parts of the definitions                4       A. Well, I think -- I think this is -- I
 5   wouldn't fit the commonly accepted definitions      5   think whoever is doing this dictionary has
 6   of heuristic algorithm?                             6   something in particular in mind that isn't
 7      A. Well, in particular, it says, "Unlike         7   necessarily computer science. I mean, there's
 8   an algorithm, the heuristic approach does not       8   empirical, period. So that's one definition,
 9   guarantee a solution." There's, I mean, one of      9   it's just empirical.
10   the -- one of the classic algorithms in            10           I think clearly one develops
11   artificial intelligence is referred to as -- as    11   heuristics because they work, but there
12   A* and that is using a particular kind of          12   certainly can be heuristics that work for
13   heuristic known as an admissible heuristic that    13   reasons that you know. So when you think of
14   does guarantee you a search result, and that's     14   empirical, like I could say that, you know, that
15   routinely used in -- in what's called              15   when I dress nicely, people treat me better,
16   optimization. It's routinely used in -- in game    16   that's an empirical observation, but I also know
17   programs like chess programs, and at least the     17   why. So it's not entirely empirical.
18   A* algorithm would give you a guarantee of a       18           I mean, the heuristic of you dress
19   solution and it clearly is a heuristic, as         19   better, you get treated better, that may be a
20   people would understand it in a, you know,         20   heuristic, but -- but I know why that's the
21   undergraduate computer science course on           21   case, so it's not strictly empirical. I know
22   artificial intelligence. And that wouldn't -- I    22   that people are making rapid judgments and
23   don't believe that would fit this definition       23   that's one of the cues they use to make a
24   here.                                              24   judgment about me. So I think that use of the
25      Q. Are there any other parts of this            25   term -- that part of the definition of
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                                             Page 72                                                 Page 73
 1   "heuristic" wouldn't really fit this definition     1   closer. There's -- it's not just heuristic, but
 2   of "empirical."                                     2   heuristic approximation and search. Let me look
 3          So I think this, being from                  3   at these.
 4   electronics, probably takes it from a               4           (Document review.)
 5   different -- in a different area, and they're       5      A. I think these are better definitions.
 6   probably -- there's probably some other point of    6   I think it's, as we've discussed, it's a
 7   view in mind in this dictionary than would be       7   difficult thing to define precisely, but I think
 8   meant by computer science.                          8   this is better.
 9          (Polish Exhibit 10, an excerpt from          9      Q. Let's go back to the patent, which we
10      Dictionary of Computer Science, Engineering,    10   have marked as Exhibit 4.
11      and Technology, marked for identification,      11      A. Okay.
12      as of this date.)                               12      Q. Going back to claim 6, which is in
13   BY MS. FERNANDS:                                   13   column 8, starting at about line 33, the element
14      Q. We've handed you what has been marked        14   of claim 6, there is a note that says, "Each
15   as Polish Exhibit 10. This is a Dictionary of      15   heuristic module corresponds to a respective
16   Computer Science, Engineering, and Technology,"    16   area of search and employs a different,
17   copyright of 2001. See in the third page of the    17   predetermined heuristic algorithm corresponding
18   exhibit there's a definition of "heuristic"?       18   to said respective area." Do you see that?
19      A. Yes.                                         19      A. Yes.
20      Q. And is that definition of "heuristic"        20      Q. And what is your understanding of the
21   more consistent with your understanding of how a   21   claim limitation that "each heuristic module
22   person of ordinary skill in computer science       22   corresponds to a respective area of search and
23   would have understood "heuristic" in 2000?         23   employs a different, predetermined heuristic
24          MR. BUROKER: Object to form.                24   algorithm"?
25      A. I think that's -- I think this is            25           MR. BUROKER: Object to form.
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                                                                               19 (Pages 70 to 73)
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                                            Page 74                                                 Page 75
 1          Go ahead.                                  1            MR. BUROKER: Object to form.
 2      A. Could you ask that again, please?           2        A. Well, my understanding is that if you
 3      Q. Did you form an understanding of this       3     had three modules, only two of them would have
 4   claim element before rendering your opinions      4     to be different, because in the case if there
 5   that are in your declaration?                     5     were three, you would need to have a plurality
 6      A. Yes.                                        6     of different modules. So you would at least
 7      Q. And what was your understanding of          7     have to have two different ones.
 8   this claim element?                               8            If you had a third, it might not be
 9      A. My understanding was that -- that each      9     relevant for infringement, but it wouldn't --
10   of the -- of the plurality of heuristic modules  10     you would need to have at least two that were
11   had a different, predetermined heuristic         11     different.
12   operating on their area. So the idea was that    12        Q. So what is your understanding where
13   you had to have at least two different heuristic 13     the claim element says that "each heuristic
14   modules that were -- that were doing different   14     module corresponds to a respective area of
15   things, doing different heuristics. That's --    15     search and employs a different, predetermined
16   that's what I thought this limitation meant.     16     heuristic algorithm"? Do you not understand
17      Q. So if there were -- if the plurality       17     that to mean that each module must have a
18   of modules were two modules, then there would be 18     different algorithm?
19   two different heuristic algorithms?              19        A. Well, each module must have a
20      A. Yes, there would need to be two            20     different algorithm. I guess what I would say
21   different heuristic algorithms. You couldn't     21     is you could have a system where there are lots
22   have two modules that were doing the same thing. 22     of different modules and relevant for
23   That wouldn't satisfy the plurality requirement. 23     infringement would just be that two of them
24      Q. If you had three modules, would there      24     would have to be different.
25   have to be three different algorithms?           25            So you could have several modules that
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                                            Page 76                                                 Page 77
 1   would not be -- that would -- that would -- that    1     Q. Now, you would agree that reading this
 2   would satisfy the plurality part, the plurality     2   "each heuristic module" referred -- seems to
 3   clause there, but that, in order to -- but to       3   refer to the plurality of heuristic modules
 4   satisfy the next one, you would have to have --     4   previously in the claim, correct?
 5   you would only be considering the ones that are     5     A. Yes.
 6   different.                                          6     Q. And if a device has eight heuristic
 7          I don't know that I'm saying this            7   modules, then each of those is a heuristic
 8   terribly deep there. I'm just saying that there     8   module; is that correct?
 9   would be parts of the system that are modules --    9     A. It might have eight heuristic modules
10   the fact that you have might have two modules      10   and they could all -- you could have eight
11   that are the same wouldn't get you out of the      11   heuristic modules within a system, sure.
12   infringement. You would have to have all the       12     Q. And if each of those eight heuristic
13   modules would have to be the same. You would       13   modules did not have the same heuristic
14   have to have only one, one heuristic algorithm.    14   algorithm, it would not satisfy the requirement
15      Q. So, in your opinion, the element that        15   that each module must have a different heuristic
16   requires that "each heuristic module corresponds   16   algorithm; is that correct?
17   to a respective area of search and employs a       17         MR. BUROKER: Object to form.
18   different, predetermined heuristic algorithm,"     18     A. I'm not sure I -- the last part of
19   the -- strike that.                                19   your question.
20          In your opinion, in order to avoid          20     Q. So if --
21   infringement, all of the modules have to be the    21     A. I didn't get --
22   same?                                              22     Q. We have eight modules, correct? In my
23      A. I think that's right. I think that's         23   hypothetical, there are eight modules?
24   what I said. I think that the claim requires       24     A. Okay.
25   that at least two of the modules be different.     25     Q. And there's -- and each of those is a
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                                                                              20 (Pages 74 to 77)
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                                             Page 86                                                Page 87
 1   software routine performing a search on metadata    1   me like -- like they would at least in some ways
 2   for the same files, the same database, is that      2   be different areas.
 3   respective areas of search?                         3      Q. Moving on in claim 6.
 4           MR. BUROKER: Same objection.                4      A. Yes.
 5       A. I think -- I mean, it probably depends       5      Q. The next element. "The search areas
 6   on how that's being implemented. I think that,      6   includes storage media accessible by the
 7   generally speaking, searching file names is a       7   apparatus." Did you reach an understanding of
 8   different area than searching contents of the       8   that claim limitation in connection with your
 9   files. If -- you could imagine a situation          9   opinions?
10   where file names were part of the metadata, in     10      A. Yes.
11   which case it might be -- you might be             11      Q. And what's your understanding of that
12   searching -- you might be searching fields of      12   limitation?
13   metadata would be an area, but generally, file     13      A. My understanding is that they're --
14   names are not the same thing as file contents.     14   they're making sure that included in this, in
15   It's not the same area.                            15   the data that can be searched, is some data
16       Q. What if the first routine searched for      16   local to the device, local to the -- to the
17   one particular field in metadata and a second      17   computer.
18   routine searches all metadata, including the       18          So they're talking about they're
19   first field, would those routines be searching     19   locating information in a network, but they're
20   respective areas of search?                        20   also talking about that there's got to be at
21           MR. BUROKER: Same objection.               21   least some, so search areas include some local
22       A. Again, I would have to look at the          22   storage that's being searched as well.
23   particular system. I think that it's possible      23      Q. In your opinion, what -- what aspect
24   under some circumstances they would be the same    24   of this claim limitation requires that local
25   area, but -- but in general, it sounds like to     25   storage exist?
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                                             Page 88                                                Page 89
 1      A. Well, when I see "includes storage            1   Websites that are on the network.
 2   media accessible by the apparatus," I view that     2           So I think, generally, it may be a
 3   as being local storage.                             3   little bit awkwardly put in the claim, this
 4      Q. Why?                                          4   limitation simply says that you can't just be
 5      A. Because -- well, several reasons. To          5   accessing network-attached things or
 6   say that that would mean storage media that         6   network-accessed things. You got to have some
 7   could be accessed over a network would be           7   things that are local.
 8   pointless because clearly you are already           8       Q. You would agree that, for instance,
 9   talking about systems that can be -- data that      9   that the LAN storage media is, in the example,
10   can be accessed over a network.                    10   accessible by the apparatus?
11          There is in back to the column 4            11       A. Well, it depends what one means by
12   examples, they talk about, in each example, they   12   "accessible." I mean, "accessible," very
13   have, for example, line 15, "For instance, one     13   broadly construed, would mean anything on the
14   module may search the names of files stored on     14   Internet that could be accessed, and I think
15   the local media and the LAN storage volume." So    15   that's clearly not what's meant there.
16   they're clearly making a distinction.              16           So I think -- I view "accessible" as
17          Then on the next one you've got, "A         17   being -- and I'm sure we'll have a claim
18   second module may index and search the contents    18   construction debate about it later in the
19   of files on the local and/or network storage       19   case -- I think "accessible" means item 12 in
20   volumes." Again, they're making the distinction    20   figure 1, local storage media.
21   of local versus network. And then on the third     21       Q. And other than what you've pointed to
22   one, again, they go back to list of files,         22   in column 4, is there anything else in the
23   applications and Websites, so I -- so that I'm     23   specification that you believe supports your
24   thinking of list of files, those are going to be   24   interpretation that "accessible" is limited to
25   local and applications that are local and          25   local storage media?
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                                                                               23 (Pages 86 to 89)
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                                           Page 106                                                 Page 107
 1   outlined "People" in blue, correct?                 1      Q. What did you review to determine that
 2      A. Yes.                                          2   the search was implemented in the Samsung Galaxy
 3      Q. And that's one of the items that you          3   Nexus as a heuristic search?
 4   analyzed specifically?                              4      A. I don't recall specifically. I know I
 5      A. Uh-huh.                                       5   looked at source code for -- for these and I
 6      Q. And is your opinion that "People"             6   would have looked at source code in that case as
 7   represents a heuristic module?                      7   well.
 8      A. Yes.                                          8      Q. Did you cite any specific source code
 9      Q. What makes "People" a heuristic               9   in your declaration?
10   module?                                            10      A. I think that I do.
11      A. Well, again, it's -- it's searching          11      Q. Let me narrow that. Did you cite any
12   names of contacts. It's a -- it's looking for      12   specific source code that would explain why the
13   matches of names of contacts that are stored       13   Samsung -- the people search in your opinion is
14   locally on the phone.                              14   a heuristic search?
15      Q. Is it necessarily the case that a            15      A. I don't think in that case I did. I
16   search of contacts would be a heuristic search?    16   was mostly using the people search as an example
17          MR. BUROKER: Object to form.                17   of the contacts being stored in the local media,
18      A. I think, I mean, as it's implemented,        18   which I talk about in paragraph 70, but I don't
19   there's -- it's looking for -- it's looking for    19   think I referred to specific source code. I
20   matches of -- of names and subparts of names       20   know I looked at source code for all of it, but
21   within your list of contacts.                      21   there were limitations in how much of the detail
22          I suppose it's possible one could           22   I was going to provide here.
23   implement that in a non-heuristic manner, but      23      Q. Was there a reason that you chose not
24   certainly it was implemented within the phone as   24   to provide detail as to what characteristics of
25   a -- as a heuristic search.                        25   the search made it a heuristic search?
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                                           Page 108                                                 Page 109
 1      A. I think it was -- no, I didn't feel it        1      Q. So, in your opinion, are each of these
 2   was necessary to prove it. I think that it was      2   eight items on paragraph -- in, sorry, on page
 3   clear that this was operating in a heuristic        3   22 representative of separate heuristic modules
 4   manner; that it wasn't requiring a precise          4   that correspond to separate areas of search?
 5   match; that it was -- it was looking for -- it      5      A. I believe they are, but as I said,
 6   gave you candidate matches. So I didn't feel        6   that my detailed analysis was on the three that
 7   like it was necessary to ground it in source        7   I called out.
 8   code, at least for this purpose.                    8      Q. Now, on paragraph 65 of your
 9      Q. To what area of search does "People"          9   declaration, you state that, "Each heuristic
10   correspond?                                        10   module shown above employs a different,
11      A. To your contacts.                            11   predetermined heuristic algorithm corresponding
12      Q. And then the last one on the screen          12   to the respective area of search." Do you see
13   shot on page 22 is "Videos," correct?              13   that?
14      A. Yes.                                         14      A. Yes.
15      Q. And is that also a heuristic module in       15      Q. And is it your opinion that each of
16   your opinion?                                      16   the eight modules that we just discussed
17      A. I believe so, yes.                           17   employed a different, predetermined heuristic
18      Q. And to what area of search does that         18   algorithm corresponding to the respective area
19   one correspond?                                    19   of search?
20      A. It searches through metadata for --          20      A. Well, certainly the three that I
21   for videos that are downloaded to the phone.       21   called out are different. I can't say that I --
22   I'm not sure that they're downloaded in those      22   that I'm -- I can't say for certain that each of
23   cases. It's metadata associated with videos        23   the other ones are different. They may or may
24   that you have somehow got connected to the         24   not be. They likely are, but I have -- I
25   phone.                                             25   don't -- I haven't looked at them enough to be
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                                                                           28 (Pages 106 to 109)
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                                            Page 110                                               Page 111
 1   certain.                                            1      A. Two of the heuristic algorithms must
 2      Q. You don't know whether the other five         2   be different.
 3   use different heuristic algorithms, the five        3      Q. You don't identify any of the
 4   that you did not specifically discuss?              4   heuristic algorithms in your declaration, do
 5      A. I think they likely do, but I don't           5   you?
 6   know for sure.                                      6          MR. BUROKER: Object to form.
 7      Q. For the three that you do discuss, you        7      A. Well, I identify these three heuristic
 8   don't identify the algorithms corresponding to      8   modules as being -- as having -- as being three
 9   those searches, do you?                             9   different heuristic modules in the system.
10           MR. BUROKER: Object to the form.           10      Q. But the heuristic algorithms
11      A. No, I don't think I do.                      11   corresponding to the modules are not set forth
12      Q. Why not?                                     12   in your declaration?
13      A. It -- it didn't seem necessary to            13      A. I don't lay out what the algorithms
14   prove the point. They are -- they are              14   are, no.
15   corresponding to what's called out in -- in        15      Q. Do you know what the algorithm is that
16   column 4. They are those kinds of searches of      16   corresponds to the search area of Google Search
17   those -- in those kinds of areas, and I looked     17   suggestions?
18   at the code and it -- and it -- it was, in my      18      A. I'd have to look at the code. Sitting
19   opinion, they were, in my opinion, heuristic       19   here, I can't -- I can't lay out for you what it
20   searches. I have not in this declaration laid      20   is. I mean, certainly the algorithm that you're
21   it out in more detail than that.                   21   using for searching Google suggestions is going
22      Q. You agree that, even under your              22   to be very different from the ones that you're
23   opinion as to the meaning of the claims, at        23   going to use to search a bunch of contacts.
24   least two of the algorithms have to be different   24          So, you know, at the very least, they
25   for there to be infringement, correct?             25   are different -- they're searching very
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                                            Page 112                                               Page 113
 1   different sets of data and the algorithms are       1   think it was pretty clear that they were -- that
 2   going to be at least different in that regard,      2   they were different from each other, but I
 3   but the individual algorithms I don't recall off    3   didn't -- I didn't take the proof further than
 4   the top of my head. I know I looked at them at      4   that.
 5   the time I looked at the code.                      5      Q. How did you determine that the
 6      Q. Did you determine the nature of the           6   different algorithms were different?
 7   individual algorithms was different?                7      A. I looked at the source code.
 8      A. Yes, I think I did.                           8      Q. And you compared the algorithms to
 9      Q. Did you determine each of the                 9   each other?
10   original -- each of the algorithms differed        10      A. Well, I looked at the source code and
11   heuristically instead of simply logically?         11   they were -- the source code for the different
12      A. Yes, I think I did.                          12   pieces were pretty different. I don't -- I
13      Q. What were the heuristic differences in       13   don't think I lined them up next to each other,
14   the algorithms?                                    14   but they were performing different operations.
15      A. I -- I don't recall sitting here. I'd        15      Q. And the algorithms for these three
16   have to look at source code and make a             16   functions, the search suggestions, bookmark and
17   comparison.                                        17   Web history and dates of your contacts were in
18      Q. And you didn't set that -- set forth         18   the source code that you reviewed?
19   the differences in your declaration, correct?      19      A. I believe so.
20      A. That's correct.                              20      Q. Do you recall specifically whether the
21      Q. And you didn't set forth the                 21   algorithms were present in the source code you
22   differences in the algorithms in your claim        22   reviewed?
23   chart that was attached to your declaration?       23      A. I'm pretty sure they were. I know
24      A. No, I did not set them forth. I              24   that I -- that I had publicly available code and
25   described what -- what they were doing, and I      25   that I believe all of the search functionality
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                                                                           29 (Pages 110 to 113)
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                                           Page 118                                                Page 119
 1      A. For this --                                   1   document, Polish 13, to your analysis if you did
 2      Q. For this analysis?                            2   not analyze any of the third-party developer
 3      A. For this analysis, no.                        3   applications?
 4      Q. You didn't look to see whether the            4      A. The significance of it is this
 5   search algorithms in any of those applications      5   outlines the architecture of the search system,
 6   were heuristic search algorithms?                   6   which includes the ones that I called out,
 7      A. As I say, I didn't look at any -- any         7   the -- the three that I -- the three modules
 8   third-party developer search modules for this --    8   that I called out obey this particular
 9   for this analysis.                                  9   structure. So this is a nice -- this is an
10      Q. And what's your understanding of the         10   easier-to-understand thing than going through
11   purpose of this document we've marked as Polish    11   piles of code. So this lays out the
12   Exhibit 13, the "Creating a Search Interface"      12   architecture and it also suggests that others
13   document?                                          13   are encouraged to use that architecture.
14      A. What's the purpose of it?                    14      Q. In the section we were looking at in
15      Q. Yes.                                         15   the developer document at page 4.
16      A. The purpose of it is they're trying --       16      A. Yes.
17   the purpose of it it's a guide to developers for   17      Q. At the bottom, the parenthetical
18   creating plug-in search modules to plug into       18   states "using FTS3 rather than a LIKE query,"
19   the -- the Android search framework, and I         19   correct?
20   think, in general, Google is trying to encourage   20      A. Yes.
21   developers to, for any given application, create   21      Q. What's your understanding of a "LIKE
22   modules that would make them searchable. So        22   query"?
23   that would make the -- the applications feel       23      A. I don't know specifically here what
24   better integrated into the system.                 24   exactly they're referring to. Usually things --
25      Q. What's the significance of this              25   things of that sort would be referring to some
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                                           Page 120                                                Page 121
 1   kind of a -- a fuzzy query, a non-exact match.      1              AFTERNOON SESSION
 2           I think what they're -- what they're        2           THE VIDEOGRAPHER: This is the started
 3   trying to do is encourage people to use FTS3        3      of tape labeled number 4. The time is 1:47.
 4   rather than "LIKE" as part of their searches.       4      We're back on the record.
 5   It's just sort of their way of suggesting that      5   NATHANIEL POLISH, resumed and
 6   using FTS3 is likely to give you better results     6       testified further as follows:
 7   than other approaches.                              7   EXAMINATION BY (Cont'd.)
 8       Q. Do you know whether using a LIKE query       8   MS. FERNANDS:
 9   would involve a heuristic algorithm?                9      Q. Before we broke for lunch, we were
10       A. Again, I don't know the details of the      10   talking about what we have marked as Exhibit 13.
11   algorithm implied by the LIKE query. My strong     11      A. Okay.
12   suspicion is that it would be heuristic.           12      Q. And in particular, on page 4, the
13           (Discussion off the record.)               13   discussion of the full text search using FTSS --
14           THE VIDEOGRAPHER: The time is 12:58.       14   FTS3, rather?
15       We're going off the record.                    15      A. Yes.
16           (Luncheon recess.)                         16      Q. Correct?
17                                                      17      A. Uh-huh.
18                                                      18      Q. Now, I believe you said that you
19                                                      19   weren't familiar with the exact algorithm used
20                                                      20   for FTS3; is that correct?
21                                                      21      A. That's correct.
22                                                      22      Q. Are you familiar with full text
23                                                      23   searching, generally?
24                                                      24      A. Yes.
25                                                      25      Q. And is it possible that a full text
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                                           Page 122                                                 Page 123
 1   search could be accomplished without a heuristic    1   every single word, front to back, would, by most
 2   algorithm?                                          2   people's definitions, would not be a heuristic
 3      A. I think it could be, but full text            3   search.
 4   searching without using a heuristic would be        4      Q. Do you think that it would be a
 5   combinatorially explosive, would take a very        5   heuristic search under some people's definition
 6   long time. So usually you use heuristic             6   of "heuristic search"?
 7   algorithms for full text searching to make it --    7      A. I don't know. I don't think so.
 8   to make it perform in a reasonable way.             8      Q. Why is that not a heuristic search in
 9      Q. So, for instance, if a full text              9   the way you understand heuristic search?
10   search asked for a particular whole word in a      10      A. Because it's just like with the -- the
11   document and that whole word was searched for      11   examples I gave from searching trees of depth
12   throughout everything, would that be a heuristic   12   first or breadth first search; it's completely
13   search?                                            13   deterministic, simply processing through all the
14          MR. BUROKER: I'll object to form.           14   data in a completely deterministic way. It
15          Go ahead.                                   15   wouldn't be -- it wouldn't be any -- there would
16      A. Again, if you -- if you simply did a         16   be no -- there would be no heuristic there.
17   naïve search, front to back, looking at every      17      Q. Now, if the same algorithm were used
18   word, matching everything, that probably           18   in two different search areas, would it be a
19   wouldn't be considered a heuristic.                19   different heuristic algorithm?
20      Q. Is there a way to determine whether          20          MR. BUROKER: Objection to form.
21   that would be considered a heuristic, the naïve    21      A. So just give me a little more on that
22   search, just looking at every word, front to       22   hypothetical. What are you asking there?
23   back?                                              23      Q. So if you have the exact same
24      A. I'd have to think about it a little          24   algorithm, but you used that algorithm to search
25   bit, but I think a simple -- a simple looking at   25   in two different search areas corresponding to
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                                           Page 124                                                 Page 125
 1   different data, is that a different heuristic       1      A. Right.
 2   algorithm?                                          2      Q. What if you had a heuristic algorithm
 3      A. If it's -- if it's the same algorithm         3   that you were able to use the same algorithm to
 4   with just two different inputs, that I think        4   search both, for instance, contacts and music?
 5   would be the same -- would be the same thing,       5      A. Well, I think that's why in the patent
 6   would be the same algorithm. It wouldn't be         6   they talk about associated with a particular
 7   different if you had the same -- if you had the     7   area. So there those would be -- that would be
 8   same algorithm with two different inputs, that      8   associated with two different areas. So music
 9   would be the same area. That would be -- it         9   and contacts are different areas.
10   would be doing the same thing. I think I           10      Q. But would the algorithm be a different
11   understand what you're asking.                     11   heuristic algorithm?
12      Q. So the nature of the data being              12      A. Heuristic algorithm, just by itself,
13   searched does not change an algorithm? If it --    13   no. It would be the same heuristic algorithm.
14   if the content of the algorithm otherwise          14   Might be the same heuristic algorithm applied to
15   remains the same, the nature of the data being     15   different areas, though.
16   searched doesn't make it a different algorithm?    16      Q. Let's go back to your declaration and
17      A. So the nature of the data, if you have       17   back to the screen shot that's on page 22.
18   a search of -- if you had a heuristic search of    18      A. Okay.
19   contacts and you had -- and you applied it         19      Q. We were talking about this. I think I
20   against one contact database and you applied it    20   omitted a couple of questions on the first bar.
21   against another contact database, a different      21          So we have that Google in the red at
22   contact database, but they're both contact         22   the top, the Google Search suggestions?
23   databases, I think that would not be -- those      23      A. Yes.
24   wouldn't be different.                             24      Q. And in your analysis, did you review
25      Q. Those would not be different?                25   the algorithm that is used for Google Search
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                                                                           32 (Pages 122 to 125)
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                                                Page 158                                                  Page 159
 1   work within the global search system within            1       THE VIDEOGRAPHER: The time is 2:59.
 2   Android, but that's from a developer side rather       2   We are back on the record.
 3   than from a consumer side. I don't think I've          3       MS. FERNANDS: Thank you for your time
 4   looked at the consumer side of that equation.          4   today. I have nothing further in connection
                                                            5   with your declaration in support of the PI.
 5      Q. Did you do any analysis as to whether            6       MR. BUROKER: No further questions.
 6   the features that make Siri -- the features of         7   The witness would like to read and sign, but
 7   the '604 patent incorporated into Siri that are        8   other than that, we're done too.
 8   important to Siri are those that are distinct          9       And -- yes, nothing needs to be
 9   from the prior art?                                   10   confidential. Okay.
10      A. Well, as I said, I think that a lot of          11       THE WITNESS: Yes. Thank you.
11   Siri's value comes from its comprehensiveness         12       MS. FERNANDS: Thank you.
12   and that the claimed features of the '604 are         13       THE VIDEOGRAPHER: The time is 2:59
                                                           14   P.M. That's the end of today's deposition.
13   important to achieving that comprehensiveness.        15   We are going off the record.
14   So there may well be other aspects of Siri such       16              oOo
15   as its ability to do speaker independent speech       17
16   recognition that's very important or handle           18              ____________________
17   noisy microphones, but I think to -- I think                          NATHANIEL POLISH
18   comprehensiveness is very -- is very important        19
19   to the -- to the success of it as an interface        20   Subscribed and sworn to
20   and the '604 patented features are very                    before me this day
                                                           21   of      2012.
21   important to that comprehensiveness.                  22
22          MS. FERNANDS: Let's take a break.                   _______________________
23          THE VIDEOGRAPHER: The time is 2:49.            23
24      We're going off the record.                        24
25          (Recess.)                                      25
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 1                                                1                        INDEX
 2            CERTIFICATE                         2             TESTIMONY OF N. POLISH:                         PAGE
 3   STATE OF NEW YORK )                          3             Examination by Ms. Fernands                 6
                 : ss                             4
 4   COUNTY OF NEW YORK)                          5             POLISH EXHIBITS:                          PAGE
 5       I, Kathy S. Klepfer, a Registered        6             Exhibit 1, CV of Nathaniel Polish, Ph.D.        16
 6   Merit Reporter and Notary Public within and
                                                  7             Exhibit 2, U.S. Patent No. 6,430,531          20
 7   for the State of New York, do hereby
 8   certify:
                                                  8             Exhibit 3, Expert Declaration of Dr. Nathaniel 28
 9       That NATHANIEL POLISH, the witness       9             Polish Concerning U.S. Patent No. 8,086,604
10   whose deposition is herein before set forth,10             Exhibit 4, U.S. Patent No. 8,086,604          33
11   was duly sworn by me and that such          11             Exhibit 5, a document bearing Bates Nos.         55
12   deposition is a true record of the testimony12             APLNDC630-40547 through 558
13   given by such witness.                      13             Exhibit 6, a document bearing Bates Nos.         65
14       I further certify that I am not         14             APLINDC630-40667 through 40686
15   related to any of the parties to this action15             Exhibit 7, printout from Wikipedia           66
16   by blood or marriage and that I am in no way16             Exhibit 8, List of Materials Considered       68
17   interested in the outcome of this matter.   17             Exhibit 9, and excerpt from Modern Dictionary 69
18       In witness whereof, I have hereunto     18             of Electronics, Seventh Edition
19   set my hand this 3rd day of April, 2012.    19             Exhibit 10, an excerpt from Dictionary of       72
20
                                                 20             Computer Science, Engineering, and Technology
21          -------------------------------
            KATHY S. KLEPFER, RPR, RMR, CRR, CLR
                                                 21             Exhibit 11, a document bearing Bates Nos.         80
22                                               22             APLNDC630-40504 through 512
23                                               23             Exhibit 12, Infringement Claim Chart           95
24                                               24             Exhibit 13, Exhibit 7 to Declaration of      114
25                                               25             Nathaniel Polish, Ph.D.
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                                                                                        Page 160
 1


 2                            CERTIFICATE
 3           STATE OF NEW YORK
                                            ss
 4           COUNTY OF NEW YORK)
 5                   I, Kathy S. Klepfer, a Registered
 6           Merit Reporter and Notary Public within and
 7           for the State of New York, do hereby
 8           certify:
 9                   That NATHANIEL POLISH, the witness
10           whose deposition is herein before set forth,
11           was duly sworn by me and that such
12           deposition is a true 'record of the testimony                                         I
                                                                                                   I
13           given by such witness.
14                   I further certify that I am not
15           related to any of the parties to this action
16           by blood or marriage and that I am in no way
17           interested in the outcome of th{s matter.
18                   In witness whereof, I have hereunto
19           set my hand this 3rd day of April, 2012.
20

21                           ----------cJid~
                             KATHY S. KLEPFER, RPR, RMR, CRR, CLR
22

23

24

25

     ,,'--




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                    EXHIBIT F
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                   Highly Confidential - Attorneys' Eyes Only


                                                                          Page 1
 1    UNITED STATES DISTRICT COURT NORTHERN
      DISTRICT OF CALIFORNIA SAN JOSE DIVISION
 2    --------------------------------------------X
      APPLE INC., a California corporation,
 3                                        PLAINTIFF,
 4               -against-
 5    SAMSUNG ELECTRONICS CO., LTD., a Korean
      business entity; SAMSUNG ELECTRONICS AMERICA,
 6    INC., a New York corporation; SAMSUNG
      TELECOMMUNICATIONS AMERICA, LLC, a Delaware
 7    limited liability company,
 8    CASE NO. 12-CV-00630-LHK
                                          DEFENDANTS.
 9    --------------------------------------------X
10                     ***HIGHLY CONFIDENTIAL
11                     ATTORNEYS' EYES ONLY***
12

13

14               DEPOSITION OF RAVIN BALAKRISHNAN
15                     New York, New York
16                  Friday April 6th, 2012
17

18

19

20    Reported by:
21    Rebecca Schaumloffel, RPR, CLR
22    Job No:     47974
23

24

25


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                                            Page 2                                                   Page 3
 1         April 6, 2012                              1   A P P E A R A N C E S:
                                                      2
 2         9:59 a.m.                                  3
 3                                                    4
 4                                                         GIBSON DUNN & CRUTCHER
 5                                                    5      Attorneys for the plaintiff
                                                             1881 Page Mill Road
 6        Deposition of RAVIN BALAKRISHNAN,           6      Palo Alto, CA 94304
 7   held at the offices of QUINN EMANUEL URQUHART           BY: H. MARK LYON, ESQ.
 8   & SULLIVAN, LLP, 51 Madison Avenue, New York,    7
                                                      8
 9   New York, before Rebecca Schaumloffel, a                 2100 McKinney Avenue
10   Registered Professional Reporter, Certified      9       Dallas, Texas 75201
11   Livenote Reporter and Notary Public of the               BY: SARAH E. SIMMONS, ESQ.
                                                     10
12   State of New York.                              11
13                                                   12
14                                                   13    QUINN EMANUEL
                                                             Attorneys for the Defendant
15                                                   14      Apple Inc.
16                                                           50 California Street
17                                                   15      San Francisco, CA 94111
                                                             BY: ROBERT KANG, ESQ
18                                                   16        SEAN PAK, ESQ.
19                                                   17
20                                                   18    ALSO PRESENT:
                                                     19
21                                                   20       Dale Swindell, videographer
22                                                   21
23                                                   22       *      *     *
                                                     23
24                                                   24
25                                                   25

                                            Page 4                                                   Page 5
 1   THE VIDEOGRAPHER: This is the start of           1
 2   media labeled number one of the videotaped       2   R A V I N B A L A K R I S H N A N, called
 3   deposition of Ravin Balakrishnan in the          3   as a witness, having been first duly sworn by
 4   matter of Apple Inc. versus Samsung              4   a Notary Public of the State of New York, was
 5   Electronics Company Limited. The case            5   examined and testified as follows:
 6   number is 12-CV-00630-LHK.                       6   EXAMINATION BY
 7       This deposition is being held at             7   MR. KANG:
 8   51 Madison Avenue, New York, New York,           8       Q. Dr. Balakrishnan, thank you for
 9   on April 6, 2012, at approximately               9   taking the time to come out today.
10   9:59 a.m.                                       10       A. You are welcome.
11       My name is Dale Swindell from               11       Q. I'm just going to go over some of
12   TSG Reporting, Incorporated. I am the           12   the guidelines for a deposition. I
13   Certified Legal Video Specialist. The           13   understand you have just deposed before, but
14   Court Reporter is Rebecca Schaumloffel          14   try to speak slowly and carefully, and we
15   in association with TSG Reporting.              15   will try not to talk over each other, and if
16       Counsel, please introduce                   16   you don't understand the question, please
17   yourselves.                                     17   stop me and ask for clarification.
18       MR. KANG: Robert Kang with                  18           Do you understand these basic
19   Quinn Emanuel.                                  19   guidelines?
20       MR. LYON: Mark Lyon, with                   20       A. Yes, I do.
21   Gibson Dunn & Crutcher, on behalf of            21       Q. Can you please state your full
22   Apple, and with me is Sarah Simmons.            22   name for the record?
23       THE VIDEOGRAPHER: Court                     23       A. It is Ravin Balakrishnan.
24   Reporter, can you swear in the                  24       Q. I would like to introduce as
25   witness.                                        25   Exhibit 1, your CV that you attached to your


                                                                                                          2
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                            Highly Confidential - Attorneys' Eyes Only

                                              Page 38                                                  Page 39
 1       Q. So in your opinion, what is the              1       A. I believe I have. At least the
 2   difference between the '849 and '721 claim          2   number looks familiar. It is hard to say it
 3   one?                                                3   is exactly the same document.
 4           MR. LYON: Objection. Lacks                  4       Q. Can you tell me what this
 5       foundation.                                     5   document is?
 6       A. As I said, I haven't studied the             6       A. It's a patent, I believe a
 7   '849 yet. So whatever answer I give now             7   European patent that relates to the similar
 8   would be based on my current quick review of        8   subject matter of unlocking a device using a
 9   it.                                                 9   gesture.
10       Q. All right. Are you aware that               10       Q. Turning to page 12 and 13 of this
11   the '849 patent has a counterpart European         11   document, do you see any difference between
12   patent?                                            12   claim one of the Exhibit 4 and claim one of
13       A. I am not aware -- I am aware                13   the '849 patent?
14   there are European patents related to the          14          MR. LYON: Objection. The
15   same concept. I am not sure of the                 15       document speaks for itself.
16   relationship between the '849 versus the '721      16       A. Well, right off the bat, the
17   necessarily.                                       17   preamble alone is worded differently.
18       Q. Have you ever read patent -- I              18       Q. Can you tell me if claim one of
19   will just introduce it.                            19   the European patent includes the term
20           (Whereupon, European Patent                20   "predefined display path"?
21       EP 1964022 B1 document was marked as           21          MR. LYON: Objection. The
22       Exhibit 4 for identification as of             22       document speaks for itself.
23       this date by the Reporter.)                    23       A. Yes, it does.
24           MR. KANG: This is Exhibit 4.               24       Q. Are you aware of this patent --
25       Q. Have you ever seen this document?           25   this European patent being asserted in any
                                              Page 40                                                  Page 41
 1   litigation?                                         1       Q. Did you review the prior art that
 2       A. Yes, I am.                                   2   are cited on the face of the patent?
 3       Q. Do you know the outcome of -- or             3       A. No, I did not.
 4   what litigation are you aware of?                   4       Q. Why not?
 5       A. I am aware of the litigation in              5       A. There is a lot of material there.
 6   the Netherlands, Hague.                             6   I did not see it necessarily pertinent to my
 7       Q. Are you aware of the outcome of              7   infringement analysis.
 8   that litigation with respect to this European       8       Q. What about your validity
 9   patent?                                             9   analysis?
10       A. I believe that litigation is                10       A. I have not done a validity
11   still ongoing.                                     11   analysis in detail against any invalidity
12       Q. So you are unaware that the Dutch           12   assertions.
13   judge declared this patent obvious?                13       Q. You state -- sorry, I am going to
14            MR. LYON: Objection.                      14   introduce an exhibit -- this is going to be
15       Counsel -- objection, vague.                   15   Exhibit 5.
16       Mischaracterizes the facts.                    16           (Whereupon, the Declaration of
17       A. I am not aware that the judge               17       Dr. Ravin Balakrishnan was marked as
18   declared it obvious.                               18       Exhibit 5 for identification as of
19       Q. You stated earlier that you                 19       this date by the Reporter.)
20   reviewed the file wrapper of the '721 patent;      20       Q. Do you recognize this exhibit?
21   is that correct?                                   21       A. Yes, I do.
22       A. You said the file wrapper?                  22       Q. What is it?
23       Q. The prosecution history. It's               23       A. This is the Declaration I
24   the same thing.                                    24   submitted in conjunction with this case.
25       A. Yes, I did.                                 25       Q. Can you turn to page 31, please?


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 1       A. The basis of the opinion is in              1   arguments. I would -- I would look at the
 2   reading the claims of the patent,                  2   asserted claims and look at the prior art and
 3   specification and a review of the prosecution      3   see how the prior art might match up with
 4   history of the '721 patent.                        4   those asserted claims.
 5       Q. Sir, you have been involved in              5       Q. And you have done that analysis
 6   patent cases before, correct?                      6   on behalf of defendants, correct?
 7       A. As an expert witness, yes.                  7       A. In other cases, yes.
 8       Q. And what kind of steps do you               8       Q. Have you ever searched for prior
 9   typically undertake in assessing the validity      9   art with respect to patents?
10   of a patent?                                      10       A. Not in this case, but in the
11       A. Typically, I have responded to             11   past, yes.
12   invalidity assertions by the other side and       12       Q. And how many times, as an expert?
13   considered those assertions step by step and      13       A. I don't think I can put a number
14   looked at that and then considered those          14   on it. Probably each time I have worked on a
15   issues and rebutted them appropriately.           15   case on the defendant side, yes.
16       Q. So you have acted as an expert on          16       Q. Is it fair to say that you know
17   behalf of defendants, including Apple,            17   how to do that type of analysis?
18   correct?                                          18       A. I think that's fair to say, yes.
19       A. On behalf of defendants? Yes.              19       Q. And when you are searching for
20       Q. And what steps would you                   20   prior art, what steps would you take as an
21   typically undertake as an expert for a            21   expert?
22   defendant in dealing with validity challenges     22       A. I would -- based on my expertise
23   to a patent?                                      23   in the area, I would look first from -- at
24       A. As a defendant? In other words,            24   the work that I know is in the related art,
25   I would be putting forward the invalidity         25   not necessarily exactly prior art, and from
                                             Page 48                                                Page 49
 1   there, I would look at other -- through the        1   one case on rebutting a -- if you are talking
 2   references from there and look at other art        2   about validity issues. In one case I am
 3   that might also have been related.                 3   rebutting assertions by another expert. In
 4           Similarly, counsel often does              4   the other case, as a defendant, I am putting
 5   patent searches. I believe they may hire           5   forth those assertions. So they --
 6   search firms for doing those kind of searches      6   necessarily, the approach would be somewhat
 7   and often I'm presented a bunch of related         7   different, in the one case putting forth the
 8   patents that may have come out of those            8   assertions.
 9   searches and asked to consider those as well.      9           But in terms of assessing whether
10      Q. Have you ever searched the United           10   it is valid or not, I would say ultimately it
11   States Patent Trademark Office database for       11   is the same process.
12   prior art?                                        12       Q. You understand that the laws of
13      A. I have in other cases but not               13   validity do not change whether you are acting
14   exhaustively. Typically the patent searches       14   as an expert for a defendant versus a
15   are done by counsel with the party firms.         15   plaintiff?
16      Q. Have you ever searched                      16       A. That is correct, yes.
17   publications for prior art?                       17       Q. And sir, I take it that you bring
18      A. I have in other cases, yes.                 18   to bear the same level of preparation and
19      Q. Sir, does your approach to how              19   carefulness in forming your opinions
20   you form opinions differ as an expert for a       20   regardless of whether you are acting as an
21   plaintiff versus as an expert for a               21   expert for a plaintiff versus a defendant?
22   defendant?                                        22       A. I would be, yes.
23      A. I am not sure the -- I am not               23       Q. Sir, you understand that the --
24   sure I completely understand the question.        24   this Declaration that you prepared is an
25   The approach would be slightly different in       25   important document?


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 1       A. Of course.                                 1           MR. LYON: Asked and answered.
 2       Q. So why don't I have you read into          2       A. As I answered before, I believe I
 3   the record paragraph 98 of your Declaration,      3   looked at the Rytivaara reference, one or two
 4   which is Exhibit 5.                               4   of the Tokkonen references. I believe I
 5       A. "In reaching this opinion, I have          5   looked at the Robertson reference. And I
 6   considered the claims, specification and          6   looked at the Neonode Guide.
 7   prosecution history of the '721 patent,           7           They're at least the ones I
 8   including the prior art references identified     8   recall of that.
 9   by the U.S. PTO as being the closest prior        9       Q. Is it fair to say you didn't
10   art, and I have relied on my knowledge of and    10   consider everything that is listed as
11   expertise regarding computer science, human      11   references cited in forming your opinions on
12   computer interaction and interactive computer    12   the validity of the '721 patent?
13   graphics. I have also relied on the legal        13           MR. LYON: Objection. Vague.
14   standards regarding the validity discussed."     14       A. Everything that is cited there
15       Q. Do you stand by that opinion?             15   would be the references in the patent, yes.
16       A. Yes, I do.                                16       Q. No, no. I said, it's fair to say
17       Q. Sir, if you can take out the '721         17   you didn't consider everything that is cited
18   patent. Do you have that in front of you?        18   as references cited under the '721 patent in
19       A. Yes, I do.                                19   forming your opinions regarding the validity
20       Q. Do you see that there is a                20   of that patent, correct?
21   section dealing with references cited?           21           MR. LYON: Objection. Vague.
22       A. Yes.                                      22       A. You said I did not?
23       Q. Which of these references did you         23       Q. You did not.
24   consider in forming your opinions regarding      24       A. I did not look at all of those
25   validity of the '721 patent?                     25   references, 100-odd references. I did not.
                                            Page 52                                                Page 53
 1       Q. You did not, right? So with                1       Q. And, in fact, you have rendered
 2   respect to the references that you did not        2   opinions in other cases where you have looked
 3   look at, I take it that you have no idea what     3   at prior art that was not considered by the
 4   those references disclose or do not disclose?     4   Patent Office and issued opinions regarding
 5       A. I have not read them, so I would           5   the invalidity of a patent that's been issued
 6   not know the specifics. But my understanding      6   by the United States Patent Office, correct?
 7   is the Patent Office considered them, and if      7       A. That is correct, yes.
 8   the Patent Office considered them and still       8       Q. And you have also issued opinions
 9   issued the patent, then there's a presumption     9   in other cases regarding the invalidity of a
10   of validity unless decided otherwise.            10   patent based on references that were cited
11       Q. Certainly. But I mean, you have           11   during the prosecution of a particular
12   been acting as an expert on behalf of            12   patent, correct?
13   defendants in prior cases, correct?              13       A. I have -- I would have to check
14       A. Yes.                                      14   my past cases as to whether the publications
15       Q. So you understand that just               15   I asserted as being invalidating were cited
16   because a patent has issued doesn't mean that    16   or not. I can't recall offhand whether they
17   the patent is ultimately valid?                  17   were cited or not.
18       A. Whether it is ultimately valid or         18       Q. Sir, you were involved in the
19   not, it is my understanding it is up to the      19   Elan case?
20   court to decide. But I understand -- my          20       A. Yes, I was. I'm assuming you
21   understanding is there is a presumption of       21   mean the Apple-Elan case.
22   validity unless the court decides otherwise.     22       Q. And I take it that you researched
23       Q. You understand that presumption           23   the prior art carefully in that case as well?
24   of validity could be overcome?                   24       A. I would have, yes.
25       A. By a court, yes.                          25       Q. Besides looking at a select


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 1   devices.                                          1       A. Yes. For example, if you enter a
 2      Q. Yes.                                        2   password.
 3          So you're not opining today that           3       Q. Also, the phones that have an
 4   Samsung copied the same identical unlocking       4   unlock image which does not move with the
 5   gesture as the iPhone in developing the           5   user's finger, you would agree those
 6   Samsung Nexus phone, correct?                     6   embodiments do not practice the '721 patent,
 7          MR. LYON: Objection. Lacks                 7   correct?
 8      foundation. Assumes facts not in               8       A. If they do not move, if the
 9      evidence. Calls for a legal                    9   unlock image does not move, then it would not
10      conclusion.                                   10   practice the asserted claims in the '721.
11      A. I am not alleging that it is 100%          11       Q. In fact, if the unlock image does
12   identical equivalent, given the differences      12   not move continuously in accordance with the
13   that we just talked about.                       13   user's finger movement, the embodiment would
14      Q. Thank you.                                 14   not practice the '721 patent, correct?
15          Do you have any opinion, sitting          15       A. Give me a second.
16   here today, as to whether any of the             16       Q. Sure.
17   different embodiments we discussed for           17       A. I have to think about that a
18   unlocking a smartphone is commercially more      18   little bit. You added a little wrinkle into
19   valuable than the other embodiments?             19   the question.
20      A. We have already gone through this          20            The claims require the notion of
21   issue. I have not done that analysis as to       21   a continuous movement of the unlock image.
22   commercial value.                                22       Q. So if there is a smartphone that
23      Q. For example, there are phones              23   had an unlock image which did not move
24   that do not practice the '721 patent in terms    24   continuously with the user's finger, then
25   of unlocking, correct?                           25   such an embodiment or smartphone would not
                                            Page 96                                              Page 97
 1   practice the '721 patent, correct?                1   a user-interface gesture?
 2       A. It would not meet that particular          2       A. You could have a movement to
 3   limitation to continuously move the unlock        3   remove, for example, if I moved the icon and
 4   image.                                            4   say, for example, it flew to the end of the
 5       Q. And you are an expert, sir, you            5   screen, that may not match the movement of my
 6   know that in order to practice a patent           6   finger or my whatever it is, the pen,
 7   claim, you have to practice each and every        7   whatever it is that is moving. It may not
 8   element of that claim, correct?                   8   match that movement of the input in a
 9       A. That's correct.                            9   continuous manner. So there may be a
10       Q. So you would agree that if there          10   disconnect between the input and the movement
11   is a smartphone that had an unlock image         11   of the image.
12   which did not move continuously with the         12       Q. And that would be a form of a
13   user's finger, then such an embodiment or        13   discontinuous movement, in your opinion?
14   smartphone would not practice the '721 patent    14           MR. LYON: Objection. Vague.
15   claims, correct?                                 15       A. I am not sure it is
16       A. For the asserted claims, I                16   discontinuous. It would be a different form
17   believe that would be correct, yes.              17   of movement.
18           MR. LYON: Are we at a good               18       Q. Not continuous?
19       point for a break?                           19           MR. LYON: Objection. Vague.
20           MR. KANG: I will ask a few more          20       A. Probably not continuous as meant
21       questions and then we will wrap up.          21   by this particular set of claims that have
22       Q. We talked about this idea of a            22   been asserted.
23   movement and continuous movement. Besides        23       Q. What are some -- what are some
24   continuous movement, what are other types of     24   examples of other types of movement that you
25   movement that are possible in the context of     25   can think of which are not continuous in the


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 1   context of the '721 patent?                       1   movement in the context of the '721 patent?
 2       A. I can think of hypotheticals. I            2       A. But whether it is movement
 3   am not sure that they would be particularly       3   nonetheless? So I gave you the flight
 4   usable or useful. For example, you can            4   example, if it went from A to B.
 5   imagine an icon jumping every five seconds to     5           Not off the top of my head. I
 6   catch up with where your finger is. That          6   think once you have movement, it is generally
 7   could be continuous in some sense but not         7   continuous in some fashion. Except for maybe
 8   continuous in time. It rebounds in space all      8   these kind of discrete fling actions.
 9   the time and it may catch up.                     9       Q. If you were to define the word
10       Q. Do you believe that type of               10   "continuous" in the context of movement in
11   embodiment would be covered by what's claimed    11   the '721 patent, how would you describe it?
12   in the '721 patent?                              12       A. I haven't -- you know, I've been
13       A. That might be covered, yes.               13   getting the claim construction issues here.
14       Q. Do you think it is?                       14   I haven't come up with a definition of the
15       A. It is continuous in space. It             15   term. The ordinary meaning that I am
16   might be covered.                                16   referring to, as I understand the claim, is
17       Q. Do you think it is covered?               17   that it would follow my finger generally, or
18       A. I would have to study that in             18   follow my contact, the movement of the
19   more detail, because I haven't considered        19   contact.
20   that. I just thought of the example in           20       Q. And that's the understanding that
21   response to your question. I would consider      21   you used in analyzing the '721 patent for the
22   the ramifications of whether that would be       22   purposes of your Declaration?
23   covered or not in the claims.                    23       A. That is correct.
24       Q. Can you think of other examples           24           MR. KANG: Why don't we take our
25   that you believe would not be continuous         25       break.
                                          Page 100                                               Page 101
 1           THE VIDEOGRAPHER: The time is             1       Q. So we talked earlier about the
 2      1:23; we are going off the record.             2   HCI research that was done at the University
 3           (Whereupon, a recess was held.)           3   of Maryland with Dr. Plaisant and others.
 4           THE VIDEOGRAPHER: The time is             4          Do you remember that?
 5      1:34; we are back on the record.               5       A. Yes.
 6   BY MR. PAK:                                       6       Q. How would you characterize that
 7      Q. Welcome back. Did you discuss               7   program in terms of user interface research?
 8   the substance of your testimony during your       8       A. You mean the research group at
 9   break?                                            9   Maryland or Dr. Plaisant's work?
10      A. I am not sure what you mean by             10       Q. Let's start with the group in
11   substance of the testimony.                      11   general.
12      Q. Did you discuss the questions and          12       A. Are you asking about quality?
13   answers?                                         13       Q. How would you rank it
14      A. Just the general tenor of it,              14   academically?
15   yes.                                             15       A. I would say it is one of the
16      Q. What did you discuss?                      16   stronger groups worldwide historically.
17      A. We discussed the general                   17       Q. How would you characterize
18   direction which the questions were leading;      18   Dr. Plaisant's work?
19   that's pretty much it.                           19       A. She is one of the stronger
20      Q. Did counsel for Apple instruct             20   researchers.
21   you on how to answer questions?                  21       Q. Are you familiar with
22      A. Not in the break.                          22   Dr. Schneiderman?
23      Q. Ever?                                      23       A. Yes, I am.
24      A. They have given me general advice          24       Q. And who is he?
25   on how to approach depositions, yes.             25       A. He is a researcher in the HCI


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 1   would continue to move even after the finger       1   finger is still on the screen and if the
 2   has been lifted in a fling gesture; is that        2   image is still -- in the fling case, is still
 3   correct?                                           3   moving along with the finger, it would match
 4          MR. LYON: Objection. Vague.                 4   up with the drag until the lift up of the
 5      A. If you make that assumption, yes.            5   finger.
 6      Q. And, in fact, in both Apple and              6       Q. So in terms of the algorithm that
 7   Android platforms, you could execute a fling       7   you talked about before, to distinguish
 8   gesture in the manner that I described where       8   between a fling and a drag gesture, one needs
 9   the image is moved along with the finger for       9   to look at what happens to the image after
10   a period of time, the finger lifts from the       10   the finger has been lifted, correct?
11   screen and the object or image continues to       11       A. Given the assumptions in the
12   move after the finger has been lifted?            12   hypothetical, yes.
13      A. Are you asking if I have seen               13       Q. So if the image or icon continues
14   that? Yes, but not in the context of              14   to move after the finger has been lifted,
15   unlocking -- unlocking a device.                  15   that would be a fling versus a drag gesture,
16      Q. Just talking generally about                16   where the image or the icon would not move
17   gesture.                                          17   after the finger has been lifted, correct?
18      A. Yes.                                        18           MR. LYON: Objection. Vague.
19      Q. And that type of fling gesture is           19       A. In that particular definition of
20   different than a drag gesture where the image     20   a drag. I have also seen the word "drag"
21   moves continuously with the finger at all         21   used for in lieu of a fling, so where you
22   times while the finger is still on the            22   lift up and the drag continues. So if we
23   screen, correct?                                  23   define "drag" as it stops when the finger is
24      A. It would differ at the point when           24   lifted up, then fling it continues when the
25   the finger is lifted up. But while the            25   finger is lifted up, then yes, that would be
                                            Page 108                                              Page 109
 1   the difference.                                    1       Q. So when we look at unlocking as
 2       Q. That's the definition that you              2   claimed in the '721 patent, do you believe
 3   have been using before in this deposition,         3   that unlocking is broad enough in the context
 4   correct?                                           4   of the claim language to include both
 5           MR. LYON: Objection. Vague.                5   embodiments, where one embodiment is
 6       Misstates testimony.                           6   unlocking the device and the other embodiment
 7       A. In the last few minutes, yes.               7   is unlocking a particular application?
 8       Q. Well, earlier today when you were           8       A. So for claim seven, the first
 9   talking about flings, that was the concept         9   asserted claim, the last limitation is to
10   that you had in mind, correct?                    10   unlock the handheld electronic device. I
11           MR. LYON: Same objections.                11   would believe that's different from unlocking
12       A. In general, yes.                           12   an application where -- unless the
13       Q. We have been talking a lot about           13   application is the notion of the lock
14   unlocking. What is your understanding of the      14   application, in contrast with, say, a web
15   concept of unlocking in the context of the        15   browser, for example.
16   '721 patent?                                      16       Q. What about claim 12?
17       A. In the context of the '721, the            17       A. Okay, the same. The last
18   notion of unlocking is, the device is locked,     18   limitation, unlocking handheld electronic
19   in other words, it doesn't respond to general     19   device, is the same as claim seven.
20   user input, and you unlock it to make it open     20       Q. Thank you, Doctor.
21   to responding.                                    21          So you believe that the words
22           I believe the patent also talks           22   "unlock the handheld electronic device"
23   about unlocking particular applications. In       23   denotes the concept of unlocking the entire
24   other words, not just the device. So they're      24   device as opposed to a particular application
25   different embodiments.                            25   on that device?


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 1       A. If it unlocked a particular                 1   the app involves unlocking the device, then
 2   application, which in turn resulted in the         2   it would amount to the same.
 3   device being unlocked, then that would amount      3       Q. When you say unlocking the
 4   to the same thing. For example, in the Nexus       4   device, what do you mean?
 5   phone, you can unlock by swiping to the            5       A. Making it operational again.
 6   right, which unlocks the phone directly, or        6       Q. Isn't it true, sir, that in the
 7   swipe to the left, which gets you the camera       7   Samsung Nexus phone, one could interact with
 8   application.                                       8   the phone even while it is in an unlocked --
 9           But in effect, the phone is also           9   or sorry.
10   unlocked at the same time, so those would do      10          Isn't it true, sir, that in the
11   the same thing. It would unlock the device.       11   Samsung Nexus phone, one could interact with
12   The path to the unlocking is slightly             12   the phone even while it is in a locked state?
13   different.                                        13       A. While it is locked, yes, you can
14       Q. You would agree with me that the           14   do some things.
15   concept of unlocking an application is also       15       Q. What are some of the things you
16   disclosed in the '721 patent?                     16   can do?
17       A. Yes.                                       17       A. You can press some of the buttons
18       Q. But you believe that the claims,           18   to shut the phone down. I believe if a call
19   the asserted claims of the '721 patent does       19   comes in, you can respond to the call, as
20   not cover that particular embodiment?             20   examples.
21           MR. LYON: Objection. Vague.               21       Q. So you would agree with me that
22       A. The set of claims, the last                22   in the Samsung Nexus phone, there are user
23   limitation of claim 7 and 12 talk about           23   applications and interactions which are
24   unlocking the device, not a particular app,       24   possible even while the phone is still in a
25   but as I said earlier, if the app, unlocking      25   locked state?
                                            Page 112                                               Page 113
 1       A. When the touchscreen is in a                1       Q. That's something that one can do
 2   locked state, yes.                                 2   with the Samsung Nexus phone while it is
 3       Q. So I am trying to understand the            3   still in a locked state, correct?
 4   boundary that you are drawing between              4       A. Actually, let me correct that. I
 5   unlocking a phone versus unlocking                 5   may have misspoken. I believe you have to
 6   applications. Are you stating on the record        6   actually lock it before you can actually shut
 7   that unlocking a phone means taking the            7   down.
 8   device from a state where no user application      8       Q. Do you know if that is true?
 9   is allowed to a state where at least one           9       A. I would have to double-check
10   application is allowed to interact with the       10   that. I haven't considered that in detail
11   user? Is that your testimony?                     11   for this particular work.
12       A. Where it is user initiated, yes.           12       Q. Let's say I have a smartphone
13   If I am trying out the phone, I can't do          13   that allows at least one application to be
14   anything on the touchscreen without first         14   initiated by the user while it is in a,
15   unlocking it, except in the scenario              15   quote, locked state, and if the user unlocks
16   potentially, and I haven't studied this for       16   the phone, additional applications are
17   that particular phone, but like on the            17   enabled. Do you have that example in mind?
18   iPhone, if a call comes in, I can answer the      18       A. Yes.
19   call without first unlocking it.                  19       Q. Do you believe that scenario
20           But that's initiated by an                20   would be covered by what's claimed in the
21   outside party. The call comes in. I am not        21   '721 patent?
22   initiating the call.                              22       A. I haven't thought about that
23       Q. Shutting down the phone is user            23   particular scenario in detail, so I would
24   initiated, correct?                               24   want to study that and the spec again in
25       A. Right.                                     25   detail to answer that. Because whether


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 1   unlocked -- whether the device has to be           1   claim 12 of the '721 patent as you understand
 2   completely locked or not is something I            2   it?
 3   haven't considered.                                3       A. So as I said, I would have to
 4       Q. I need your best answer to that             4   think about that scenario. Because when I
 5   today, sir, on that issue.                         5   drew the distinction between unlocking the
 6           MR. LYON: Objection. Asked and             6   application and unlocking a phone in response
 7       answered.                                      7   to your earlier question, I was thinking of a
 8       A. So I would have to say I would              8   situation where the phone was generally
 9   have to study it to give a definite answer.        9   unlocked and a particular application may
10       Q. Well, the reason why I need an             10   have been locked. And there is a slide to
11   answer to that, sir, is, the question that I      11   unlock gesture done to unlock that particular
12   asked earlier was, do you see a difference        12   locked application.
13   between unlocking a phone versus unlocking an     13           Now I think the scenario is quite
14   application or applications. And your             14   different, where the phone is generally
15   testimony was that you saw a difference.          15   locked, and you are saying one application
16       A. Yes.                                       16   happens to be unlocked, if I understand what
17       Q. Correct? And so I am trying to             17   you are saying correctly.
18   understand the basis for that difference that     18       Q. Well, really the issue I think
19   you testified about.                              19   you understand very well is the definiteness
20           So, again, if I had a phone that          20   of a claim. You know that a claim must be
21   had at least one application which could be       21   definite to be valid, correct?
22   initiated by the user in a locked state, and      22       A. Yes.
23   unlocking that phone would result in              23       Q. So one must be able to determine
24   additional applications being enabled, is         24   whether something is infringing or not based
25   that scenario covered by claim seven and          25   on the claim language, correct?
                                            Page 116                                             Page 117
 1       A. And the specification, yes.                 1   expert that submitted a Declaration in this
 2       Q. And in other cases you have                 2   case, what is the difference, in your mind,
 3   opined that certain claims, although issued        3   between unlocking a phone versus unlocking an
 4   by the United States Patent Office, were           4   application or applications?
 5   invalid because the claim was not definite?        5           MR. LYON: Asked and answered.
 6       A. That is true in other cases.                6       A. I think I just -- I believe I
 7       Q. In the Elan case, for example?              7   clarified that already, but I will repeat
 8       A. I would have to go back and                 8   that answer.
 9   recall that, but it is possible.                   9           When I drew the division between
10       Q. You know that's a legal                    10   unlocking an application and unlocking a
11   requirement that a claim must be definite in      11   phone, I was -- in a case where I am
12   order to be valid?                                12   unlocking an application, I was taking -- I
13       A. Yes.                                       13   had in mind the situation where the phone was
14       Q. So one must know whether a                 14   generally unlocked and one application may
15   particular device or prior art reference          15   have been locked for whatever reason, and
16   practices a claim or not based on the claim       16   the -- the slide to unlock type of gesture
17   language?                                         17   would have been used to unlock that
18           MR. LYON: Objection.                      18   application.
19       Mischaracterizes.                             19           I think what you have put in
20       Q. Correct?                                   20   front of me as this follow-up question is
21       A. The claim language in the context          21   kind of almost the inverse of that, where you
22   of the specification, yes.                        22   have said the phone is locked in general and
23       Q. So that's why I am asking you              23   there happens to be one application that
24   these questions, sir. I am trying to              24   happens to be unlocked. And you are asking
25   understand, from your perspective as an           25   if that meets the claims.


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 1           I am saying I have not studied             1       Q. Can you give me an objective
 2   that particular scenario, haven't considered       2   criteria today that would distinguish a phone
 3   that particular scenario in detail, and I          3   that you could consider to be unlocked -- or,
 4   would have to do that carefully before I           4   sorry, can you give me an objective criteria
 5   answer your question with any certainty.           5   today that would distinguish a phone that you
 6   Because I think this is different from the         6   would consider to be locked versus a
 7   scenario, the earlier scenario where the           7   situation where the phone is unlocked but
 8   phone is generally unlocked and there happens      8   certain applications are locked?
 9   to be one app that's locked.                       9       A. So you are asking me is there a
10       Q. So you have been using the word            10   difference where -- how I draw the
11   "generally" in answering my questions. What       11   difference? Well, one criteria I would use
12   do you mean by that? How many applications?       12   is that there would be a special case where
13   Is there an objective criteria for defining       13   you lock a particular application despite the
14   "generally"?                                      14   rest of the phone being unlocked.
15       A. I have not put a number on that,           15           So, for example, if I have, say,
16   no.                                               16   a folder that has particularly sensitive
17       Q. So sitting here today, you can't           17   information, I mean my default is to always
18   tell me whether it is one application or two      18   keep that locked.
19   applications or ten applications that must be     19       Q. What if I had a phone where the
20   unlocked?                                         20   contacts information was unlocked while the
21       A. No, I can't give you a number. I           21   phone was in a locked state; would you
22   am thinking of a special case where one or        22   consider that to be something that would be
23   two applications may be specially locked when     23   covered by the claims in the '721 patent?
24   the phone is generally available for use or       24       A. I have to think about that.
25   being unlocked.                                   25   That's another hypothetical here.
                                            Page 120                                              Page 121
 1       Q. So it would depend on the type of           1          MR. LYON: Counselor, I have one
 2   application?                                       2      objection to this. That is that we
 3       A. Well, I think it would depend on            3      asked in interrogatories that you
 4   what the specs say about that particular           4      define what your validity positions
 5   situation. I haven't studied -- I haven't          5      were, and Samsung has refused to do
 6   studied the spec in light of that particular       6      so. Had this been something you
 7   issue. So I don't want to give you an answer       7      wanted us to consider, that would have
 8   that I haven't -- on an issue I haven't            8      been the right time to have raised it.
 9   studied in detail.                                 9      Now you are asking him to on the fly
10       Q. Besides the patent, what else              10      give you his complete analysis. I
11   would you need to consider to be able to          11      think that's unfair.
12   answer that question?                             12          MR. PAK: Sir, with all due
13       A. I would probably also want to see          13      respect, I am going to ask my
14   how that term is used, if indeed the patent       14      questions. I note your objection for
15   draws a distinction, whether that distinction     15      the record.
16   has been drawn elsewhere potentially.             16      Q. Please go ahead and take the
17       Q. I want to give you the                     17   time?
18   opportunity, because this is an important         18      A. Okay.
19   question for us about the definiteness of the     19          Okay, I think I have the partial
20   claim, so I would like to give you the            20   answer to your questions. Just going through
21   chance -- I know you have studied the patent      21   the spec, specification, in light of your
22   in detail in preparing your Declaration. But      22   question, on column seven, line 64, the
23   please take time, if you need it, to look         23   patent contemplates the notion that the
24   through the patent and tell me when you are       24   device in the locked state, it says, "In the
25   ready to answer the question.                     25   user-interface locked state, herein after the


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 1   locked state, the device 100 is powered on         1   trying to understand, when you say some parts
 2   and operational but ignores most, if not all       2   are locked and some parts are not locked in
 3   user input. That is the device 100 takes no        3   this locked state as described in the '721
 4   action in response to user input and/or the        4   patent, what is the objective criteria for
 5   device 100 is prevented from performing a          5   determining when a device is locked with
 6   predefined set of operations in response to        6   respect to the number or quality or type of
 7   the user input."                                   7   applications?
 8           And then it says, "The predefined          8            MR. LYON: Objection. Assumes
 9   set of operations may include navigation           9        facts.
10   between user interfaces and activation or         10        Q. Is there an objective criteria
11   deactivation of a predefined set of               11   that you can tell me?
12   functions."                                       12        A. I don't have one off the top of
13           It goes on to give examples of            13   my head. As I said before, I think it would
14   what the locked state may be used to prevent.     14   depend on the particular applications, and
15   But that paragraph or the section of the          15   it's up to the designers of the phone to
16   paragraph that I just read out, for example,      16   decide whether some -- what particular things
17   clearly shows that it contemplates the notion     17   may be left unlocked in a locked state, as
18   of -- the claims contemplate, or the patent       18   the patent clearly contemplates a predefined
19   contemplates the notion of some parts of it       19   set of operations. That set is predefined,
20   being locked and other parts not being            20   so it is not arbitrary, but something that
21   locked, as one example.                           21   one makes a decision on. Presumably at the
22           I can go on with other places in          22   time of writing the code for the phone.
23   the spec, if you want.                            23        Q. So are you telling me that it --
24       Q. Really, that's -- thank you.               24   the decision or determination as to whether a
25   That's what I am getting at, Doctor. I am         25   device is in a locked state versus unlocked
                                            Page 124                                                Page 125
 1   state depends on whether the designer of that      1   application is not, does that scenario
 2   phone selected certain applications to be          2   satisfy the locked state of the '721 patent?
 3   operational in a locked state?                     3       A. Okay. It would depend on if that
 4       A. I believe the patent is                     4   one application is the predefined set that
 5   contemplating that there is a predefined set       5   has been chosen not to accept user input,
 6   that is prevented from being used, a               6   then it would be locked.
 7   predefined set of operations that is               7       Q. If I have 100 applications on the
 8   prevented from being used when the state is        8   smartphone, 99 of those applications are
 9   in a locked state.                                 9   operational in the locked state, one
10       Q. I am trying to understand exactly          10   application is not, does that scenario
11   what you understand that to mean. So for          11   satisfy the locked state of the '721 patent?
12   example, I have two applications on a phone.      12       A. From just reading the claims, the
13   Are you with me?                                  13   asserted claims and the section of the specs
14       A. Yes.                                       14   that I just read out and a few other sections
15       Q. Okay. Assuming the locked state            15   I have marked out in my just recent review
16   application is operational, the other             16   right here, that set is definable. It would
17   application is not operational, is the phone      17   depend on how you define the set of locked
18   in a locked state as contemplated in the '721     18   versus unlocked. To me, that's what the
19   patent?                                           19   patent is contemplating, these two sets.
20       A. If the one application                     20       Q. But, again, if I had 99
21   constitutes the predefined set of operations      21   applications on a smartphone, they are
22   that is to be prevented, yes.                     22   operational in a locked state, one
23       Q. If I have three applications on a          23   application is not, would you consider that
24   smartphone, two of those applications are         24   to satisfy the locked state of the '721
25   operational in the locked state, one              25   patent?


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 1           MR. LYON: Asked and answered.              1       A. Give me one second to quickly go
 2       A. If that one unlocked application            2   over the other sections I just marked out
 3   is the one that falls in the predefined set        3   here.
 4   that is supposed to be locked, then yes, it        4           So the patent doesn't explicitly
 5   would satisfy it.                                  5   say a specific type would fall under one
 6           Again, all these answers, I                6   category or another, but it gives examples.
 7   haven't had a full amount of time to digest        7   For example, in column 13, lines 54 onwards,
 8   it. I realize you recognize you gave me the        8   it gives examples of specific applications
 9   time to look at it here. But normally I            9   that may be locked or unlocked, but doesn't
10   digest these things over days.                    10   say they have to fall under -- in one
11       Q. I understand, and I appreciate             11   category or the other. So it leaves it --
12   you can't contemplate every one of my             12       Q. It's fair to say there is no
13   questions for the deposition.                     13   bright-line rule or guidance provided in the
14           Having said that, I know you took         14   '721 patent for considering the type or
15   careful time and diligence in assessing the       15   nature of the applications in deciding
16   '721 patent, correct?                             16   whether the device is in a locked or in an
17       A. That's right. So based on what I           17   unlocked state?
18   have assessed to date, yes, but I haven't         18           MR. LYON: Objection.
19   considered -- I hadn't considered those           19       Q. Fair?
20   questions. And should more thinking come up,      20           MR. LYON: The document speaks
21   I will respond appropriately.                     21       for itself.
22       Q. Would the type or the nature of            22       A. Based on my review of the
23   the applications factor into the question of      23   document, I haven't seen a clear delineation
24   whether a device is in a locked state versus      24   that a particular type has to fall in one of
25   unlocked state according to the '721 patent?      25   those sets.
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 1       Q. What if the user or the designer            1       A. What I am saying is the patent is
 2   of the phone -- let me go back to my example       2   saying that there is a predefined set of
 3   again of 99 applications running on the            3   operations and that would have to be chosen
 4   smartphone. If the designer of that phone          4   at some point.
 5   determined that to be in an unlocked state         5       Q. But if the designer of the phone
 6   and the user's sweeping or sliding gesture         6   considered the phone to be in an unlocked
 7   results in additional applications being           7   state prior to the sliding gesture of an
 8   unlocked, would that scenario satisfy the          8   image on the screen, regardless of the number
 9   '721 patent definition of locked state?            9   of applications that may be operational or
10           MR. LYON: Objection; vague.               10   not, as long as there is some predetermined
11       A. If the understood definition for           11   set of operations that are possible after the
12   that device is when the 99 is unlocked, then      12   unlock gesture, would you consider that to be
13   the device would be unlocked. So that goes        13   a locked state?
14   back to my first example, I believe, where        14       A. You have several negatives. So
15   the device is generally unlocked based on the     15   maybe you can get that read back.
16   set of one or two applications that are           16       Q. Really, what I am trying to drive
17   locked.                                           17   at, Doctor, is, does the definition of locked
18       Q. So really, what you are saying,            18   state, according to the '721 patent, depend
19   Doctor, is that the difference between a          19   on the designer's definition of a predefined
20   locked state and unlocked state, according to     20   set of operations that are associated with
21   the '721 patent, ultimately rests on the          21   that state?
22   definition of a predefined set of                 22       A. I think at some point there has
23   applications that are associated with the         23   to be some determination as to what
24   locked state versus unlocked state; is that       24   constitutes a locked state in the patent.
25   your understanding?                               25   The paragraph I just read out earlier clearly


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 1   contemplates a predefined set that                 1   three applications on that phone as well.
 2   constitutes that. Somebody would have to           2   Two of those applications are operational
 3   make that decision and inform the user about       3   before the user moves an icon on the screen
 4   that, too. It is not just you the designer         4   and one is not. Okay?
 5   decides and no communication to users as to        5       A. Okay.
 6   what is a locked state or what is an unlocked      6       Q. Company A defines the scenario
 7   state.                                             7   before the user moves an icon on the screen
 8       Q. I have two companies. They                  8   as an unlocked state. Okay? Company B
 9   design two different smartphones. Company A        9   defines the same scenario before the user
10   designs a smartphone with three applications,     10   input moves an icon on the screen as a locked
11   two of which are operational before the user      11   state.
12   moves an icon on the screen, and one is not.      12           The question for you is, the
13   Do you understand that example?                   13   scenario involving Company A, does that
14       A. Let me write this down. Three              14   satisfy a locked state according to the '721
15   operational, one not, okay. This is the           15   patent?
16   unlocked state?                                   16       A. If that's the -- so that's the
17       Q. Well, I am going to get to that.           17   one where the two are operational but defined
18   Company A designs a smartphone. There are         18   as unlocked? The device, if it is generally
19   three applications. Two of those                  19   understood by the company definition and
20   applications are operational before the user      20   people who use that device, that that's the
21   moves an icon on the screen, and one is not.      21   unlocked state, it would be unlocked.
22   Do you understand that example?                   22       Q. And focusing on the scenario
23       A. Yes.                                       23   involving Company B, does the scenario
24       Q. I have a different company,                24   involving Company B before the user moves the
25   Company B designs a smartphone. There are         25   icon satisfy the locked state according to
                                            Page 132                                              Page 133
 1   the '721 patent?                                   1   prevent this thing from being usable
 2       A. That would be locked, yes.                  2   inadvertently, as one example of why you
 3       Q. So really, the difference between           3   would want a lock.
 4   a locked state and an unlocked state,              4           And I think if you remove that
 5   according to the '721 patent, depends on how       5   overarching goal, then it becomes somewhat
 6   the designer of the phone defines a locked         6   arbitrary. I am not sure that fits the
 7   state versus an unlocked state, correct?           7   spirit of the patent.
 8       A. To some extent. I want to bring             8      Q. That's what I am getting at,
 9   it back to the -- bring the discussion back        9   Doctor. Because I don't see a purpose
10   to the overall goal of this patent is to          10   requirement in the claim language. Do you
11   prevent inadvertent activation, for example.      11   agree?
12   So when I say predefined set of operations,       12      A. I am not sure I completely
13   it needs to be read in the context of what is     13   understand what you mean by "purpose
14   this locking trying to achieve. If I              14   requirement."
15   arbitrarily just toss any set of applications     15      Q. Well, I don't see a statement in
16   into locked and unlocked and call it locked       16   the claim language that says locked state
17   and unlocked state, it may not fit in the         17   corresponds to a particular purpose. There's
18   overall aim of this patent, where you are         18   no explicit definition of a locked state.
19   trying to prevent inadvertent application, or     19           MR. LYON: Objection; vague.
20   I'm sorry, inadvertent activation of the          20      A. In the claim language, that's
21   phone.                                            21   correct.
22           So I wouldn't classify it                 22      Q. In the claim language.
23   necessarily as completely arbitrary. I think      23           So what I am trying to
24   there is still the overriding goal -- you're      24   understand, Doctor, based on your expert
25   unlocking -- the purpose of locking is to         25   analysis and review of the patent, is there


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 1   an objective criteria, setting aside the            1   and the other application is operational in
 2   designer's intent or pre-definition of              2   that state. Can you tell me whether that
 3   applications, is there an objective standard        3   scenario constitutes a locked state according
 4   that one could use to decide whether a              4   to the '721 patent?
 5   particular phone is in a locked state versus        5           MR. LYON: Objection.
 6   unlocked state depending on the type or             6       Incomplete hypothetical.
 7   number of applications?                             7       A. That would depend on whether it
 8           MR. LYON: Objection. Asked and              8   falls in this predefined set of operations.
 9      answered.                                        9       Q. And the predefined set of
10      A. I am not sure I can give you an              10   operations would depend on the designer of
11   objective based on number, but I think the         11   the phone's intent?
12   overriding goal of the patent is to deal with      12       A. Taking into -- I'm sorry.
13   this inadvertent activation issue. That's          13           MR. LYON: Objection; vague.
14   the spirit of the patent.                          14       A. Taking into context -- it is not
15           And while the claims, asserted             15   an arbitrary set. It would be taking into
16   claims do not explicitly state the                 16   context the notion of inadvertent activation,
17   inadvertent activation as the issue that the       17   trying to prevent that, as opposed to
18   claims are addressing, the claims are read in      18   randomly putting applications into one set or
19   light of the spec, and the rest of the             19   the other.
20   patent, including the patent, contemplates         20       Q. There are two applications in
21   the field or the topic that it's trying to         21   this example.
22   solve, that inadvertent issue.                     22       A. Right.
23      Q. I have two applications running              23       Q. So one application is operational
24   on a smartphone. One is not operational            24   before the user moves the icon on the screen,
25   before the user moves an icon on the screen        25   the other is not. Based on that
                                             Page 136                                               Page 137
 1   hypothetical, can you tell me whether the           1   elaborate on that. For example, if I had 99
 2   locked -- the phone is in a locked state or         2   applications and they were all locked, and
 3   not, without considering the designer's             3   the only application that was generally
 4   intent in predefining the set of operations         4   unlocked maybe is the -- I can dial 911 or
 5   associated with the locked state?                   5   something like that; then I think most users
 6           MR. LYON: Objection.                        6   would generally see that as the device is
 7      Incomplete hypothetical.                         7   locked without consulting the manual.
 8      A. Not in every case, no.                        8          But if you go to an extreme
 9      Q. You would have to look at the                 9   example where it is two applications and the
10   designer's definition of what he considers to      10   two arbitrary applications have no inherent
11   be the locked state or not, correct?               11   meaning to the user, then sure, you may need
12      A. Or the manual, for example.                  12   some guidance. You would need some guidance
13      Q. Or the manual.                               13   as to whether it is locked or unlocked under
14      A. In some cases it is maybe                    14   that definition.
15   completely obvious. If there are 100 things        15       Q. In that same example of 99
16   that are locked and only one is unlocked, it       16   applications and one being unlocked -- sorry.
17   may be more clear to the user right off the        17          In the example that you gave
18   bat as to what is locked and what isn't and        18   where you have 99 applications that are
19   whether the state is generally locked or the       19   operational and one application is not
20   device is generally locked.                        20   operational --
21           But when you do a one --                   21       A. Sorry. I had it the other way
22   two-example scenario, which is an extreme          22   around. 99 was inoperational and one was
23   example, the two-application scenario like         23   operational.
24   you did, I think it becomes more difficult.        24       Q. I see.
25           Let me give you an example to              25       A. The one that was operational had


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 1   a particular feature to it, for example, an       1   designer's intent? Do we look at the user's
 2   emergency dialing example. That was, I            2   intent or understanding? Do we look at the
 3   believe, the example I just gave. Then I          3   number of applications? Is there some kind
 4   think most users would see that the device        4   of criteria that you can use?
 5   was in a locked state without having to           5        A. I think you are trying to put a
 6   consult the designer on that.                     6   hard number on something that maybe requires
 7      Q. You could also contemplate a                7   a little bit of subjective interpretation.
 8   scenario where 99 applications are not            8   The 99 to 1, I don't think that would be
 9   operational and one application is                9   arbitrary. I think a designer would state it
10   operational before the user moves the icon on    10   is locked, the entire phone, the entire
11   the screen where based on the pre-definition     11   device is locked.
12   of what is a locked versus unlocked state,       12            But only one application is
13   that scenario would constitute a locked state    13   locked and 99 that are active, I don't think
14   according to the '721 patent, correct?           14   that's a reasonable choice of applications to
15           MR. LYON: Objection as to form.          15   put in the sets that the patent is
16      A. I believe that is technically              16   contemplating. When the patent is
17   possible. I think it would be highly             17   contemplating predefined set, I'm assuming
18   improbable. Most designers would not do          18   it's contemplating reasonable choices as to
19   that. Most users would probably see the          19   what goes into those sets.
20   system as unlocked, except for the one           20        Q. So you are reading a reasonable
21   application.                                     21   requirement into the claims?
22      Q. That's what I am getting at, sir.          22            MR. LYON: Objection.
23   Which criteria do we use to determine whether    23        Mischaracterizes testimony.
24   something is in a locked state according to      24        A. No. I'm reading a reasonable
25   the '721 patent? Do we look at the               25   requirement into the choice of what is a
                                           Page 140                                             Page 141
 1   predefined set of operations that are locked      1      2:37; we are back on the record.
 2   or unlocked.                                      2   BY MR. PAK:
 3       Q. That predefined set of operations          3      Q. Welcome back, Doctor.
 4   you just talked about is the basis for            4          Going back to the '721 patent
 5   determining whether something is in a locked      5   specification, did you come across an
 6   state versus unlocked state according to the      6   embodiment where the user is able to unlock
 7   '721 patent, correct?                             7   the phone without some type of unlock image?
 8           MR. LYON: Objection.                      8   And I will just direct your attention to the
 9       Mischaracterizes testimony. The               9   bottom of column nine, if that helps you.
10       document speaks for itself.                  10      A. I just want to ask clarification.
11       A. The document -- the specification         11   When you say without an unlock image, you
12   or the parts I read out says that those          12   mean unlock image in general, or the unlock
13   predefined operations are undefined.             13   image moving with the content?
14       Q. So the answer to my question is           14      Q. Unlock image moving with the
15   yes, correct, according to the specification?    15   content.
16           MR. LYON: Same objections.               16      A. Where, nine? Sorry.
17       A. According to that part of the             17      Q. At the bottom of column nine.
18   specification, yes.                              18      A. Yes. So -- if you are asking if
19           MR. PAK: Let's take our next             19   there are embodiments that do not require the
20       break.                                       20   movement of the image, the answer is yes, of
21           MR. LYON: Thanks.                        21   course.
22           THE VIDEOGRAPHER: The time is            22      Q. And what specific embodiment do
23       2:30; we are going off the record.           23   you have in mind?
24           (Whereupon, a recess was held.)          24      A. Well, for example, one where just
25           THE VIDEOGRAPHER: The time is            25   the gesture is swiped, where the image does


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 1   not move. But there may still be a static         1       A. Analysis as to what?
 2   image.                                            2       Q. The relative benefit.
 3           The patent, I believe, uses the           3       A. Oh, sorry.
 4   word "unlock image" to also refer to a static     4       Q. Or value.
 5   image that gives you the cue to unlock.           5       A. I haven't considered that
 6      Q. And that particular embodiment              6   explicitly, but just from my expertise in my
 7   where the gesture is swiped but the image         7   field, I would say that giving appropriate
 8   does not move, that embodiment is not an          8   visual feedback is generally a good thing.
 9   embodiment claimed in the asserted claims of      9   So in this case, visual feedback is more
10   the '721 patent, correct?                        10   comprehensive than simply a static issue.
11      A. In the asserted claims it                  11   Generally that would be a good thing.
12   requires that the unlock image move -- to        12       Q. So what about a situation where I
13   continuously move, yes.                          13   have an unlock image on the screen, the user
14      Q. So that's a non-infringing                 14   drags his finger across the screen, but the
15   design, correct?                                 15   unlock image does not move; do you have that
16      A. That would not be covered by               16   example in mind?
17   these claims, the asserted claims.               17       A. Yes.
18      Q. Correct? Yes?                              18       Q. Instead, other visual cues are
19      A. Yes.                                       19   presented. Do you have that scenario in
20      Q. Have you done any analysis as to           20   mind?
21   the relative benefit or value of that            21       A. Okay.
22   particular non-infringing design where the       22       Q. For example, arrows, change in
23   unlock image does not move with the finger       23   color.
24   versus the claimed designs that require          24       A. Okay.
25   movement of the unlock image?                    25       Q. Have you considered the relative
                                           Page 144                                             Page 145
 1   benefit or value of such a design versus the      1   phone could provide visual feedback to the
 2   claimed invention of the '721 patent that         2   user as he performs an unlock gesture without
 3   requires the unlock image to move?                3   moving the unlock image?
 4      A. I haven't considered that in                4      A. I can imagine a color transition
 5   detail explicitly, that particular scenario.      5   of some -- a non-arrow-like blob of color
 6   There is, however, again, from general            6   moving from one direction to the other, for
 7   principles in the interface field, the notion     7   example.
 8   that if the feedback is related to what it is     8      Q. Anything else?
 9   you are moving as opposed to unrelated or not     9      A. I can imagine the unlock region
10   directly attributable feedback, the closer       10   being highlighted, for example.
11   the correspondence, generally the better the     11      Q. Anything else?
12   feedback is deemed to be. But again, that's      12      A. Not off the top of my head. I
13   a general principle.                             13   can sit here and think for a while if you
14      Q. You would agree with me, sir,              14   want me to.
15   that there are other ways of providing visual    15      Q. Besides spending some time
16   feedback to the user with respect to an          16   thinking about these ideas, what else would
17   unlock gesture other than moving the unlock      17   you need to do in order to come up with
18   image, correct?                                  18   non-infringing designs with respect to the
19      A. Yes.                                       19   '721 patent and unlocking?
20      Q. We talked about one example where          20           MR. LYON: Objection. Vague.
21   you could display arrows; that's one example?    21      A. So you are asking me if I was
22      A. Sure. Assuming the arrow is not            22   hired to do a redesign, what would I do? I
23   the unlock image.                                23   think, again, it would depend on what -- what
24      Q. What are some of the other                 24   the capabilities of a particular device were;
25   examples that you can think of where the         25   was audio an appropriate feedback mechanism,


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 1   for example; vibration may be another              1   probably painfully aware of in a lot of lousy
 2   example. It really depends on the                  2   things we use.
 3   constraints that are being considered.             3      Q. Would you agree with me the
 4       Q. You have said something earlier             4   principle of affordance was a well-known
 5   about this idea of a general principle in HCI      5   concept in 2005?
 6   where the closer the feedback is to the            6      A. Sure.
 7   user's movement, the better experience the         7      Q. How about the concept of direct
 8   user could have. Do you recall that                8   manipulation; are you familiar with that
 9   discussion?                                        9   concept?
10       A. Yes.                                       10      A. As generally used in the field,
11       Q. Do you have a name for that                11   yes.
12   principle in HCI?                                 12      Q. What's your understanding of
13       A. There is a general concept of a            13   that?
14   term called affordances. It was coined, I         14      A. The graphical object moves or has
15   believe, by somebody called Don Norman a long     15   the -- is perceived by the user as moving in
16   time ago, that relates to the notion does the     16   correspondence to some input the user
17   object, the thing you are manipulating            17   provides. And the distinction would be in
18   suggest its use without having to be taught.      18   contrast to a command line interface, for
19            So for example, a door handle            19   example, where you typed in a command and
20   that clearly is a lever, somebody is not          20   something happens. So still a perception of
21   likely to push on it because it suggests that     21   something happening in response to my input,
22   it is a lever, and the usage suggests it.         22   but not quite as graphically direct as
23            So that would be one overarching,        23   dragging an object around, for example.
24   very general principle. It is not always          24      Q. You would agree with me this
25   that obvious in many designs, as we're            25   concept of direct manipulation was well known
                                            Page 148                                              Page 149
 1   in 2005?                                           1   context of touchscreens before 2005, correct?
 2      A. Yes.                                         2       A. Yes.
 3      Q. And you would agree that the                 3       Q. For example, you are familiar
 4   concept of moving an object in response to         4   with the SmartSkin system where the user can
 5   user input to provide visual feedback to the       5   manipulate objects on the screen by moving
 6   user was also well known in 2005?                  6   those objects directly?
 7      A. Yes.                                         7       A. Yes.
 8      Q. What are some examples you can               8       Q. You are also familiar with a
 9   think of that predate 2005 where that              9   touch table product from Mitsubishi?
10   principle was carried out?                        10       A. Yes.
11      A. Dragging an object on a desktop             11       Q. Diamond Touch, correct?
12   graphical interface, for example. Dragging        12       A. Yes.
13   an icon to the trash can. Those kinds of          13       Q. That predates 2005?
14   things were examples of direct manipulation       14       A. I believe the table does predate
15   where the object, the graphical object was        15   2005. I should double-check that.
16   directly or fairly directly connected to the      16       Q. And that table allowed the user
17   movement of the user.                             17   to manipulate objects directly on the screen
18          Now, I say fairly directly                 18   by moving objects?
19   because it doesn't have to be a touchscreen.      19       A. That's right.
20   A mouse, for example, is indirect in the          20       Q. And this concept of direct
21   sense that it is moving a cursor, and the         21   manipulation by moving objects on the screen
22   cursor moves the object. But it's still           22   is a concept that you have taught in your
23   generally thought of as direct manipulation.      23   classes for a long time, correct?
24      Q. You are certainly aware and have            24       A. Yes.
25   written about direct manipulation in the          25       Q. You have taught that before 2005?


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                                           Page 170                                               Page 171
 1   slide to unlock method described in the '721      1   necessarily -- not necessarily known a priori
 2   patent.                                           2   until we try it.
 3       Q. I am trying to understand what's           3          If you are asking is it
 4   unpredictable about that result.                  4   predictable if we add it, the motion of the
 5           MR. LYON: Objection. Asked and            5   image to the swipe, that it would be a
 6       answered.                                     6   movement of the image while I swipe,
 7       A. What's unpredictable to me is              7   obviously the outcome of that, that it is
 8   nobody had tried it. Nobody put together a        8   moving while I swipe, that's obviously
 9   swipe with a moving image underneath the          9   predictable. It is code.
10   user's content. It had never been done in        10      Q. Actually, do you have the --
11   this context.                                    11   Dr. Plaisant's paper in front of you?
12       Q. My question is different, sir.            12      A. No, I don't believe so.
13   My question is about predictability and          13          MR. PAK: This would be
14   whether the result is predictable or             14      Exhibit 8.
15   surprising.                                      15          (Whereupon, the 1990 paper by
16           Do you have any basis to suggest         16      Plaisant and Wallace was marked as
17   that the result of combining direct              17      Exhibit 8 for identification as of
18   manipulation with an unlock sweep gesture on     18      this date by the Reporter.)
19   a smartphone resulted in unpredictable or        19          MR. PAK: And I will also
20   surprising results?                              20      introduce my next exhibit, which is
21           MR. LYON: Objection. Vague.              21      Exhibit 9.
22       Assumes facts. Lacks foundation.             22          (Whereupon, a document, Bates
23       A. I think it is surprising that             23      stamped 667-668, was marked as Exhibit
24   this is a technique that happens to work very    24      9 for identification as of this date
25   well. How well it works or -- it would be        25      by the Reporter.)
                                           Page 172                                               Page 173
 1       Q. Sir, I have handed you two                 1   '721 patent?
 2   exhibits. Exhibit 8 is an 1990 paper by           2       A. So what -- this is a technical
 3   Dr. Plaisant and Danielle Wallace, and that's     3   report; is that correct?
 4   Katherine Plaisant, P-L-A-I-S-A-N-T.              4       Q. Correct.
 5          And I have also handed you                 5       A. So it is not a patent. So it
 6   Exhibit 9, which is a 1992 paper titled           6   would not be in this patent list.
 7   "Touchscreen Toggle Design" by the same two       7       Q. Correct.
 8   authors.                                          8       A. This is not in alphabetical
 9          Do you have that in front of you?          9   order, so I have to go through it. Just
10       A. Yes, I do.                                10   looking at page 2 and 3 of the patent, I only
11       Q. First of all, have you considered         11   see the Exhibit 9 cite.
12   Exhibit 8 prior to this deposition?              12       Q. You did consider Exhibit 9 in
13       A. I don't believe I have seen               13   preparation of your Declaration in this case?
14   Exhibit 8.                                       14       A. I looked at number 9, but not
15       Q. So this is your first time seeing         15   Exhibit 8.
16   it?                                              16       Q. Looking at 9, Exhibit 9, sir, you
17       A. I believe so.                             17   would agree with me that the Plaisant paper
18       Q. How about Exhibit 9?                      18   discloses a touchscreen display, correct?
19       A. I have seen Exhibit 9.                    19       A. A touchscreen display, yes,
20       Q. In reviewing the prosecution              20   absolutely.
21   history, did you come across Exhibit 8?          21       Q. You would also agree with me,
22       A. I don't believe so, no.                   22   sir, that the Plaisant article describes,
23       Q. Can you just confirm for me by            23   quote, the touchscreen used returns a
24   looking at the references cited section that     24   continuous flow of coordinates, allowing the
25   Exhibit 8 is not cited as prior art in the       25   dragging of objects, the identification of


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                                             Page 198                                             Page 199
 1   inadvertent touches or gestures on the screen       1       A. That's correct.
 2   by using the slider mechanism?                      2       Q. You would agree with me that the
 3       A. I just want to make sure that it             3   movement of the toggle was continuous as a
 4   was the slider she was referring to. Because        4   user interacts with the various toggles?
 5   I believe she also talked about the concept         5           MR. LYON: Objection; vague.
 6   with regards to the rocker switch. So if we         6       A. For the slider toggle, that was
 7   have to replay that, it might be a good idea.       7   very hard to see. It may well have been
 8   Just replay that little section.                    8   doing what the paper is suggesting it was
 9       Q. Sure.                                        9   doing, which is a three-step animation. It
10       A. Or you can represent to me that             10   was a pretty small toggle. It was hard to
11   that's what was in the video.                      11   tell whether it was completely continuous as
12       Q. Well, let me see if I can just              12   it was stepping through. The person moved
13   address it by my question.                         13   pretty fast.
14       A. Okay.                                       14           If the paper is describing what's
15       Q. You would agree with me in her              15   in the video, then I would assume it is a
16   video, Dr. Plaisant discusses the avoidance        16   three-step animation as opposed to continuous
17   of inadvertent touches or gestures through         17   animation.
18   the use of either a slider or a rocker             18       Q. How many steps -- let me step
19   mechanism?                                         19   back.
20       A. Yes.                                        20           When you say a three-step
21       Q. The other thing that you saw in             21   animation is not continuous, what do you mean
22   the video that you can't tell easily from the      22   by that?
23   paper, according to you, was the actual            23       A. It seems to discretize the
24   movement of the toggles as the user uses the       24   motion, and I would assume the first step is
25   toggle; you saw the movement, correct?             25   on the left side, and the last step, the
                                             Page 200                                             Page 201
 1   third step is in the right side, and the            1       Q. Let's see if we can replay the
 2   middle step, the second step is in the              2   video for this section dealing with the
 3   middle.                                             3   actual movement, and I would like to have you
 4            For a very small toggle like               4   take a closer look.
 5   that, it is hard to tell just from the video        5           (Whereupon, the video was
 6   whether that is actually happening. The             6       played.)
 7   paper seems to say explicitly that's what is        7       Q. So, Doctor, having taken a second
 8   happening.                                          8   closer look at the movement of these toggles,
 9       Q. But you would at least agree with            9   let's see if we can run through the questions
10   me, with respect to the rocker toggle, the         10   again.
11   movement was continuous?                           11           With respect to the rocker
12            MR. LYON: Objection, vague.               12   toggle, would you agree the movement is
13       A. The rocker toggle, yes. But it's            13   continuous as the user interacts with that
14   a very different type of movement from the         14   toggle?
15   sliding. It is pivoting about a particular         15       A. It seemed continuous in that when
16   axis.                                              16   the user moved from one side to the other
17       Q. You would also agree with me that           17   side, that it flipped. Now, there was no --
18   the lever toggle was also continuous in            18   in the video, it did not show the user
19   movement?                                          19   hovering in the middle, for example. So it
20            MR. LYON: Objection.                      20   is hard to tell if it is truly continuous,
21       A. Just from looking at the video,             21   and if it's purely what's happening.
22   it is hard to tell. It is happening pretty         22       Q. And with respect to the slider
23   fast, and in that case the paper doesn't           23   toggle, would you agree with me the movement
24   provide any additional clarification on like       24   was also continuous with respect to that
25   the slider -- the slider toggle.                   25   toggle?


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 1      A. Actually, I would not agree with             1   video seemed to be continuous. I -- again,
 2   that. The second time I looked at it much          2   it is really hard to tell without analyzing
 3   more closely, and I saw a snap to the middle       3   it more closely.
 4   and then to the end. Again, it was very            4        Q. It would be helpful to see the
 5   fast, but I was looking for that snap, and it      5   source code?
 6   seemed to be snapping in the middle of that.       6        A. The source code would be useful,
 7   So it seems to be three discrete stages.           7   or the video maybe played back in slow --
 8      Q. You would consider that to be not            8   slower frame.
 9   continuous?                                        9        Q. By the way, Doctor, in assessing
10      A. That's right. It is visible as              10   infringement of the '721 claims, the claim
11   three separate stages.                            11   seven and claim 12, is source code analysis
12      Q. So a movement that has stages,              12   required?
13   discrete stages, in terms of the visual           13        A. I think if I am looking at the
14   output, you would not consider to be              14   phone itself, I think it is very clear it
15   continuous?                                       15   matches up to the claim. But I did look at
16      A. I believe that's not what the               16   the source code as well.
17   patent is contemplating when it says              17        Q. So it was helpful but not
18   continuous.                                       18   necessary to make the determination of
19      Q. Doctor, what about the last                 19   infringement?
20   example of the lever toggle; would you            20        A. Not absolutely necessary, given
21   consider that movement to be continuous as        21   it's pretty obvious from just using the
22   shown in the video?                               22   phone.
23      A. Sorry, I was distracted by the              23        Q. So it's fair to say you can take
24   sign over there.                                  24   a look at a device based on the visual
25           The animation as I saw in the             25   output, and sufficient information was
                                            Page 204                                              Page 205
 1   provided to make a determination of                1       Q. And sir, if we look at the bottom
 2   infringement of claim seven and claim 12 of        2   of figure two --
 3   the '721 patent without looking at the source      3       A. Of?
 4   code?                                              4       Q. -- in the touchscreen toggle
 5       A. In this particular instance, yes,           5   design paper, Exhibit 9, would you agree with
 6   because the device very clearly matches up.        6   me that the rocker toggle is one way in which
 7   Should the animation have been choppy, for         7   an image can be moved from a first predefined
 8   example, like in the Plaisant video, then I        8   location to a second predefined location on a
 9   think the source code analysis would have          9   touchscreen device to change the state of
10   been an absolute necessity.                       10   that device?
11       Q. I want to look at claim seven and          11       A. When you say the rocker, the
12   claim 12, and please keep the Plaisant            12   middle one on the right-hand side?
13   article in front of you.                          13       Q. Correct.
14           I want to ask a specific                  14       A. I don't think it quite meets up
15   question, which is, would you agree with me       15   the continuously move the unlock image.
16   that the Plaisant article discloses an image      16   Because, for example, it could press down the
17   which is moved from a predefined location on      17   right-hand side, where it says off, and right
18   the touchscreen to another predefined region      18   at the tip of that, press down, and my motion
19   in order to change the state of the device?       19   will be a downward press, and it would
20       A. It did move an image from one              20   still -- it would toggle, and that would not
21   location to another location in order to          21   meet the moving of the unlock image in
22   change some -- the state of some device, but      22   accordance with the movement of the detected
23   not necessarily a portable electronic device      23   content. So not getting the continuous
24   comprising all these things that the claim        24   sliding motion.
25   requires.                                         25            So I think there are differences


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                                            Page 222                                              Page 223
 1       Q. You didn't call her up as you saw           1   would be, because her testimony would now be
 2   her work being cited in the '721 patent?           2   20, 20-something years post the publication.
 3       A. No.                                         3   So there's a lot of hindsight. And I think a
 4       Q. Do you think it would be helpful            4   lot of people invent things and then assume
 5   to talk to her about her work in                   5   that it would apply to all kinds of future
 6   understanding what she was doing at the time?      6   things.
 7       A. It might be --                              7           In hindsight, she might think it
 8           MR. LYON: Objection. Calls for             8   is relevant to the '721. But I don't think
 9       speculation.                                   9   she would be able to say with certainty
10       A. I am not sure if I am even                 10   whether in 1992 that they contemplated doing
11   allowed to do that, now that these things are     11   a portable phone that way. Maybe she has
12   prior art. I need legal advice as to what         12   documents to that which could be produced.
13   was allowed and not allowed.                      13       Q. Sir --
14       Q. I am just saying, as an expert in          14       A. I am not sure it is all that
15   this investigation, do you think her              15   necessarily relevant.
16   testimony about what she did with respect to      16       Q. Sir, you do understand that the
17   her toggle switch work would be relevant to       17   relevant time period for assessing the
18   your analysis?                                    18   validity of the '721 patent is 2005?
19           MR. LYON: Objections. Calls               19       A. Yes, of course. But the article
20       for a legal conclusion. Calls for             20   is in 1992.
21       speculation.                                  21       Q. You also understand as an expert
22       Q. With regard to the validity of             22   that you are to consider all relevant prior
23   the '721 patent?                                  23   art leading up to the priority date of the
24           MR. LYON: Same objections.                24   patent?
25       A. I am not, actually not sure it             25       A. Yes.
                                            Page 224                                              Page 225
 1       Q. You also understand it is                   1   analysis that you set forth in the Elan
 2   possible to combine prior art references from      2   litigation?
 3   different time periods to assess whether a         3       A. No. Not at all.
 4   particular patent claim is valid or not?           4       Q. How about in any of your other
 5           MR. LYON: Objection. Lacks                 5   prior cases?
 6       foundation.                                    6       A. No.
 7       Q. Fair?                                       7       Q. In the claims of the '721 patent,
 8       A. For obviousness, yes. But not               8   there is the phrase "in accordance with." Do
 9   anticipation.                                      9   you see that?
10       Q. In fact, in prior cases, you have          10       A. Yes.
11   done a similar analysis of different prior        11       Q. What does that phrase mean to
12   art references from different time periods to     12   you?
13   form opinions that a particular patent claim      13       A. In the context of this patent,
14   was invalid?                                      14   the claims and the spec, it would be where
15       A. Due to obviousness, yes.                   15   the movement tracks -- the movement of the
16       Q. In fact, you did that in the Elan          16   image would track the movement of the -- of
17   litigation, correct?                              17   the detected content.
18       A. Probably did, but I have to                18       Q. Do you believe that a fling
19   double-check. It's been a while since I           19   animation for unlocking a device would be
20   wrote that report.                                20   covered by claim seven and 12 of the '721
21       Q. You recall providing invalidity            21   patent?
22   opinions in that case, correct?                   22           MR. LYON: Objection. Vague and
23       A. Yes.                                       23       incomplete hypothetical.
24       Q. Sitting here today, do you have            24       A. So you are saying just -- are you
25   any reason to disavow the opinions and            25   talking about a particular limitation or the


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                                           Page 226                                              Page 227
 1   whole claim?                                      1           MR. LYON: Same objections.
 2       Q. Talking about the whole claim,             2       A. That would be the same answer.
 3   and with the understanding that in order to       3       Q. I will give you a more specific
 4   practice the claim, you have to meet each and     4   scenario. If I had a device where the user
 5   every limitation.                                 5   first dragged the unlock image for a short
 6           MR. LYON: Same objections.                6   distance, but then flung that image towards a
 7       A. So if I -- in the hypothetical,            7   predefined unlock region on that device
 8   if I flung, if I picked up the -- if I            8   touchscreen, do you believe that such a
 9   touched the unlock image and flung it to the      9   device would satisfy claim seven and 12 of
10   predefined unlock region, it would not           10   the '721 patent?
11   necessarily meet this -- I guess the             11           MR. LYON: Same objections.
12   second-to-last limitation of claim seven,        12       A. I have already answered that, and
13   which says, "in accordance with movement of      13   the answer is, to meet the claim, you would
14   the detected contact while continuous contact    14   have to have this continuous contact.
15   with the touch-sensitive display is              15       Q. That continuous contact -- go
16   maintained."                                     16   ahead.
17           So the part -- if the image              17       A. Sorry, I am just thinking through
18   continues to move and there's no longer          18   this thing here.
19   continuous contact with the touch-sensitive      19           As long as the continuous contact
20   display, then that part would not be met,        20   is maintained until the image is moved to the
21   so -- but if I had -- if the image continued     21   predefined unlock region, that could still
22   to move and my finger remained down, some        22   meet the claim. If the image continued to
23   other implementation of the fling, that might    23   move after that, it doesn't really matter.
24   well still meet the claim foundation.            24       Q. But if the continuous contact was
25       Q. How about claim 12?                       25   not maintained all the way to the point where
                                           Page 228                                              Page 229
 1   the image reaches the predefined unlock           1       answered.
 2   region, such a device would not meet the          2       A. To move it continuously. To move
 3   limitations of claim seven and 12, fair?          3   it not in a discrete fashion.
 4           MR. LYON: Same objections.                4       Q. And what is your understanding of
 5       A. Reading this again, I just want            5   while in the context of that?
 6   to be careful, because I haven't done that        6       A. The movement occurs as long as I
 7   level of contortion on the language. It says      7   have continuous contact with the display.
 8   here, "to continuously move the unlock image      8       Q. Besides the Samsung Nexus phone,
 9   of the touch-sensitive display in accordance      9   have you studied other phones with respect to
10   with movement of the detected contact while      10   the '721 patent?
11   continuous contact with the touch-sensitive      11       A. I don't believe I have
12   display is maintained."                          12   specifically.
13           So as long as I have maintained          13       Q. Now, if you can bring out the
14   contact and moved the unlock image in            14   '721 patent, and also, I believe there is an
15   accordance with that. In many ways, it is        15   earlier '864.
16   silent about what happens when I lift my         16       A. '849?
17   finger, so it may well be if you study this      17       Q. 849.
18   carefully, should the image continue to move,    18       A. What do you want me to do?
19   it would not necessarily not meet the claims.    19       Q. If you can bring those two
20       Q. What do you -- what is your               20   patents out.
21   understanding of the word "continuous" --        21       A. I have them here.
22           MR. LYON: Objection.                     22       Q. You understand that these two
23       Q. -- movement in the context of the         23   patents are related?
24   finger?                                          24       A. That's right. I believe the '849
25           MR. LYON: Objection. Asked and           25   is the earlier incarnation of the patent, of


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                                            Page 234                                                Page 235
 1   are asking?                                        1           MR. LYON: Objection. Lacks
 2       Q. Do you see that?                            2       foundation.
 3       A. Of the '849?                                3       A. Just by reading the claim
 4       Q. '849.                                       4   language, that appears to be the case, yes.
 5       A. Sorry.                                      5       Q. And you understand that the '849
 6           MR. LYON: Objection. Lacks                 6   patent shares the same specification or
 7       foundation.                                    7   substantially the same specification as the
 8       A. Just from looking at the claim              8   '721?
 9   language alone, I haven't contrasted it with       9       A. I haven't done a word-for-word
10   all of the spec of the '849, it says an           10   comparison, but "substantially" is a
11   electronic device. It doesn't explicitly say      11   reasonable characterization.
12   handheld in claim one of the '849, or the         12       Q. You understand that the '721 is a
13   claim language.                                   13   continuation application of the '849 patent?
14       Q. The other claims, for example,             14       A. I am not sure what the legal
15   claim 12, that requires a portable electronic     15   definition is, but I believe, yes, it
16   device, correct?                                  16   continues.
17       A. In the '849?                               17       Q. Do you believe that the
18       Q. Yes.                                       18   specification of the '721 and the '849
19       A. Yes, in the claim language.                19   patents discuss the idea of using this unlock
20       Q. Thank you.                                 20   sliding gesture on devices other than
21           So looking at claim one of the            21   portable electronic devices?
22   '849 patent, since the claim language is not      22           MR. LYON: Objection. Vague.
23   limited to a portable electronic device, you      23       A. I have to go through the '721
24   would agree with me other types of electronic     24   carefully to answer that question. In
25   devices could practice claim one?                 25   general, I believe it contemplates an
                                            Page 236                                                Page 237
 1   electronic device in general. For example,         1      A. Yes.
 2   the abstract says a device, it doesn't say         2      Q. Sitting here today, do you have
 3   necessarily a portable electronic device.          3   any reason to challenge the combination of
 4       Q. Do you recall opining in other              4   Plaisant's paper and video with the Neonode
 5   cases that it would have been obvious to one       5   manual and video for purposes of determining
 6   of ordinary skill in the art to take               6   the validity of the '721 patent?
 7   teachings about gestures in the context -- in      7          MR. LYON: Counsel, I am going,
 8   the context of touch table systems and apply       8      again, to make an objection, because
 9   it to understand the validity of claims in         9      this again goes exactly to the
10   the context of portable devices?                  10      interrogatory we asked Samsung. You
11       A. I don't recall the specifics.              11      clearly had this combination in mind,
12   But in general terms, I probably have done        12      and you're now asking him to opine on
13   that, yes.                                        13      something that you refused to provide
14       Q. And do you recall stating that             14      to us as part of discovery.
15   one of ordinary skill in the art, generally,      15          And so, that is not appropriate
16   in the 2003 to 2007 time period, would have       16      and you're taking -- this is total
17   considered prior art in the area of               17      gamesmanship at this point.
18   non-portable devices in understanding the         18          I object to lack of foundation.
19   validity of patent claims directed towards        19      He hasn't had time to consider this
20   portable devices with respect to gestures?        20      until just today when you presented it
21           MR. LYON: Objection. Vague.               21      to him. That's not sufficient.
22       A. So the question is whether I have          22          MR. PAK: Objection noted.
23   opined that that is a relevant prior art? I       23          I will also note on the record
24   think the answer is yes.                          24      that Dr. Balakrishnan specifically
25       Q. And you stand by that opinion?             25      stated on the record that he did


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 1       consider the Neonode device manual and         1   consider with respect to these two prior
 2       Dr. Plaisant's paper in forming his            2   references?
 3       validity opinions stated in his                3       A. I think they illuminated the two
 4       Declaration.                                   4   prior art references, yes.
 5           But I understand your objection.           5       Q. Beyond what is stated in the
 6       Q. So with that, I want to                     6   manual and the paper alone?
 7   understand from you, sitting here today,           7          MR. LYON: Objection. Vague.
 8   whether you have any basis to challenge the        8       A. I am not sure it is beyond. But
 9   combination of Dr. Plaisant's work and the         9   certainly provided clarifications and
10   Neonode device in assessing the validity of       10   illuminations.
11   the '721 patent claims?                           11       Q. We discussed at least a few
12       A. So I would really have to think            12   points where you were not clear on a
13   about that more carefully, because I had not      13   particular issue based on reading the paper
14   looked at the video of the Neonode or the         14   alone, yet it became clearer to you after you
15   video of Dr. Plaisant's toggle switch work        15   saw the video?
16   prior to arriving at this deposition.             16       A. Yes, we have already gone through
17           And I think that informs somewhat         17   that.
18   these two references that I did consider,         18       Q. How much work did you do in
19   which is the published article and the            19   forming your validity opinions set forth in
20   Neonode user guide. So I don't think I can        20   your Declaration?
21   answer that with any level of certainty just      21          MR. LYON: Objection. Asked and
22   sitting here without giving it considerable       22       answered.
23   extra thought.                                    23       A. I don't know how to quantify
24       Q. Fair to say that the video has             24   that. Certainly looked at the patent.
25   added some additional content for you to          25   Looked at the prior art we already talked
                                            Page 240                                                Page 241
 1   about. And given the presumption of                1   besides your own Declaration?
 2   validity, there were no assertions of              2       A. For this particular case? I
 3   invalidity that I was aware of provided by         3   don't think so.
 4   Samsung or another expert to rebut per se.         4       Q. Did you speak to any Apple
 5           So I haven't considered all the            5   employees with respect to the preliminary
 6   possible invalidity assertions that might          6   injunction motion? And I am setting aside
 7   come up, some of which I think you have            7   any privileged communications that you may
 8   asserted here today. So I haven't had that         8   have had with counsel. In-house counsel as
 9   chance to do a thorough validity analysis in       9   well.
10   rebuttal.                                         10           MR. LYON: To the extent you
11       Q. That's fair. That's really what            11       spoke with any technical engineers or
12   I am getting at. Because I did notice a           12       anything like that, I think that's
13   paragraph or two about your validity opinions     13       what he is asking for.
14   in your Declaration. But I think the record       14       A. Not in relation to this
15   is clear that you have not done a thorough        15   particular case, no. I have spoken with
16   investigation on that issue at this point.        16   other engineers in relation to other
17           MR. LYON: Objection. Vague.               17   Apple-Samsung matters that I'm also involved
18       Mischaracterizes the testimony.               18   in.
19       A. I have not done the full-blown             19       Q. Fair to say that you're not
20   investigation, and I reserve the right to do      20   relying on any discussions with technical or
21   that in response to assertions made by            21   marketing employees of Apple as a basis for
22   Samsung.                                          22   your opinions in this preliminary injunction
23       Q. Dr. Balakrishnan, have you                 23   issue?
24   considered any other declarations of other        24       A. That is correct.
25   witnesses in the context of this PI motion        25       Q. Have you been provided with any


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 1   marketing materials relating to the subject       1   analysis in the way I would define a thorough
 2   matter of the '721 patent from Apple?             2   analysis, but I think I have seen web
 3       A. The reason I am pausing is                 3   postings and so forth, and we have talked
 4   because I am involved in some of the other        4   about different features of the interface of
 5   cases where such material has been provided.      5   the iPhone, and I believe the toggle has been
 6   But I don't believe it's been provided in         6   mentioned as part of that overall suite of
 7   this case.                                        7   what makes the iPhone interface great. So
 8       Q. Again, I know you are involved in          8   I've definitely seen that.
 9   quite a few lawsuits. So just to be clear on      9       Q. My question is different. My
10   the record, when I am asking these questions,    10   question is, have you seen any analysis on
11   I am asking them with the purpose of this        11   whether changing the unlocking gesture would
12   preliminary injunction motion in mind.           12   have any impact on the sales of the iPhone?
13       A. The reason I am pausing is                13       A. I have not seen such specific
14   because I am seeing lots of documents in a       14   analysis, no.
15   lot of cases. I want to be clear in my own       15       Q. Have you formed any opinions on
16   mind what I have seen.                           16   whether changing the unlocking gesture would
17       Q. You haven't seen any usability            17   have any impact on the sales of the iPhone?
18   studies from Apple regarding the specific        18       A. In general, I would say that is
19   unlocking gesture described in the '721          19   one part. The unlock, slide to unlock
20   patent, correct?                                 20   feature is one part of the overall iPhone
21       A. That's correct.                           21   user experience. I think if you change that,
22       Q. Have you seen any analysis on             22   you would probably see some degradation of
23   whether changing the unlocking gesture would     23   the user experience, and my understanding is
24   have any impact on the sales of the iPhone?      24   the user experience is a large part of why
25       A. I am not sure I have seen                 25   people like the iPhone. So therefore, it
                                           Page 244                                             Page 245
 1   could impact sales.                               1      Q. Unlock image on the sales of the
 2       Q. Have you done a detailed analysis          2   iPhone?
 3   on that issue other than the general comments     3      A. Not that specific issue, no.
 4   you have provided?                                4      Q. In fact, it is fair to say you
 5       A. I have not done a detailed                 5   have not analyzed all the potentially
 6   analysis.                                         6   non-infringing designs to determine whether
 7       Q. For example, have you researched           7   those designs would be commercially
 8   the issue of whether not moving an unlock         8   acceptable or not?
 9   image would have a material impact on the         9           MR. LYON: Objection. Vague.
10   sales of the iPhone?                             10      Lacks foundation.
11       A. I have not done a detailed                11      A. I have not analyzed all the
12   analysis on that particular issue.               12   potentially non-infringing designs.
13       Q. Have you analyzed the impact of           13      Q. You don't have any opinions on
14   providing other types of visual feedback to      14   that issue sitting here today?
15   the user other than moving the unlock image,     15      A. Not right now, because I haven't
16   would have a material impact on the sales of     16   done that analysis. Beyond my general
17   the iPhone?                                      17   statement, again, of the overall usability of
18       A. I have not done that analysis.            18   the iPhone, the unlock, slide to unlock being
19   But beyond, again, my general statement that     19   part of that overall suite.
20   I think this is one part of the overall good     20      Q. Have you done any analysis of the
21   user experience that the iPhone provides.        21   impact of the specific unlocking mechanism
22       Q. Have you analyzed the impact of           22   used in the Samsung Galaxy Nexus phone on the
23   providing motion that is not continuous with     23   sales of that phone?
24   respect to the unlock image --                   24      A. Not on the sales.
25       A. With the unlock -- I'm sorry.             25      Q. Do you have any opinions in that


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                                           Page 274                                           Page 275
 1                                                     1         EXHIBITS
 2     Q.   Thank you for your time, Doctor.           2
 3     A.   Thank you.                                 3   DEFENDANT'S EXHIBITS:
 4        MR. LYON: Thank you.                         4
 5        THE VIDEOGRAPHER: The time is
 6     5:37; we are going off the record.
                                                       5   EXHIBIT EXHIBIT                   PAGE
 7        (Whereupon, at 5:37 p.m., the                6   NUMBER   DESCRIPTION
 8     Examination of this Witness was                 7
 9     concluded.)                                     8   Exhibit 1 Dr. Balakrishnan's CV         6
10                                                     9   Exhibit 2 '721 patent             22
11                                                    10   Exhibit 3 '849 patent             23
12       __________________________                   11   Exhibit 4 European Patent            38
            RAVIN BALAKRISHNAN                        12          EP 1964022 B1
13
     Subscribed and sworn to before me
                                                      13   Exhibit 5 Declaration of           41
14   this _____ day of ________, 2012.                14          Dr. Balakrishnan
15   __________________________                       15   Exhibit 6 Neonode N1 Guide             154
        NOTARY PUBLIC                                 16   Exhibit 7 Video of Neonode            161
16                                                    17   Exhibit 8 1990 paper by Plaisant and 171
17                                                    18          Wallace
18                                                    19   Exhibit 9 Document with Bates 667-668 171
19                                                    20   Exhibit 10 Plaisant video          197
20
21
                                                      21   Exhibit 11 Article entitled "Multi- 256
22                                                    22          Finger and Whole Hand
23                                                    23          Gestural Interaction
24                                                    24          Techniques for Multi-User
25                                                    25          Table-Top Displays"
                                           Page 276                                           Page 277
 1                                                     1          INDEX
 2                                                     2
 3   EXHIBIT EXHIBIT                     PAGE          3   EXAMINATION BY             PAGE
 4   NUMBER DESCRIPTION                                4
 5                                                     5   MR. KANG               5
 6   Exhibit 12 Article entitled "The    257           6   MR. PAK              45
 7          PadMouse: Facilitating                     7
 8          Selection and Spatial                      8
 9          Positioning for the                        9
10          Non-Dominant Hand"                        10
11                                                    11    INFORMATION AND/OR DOCUMENTS REQUESTED
12                                                    12
13                                                    13   INFORMATION AND/OR DOCUMENTS        PAGE
14                                                    14
15                                                    15          (None)
16                                                    16
17                                                    17
18                                                    18
19                                                    19      QUESTIONS MARKED FOR RULINGS
20                                                    20
21                                                    21         PAGE    LINE
22                                                    22          (None)
23                                                    23
24                                                    24
25                                                    25



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                                                                                   Page 278
 1                C E R TI F I CAT E
 2
                                                                                              I
 3   STATE OF NEW YORK
                                  SS. :
 4   COUNTY OF NASSAU
 5

 6             I, REBECCA SCHAUMLOFFEL, a Notary
 7   Public for and within the State of New York,
 8   do hereby certify:
 9             That the witness whose examination
10   is hereinbefore set forth was duly sworn and
11   that such examination is a true record of the
12   testimony given by that witness.
13             I further certify that I am not
14   related to any of the parties to this action
15   by blood or by marriage and that I am in no
16   way interested in the outcome of this matter.
17             IN WITNESS WHEREOF, I have hereunto
18   set my hand this 6th day of April, 2012.
19                   "LL////h     JA~
20                   REBECCA SCHAUMLOFFEL
21

22

23

24

25



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          EXHIBIT G
      FILED UNDER SEAL
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          EXHIBIT H
      FILED UNDER SEAL
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           EXHIBIT I
      FILED UNDER SEAL
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          EXHIBIT J
      FILED UNDER SEAL
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          EXHIBIT K
      FILED UNDER SEAL
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          EXHIBIT L
      FILED UNDER SEAL
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          EXHIBIT M
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                     EXHIBIT N
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                                                                          Page 1
 1    NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 2               CASE NO. 12-CV-00630-LHK
 3    -----------------------------------------)
      APPLE INC., a California corporation,    )
 4                                             )
                     Plaintiff,                )
 5                                             )
                 vs.                           )
 6                                             )
      SAMSUNG ELECTRONICS CO., LTD., a         )
 7    Korean business entity; SAMSUNG          )
      ELECTRONICS AMERICA, INC., a New         )
 8    York corporation; SAMSUNG                )
      TELECOMMUNICATIONS AMERICA, LLC, a       )
 9    Delaware limited liability company,      )
                                               )
10                   Defendants.               )
      -----------------------------------------)
11
12
13
14           VIDEOTAPED DEPOSITION OF TODD MOWRY
15                    New York, New York
16                      April 4, 2012
17
18
19
20
21    Reported by:
22    KATHY S. KLEPFER, RMR, RPR, CRR, CLR
23    JOB NO. 47972
24
25


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 1         April 4, 2012                              1         A P P E A R A N C E S:
 2                                                    2
 3      VIDEOTAPED deposition of TODD                 3   GIBSON DUNN & CRUTCHER
 4   MOWRY, held at Quinn Emanuel Urquhart &          4   Attorneys for Plaintiff
 5   Sullivan, LLP, 51 Madison Avenue, New York,      5      2100 McKinney Avenue
 6   New York, before Kathy S. Klepfer, a Registered 6       Dallas, Texas 75201
 7   Professional Reporter, Registered Merit          7   BY: MARK REITER, ESQ.
 8   Reporter, Certified Realtime Reporter,           8      ROBERT A. VINCENT, ESQ.
 9   Certified Livenote Reporter, and Notary          9
10   Public of the State of New York.                10   QUINN EMANUEL URQUHART & SULLIVAN
11                                                   11   Attorneys for Defendants
12                                                   12      51 Madison Avenue
13                                                   13      New York, New York 10010
14                                                   14   BY: ANASTASIA M. FERNANDS, ESQ.
15                                                   15
16                                                   16
17                                                   17   ALSO PRESENT:
18                                                   18     MICHAEL PINEIRO, Videographer
19                                                   19
20                                                   20
21                                                   21
22                                                   22
23                                                   23
24                                                   24
25                                                   25
                                            Page 4                                              Page 5
 1                                                    1       THE VIDEOGRAPHER: This is the start
 2       IT IS HEREBY STIPULATED AND                  2   of tape labeled number 1 in the videotaped
 3   AGREED, by and between the attorneys for         3   deposition of Dr. Todd Mowry in the matter
 4   the respective parties herein, that the          4   Apple, Inc. versus Samsung Electronics
 5   filing and sealing be and the same are           5   Company Limited.
 6   hereby waived.                                   6       Today is April 4, 2012. The time is
 7       IT IS FURTHER STIPULATED AND                 7   approximately 10:08 A.M. Appearances have
 8   AGREED that all objections, except as to         8   already been noted by the court reporter.
 9   the form of the question, shall be               9       Will the court reporter please swear
10   reserved to the time of the trial.              10   in the witness.
11       IT IS FURTHER STIPULATED AND                11              ***
12   AGREED that the within deposition may be        12       (Witness sworn.)
13   sworn to and signed before any officer          13       MS. FERNANDS: Before we start, I
14   authorized to administer an oath, with          14   would like to state on the record that a
15   the same force and effect as if signed          15   colleague and partner at this firm, Rich
16   and sworn to before the Court.                  16   Erwine, had requested to sit in on this
17                                                   17   deposition which is based on a publicly
18                                                   18   filed declaration and was told -- we were
19                                                   19   told by counsel for Apple that they would
20                                                   20   leave with the witness if Mr. Erwine stayed,
21                                                   21   so Mr. Erwine has left.
22                                                   22       MR. REITER: And in response to that,
23                                                   23   I want the record to be clear that Mr.
24                                                   24   Erwine is a -- is counsel for Motorola, not
25                                                   25   counsel for Samsung. I asked Mr. Erwine if

                                                                                                         2
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 1   for performing the action, including the action     1   interface presents a description of a candidate
 2   processor, the existence of the action processor    2   action and there has to be a complete mechanism
 3   and the fact that it has to perform the action      3   in place such that that is what will occur, and
 4   on the detected structure.                          4   included in that is exercising the action
 5           So there are some important mechanisms      5   processor with the detected structure.
 6   along the way that are needed in order for it to    6      Q. Let's go back to the term "specified
 7   be considered to be proper associating in the       7   connection." I believe you said that -- is it
 8   context of the '647 patent. If those mechanisms     8   the case that you believe "specified connection"
 9   didn't exist, then it would not necessarily be      9   is no different than "associating" for purposes
10   proper linking in the context of a patent.         10   of the claimed construction from the Northern
11      Q. What are those important mechanisms?         11   District of Illinois?
12      A. There has to be an action processor          12      A. In my own mind, I think that
13   and it has to operate on the detected structure.   13   associating and a specified connection can mean
14      Q. And if there are both an action              14   the same thing. It's my opinion that they
15   processor and the -- I'm sorry, when you say "it   15   can -- that there's -- they're not necessarily
16   has to operate on the detected structure,"         16   incompatible.
17   that's the action processor?                       17      Q. Do they necessarily mean the same
18      A. The action processor, yes, that's            18   thing?
19   right.                                             19      A. I don't know what Motorola has in mind
20      Q. If there's an action processor that          20   exactly when they chose those terms, so I -- I
21   operates on the detected structure in my           21   don't know whether it's the same as associating
22   scenario, is it then linked, in your opinion,      22   or not, in their opinion.
23   for purposes of the '647 patent?                   23      Q. If a specified connection is no
24      A. I think that's oversimplifying things.       24   different than associating, why do you disagree
25   There's a -- the description of the user           25   with the claim construction for linking actions
                                             Page 72                                                 Page 73
 1   to the detected structure that Motorola             1   words interchangeably in the patent
 2   proposed?                                           2   specification. They did not include a glossary
 3      A. I think that "associating" is a better        3   and say, for example, the definition of
 4   term. It's a term that's used in the patent         4   "linking" is that it is associating, but they
 5   itself.                                             5   used the words interchangeably. There are many
 6      Q. And we've discussed that it doesn't --        6   examples of that in the patent specification.
 7   that for a term to be appropriate for claim         7      Q. Now, for the construction of linking
 8   construction, it doesn't necessarily have to        8   actions to the detected structures from the
 9   appear in the patent itself, correct?               9   Northern District of Illinois, part of it is
10      A. That's correct, but I think that             10   creating a specified connection, then it says
11   "associating" is -- is a good term to use. It,     11   "between each detected structure and at least
12   in fact, it was used synonymously with "linking"   12   one computer subroutine. Do you see that?
13   in the patent specification.                       13      A. Yes.
14      Q. Outside of the context of the '647           14      Q. And what is your understanding of --
15   patent, is "linking" synonymous with               15   "and at least one computer subroutine that
16   "associating" in computer science?                 16   causes a CPU to perform a sequence of
17           MR. REITER: Objection. Vague.              17   operations," that's the action, correct?
18      A. Speaking broadly, the terms "linking"        18      A. I just want to make sure that I caught
19   and "associating" can both mean many different     19   your entire question. The "at least one
20   things. So I wouldn't say that for all people      20   computer subroutine that causes the CPU to
21   they would be synonyms.                            21   perform a sequence of operations on the detected
22      Q. Is it your opinion that the patentees        22   structures," that's the action, yes.
23   in the '647 patent defined "linking" as            23      Q. That's the action, okay. I was just
24   associating?                                       24   trying to come up with a way to make this
25      A. It's my opinion that they used the           25   question shorter.


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 1   only opining as to the Galaxy Nexus?                1   version of the browser, and I confirmed that the
 2      A. That's what I wrote here in paragraph         2   behavior that I observed with the user interface
 3   21. I mean, the analysis that I did would be        3   of the phone with -- and with the debugging
 4   equally valid for another phone running the same    4   logs, that that was consistent with the software
 5   version of the software, but I have not -- I        5   that I analyzed.
 6   have not provided analysis of other phones.         6      Q. You said you used the "debug logging
 7      Q. Can you describe for me what you did          7   feature to look at the debugging traces and in
 8   for your infringement analysis of the Galaxy        8   order to confirm that the standard open source
 9   Nexus?                                              9   version of the browser application was used"; is
10      A. Yes. I examined the phone itself. I          10   that correct?
11   operated various applications on the phone,        11      A. I said that that was one of several
12   including the browser. I also looked at the,       12   things that I did. That's -- that was one of
13   using the control panel, I inspected the phone     13   the things, correct.
14   to see what version of the Android operating       14      Q. And how, by using the debugging
15   system it was running and also which version of    15   traces, how are you able to confirm that the
16   applications it was running, including the         16   standard open source version is being used?
17   browser, and I also turned on the debug logging    17      A. Well, you can't do it with that alone.
18   feature and connected it to, through USB cable,    18   You have to actually understand -- you have to
19   to my computer so that I could look at the         19   first have -- understand at a fairly deep level
20   debugging traces of the phone to confirm that it   20   how the code works, but what is included in
21   is running the standard open source version of     21   those logs is, when you turn on the verbose
22   the browser application, and I analyzed the        22   logging mode, you see information about lots of
23   browser software as well as the Android software   23   events that are occurring in the phone and many
24   involved with the '647 patent and for that         24   of them include the full path of the software
25   specific version of Android and that specific      25   that's executing.
                                             Page 80                                                 Page 81
 1          So, for example, you can see it -- the       1   called browser, and that's what I'm referring
 2   phone launching an activity and it will tell you    2   to.
 3   the full path of the application that it's          3      Q. And what version of the Android Web
 4   launching so you can see, for example, that it's    4   browser do you believe is being run on the
 5   launching the browser and you can see where the     5   Samsung Galaxy Nexus?
 6   browser is in the -- within the software            6      A. The one that I looked at, it was 4.1,
 7   structure and you can see other actions that        7   Android 4.1, I believe. I can look here to
 8   happened while the browser is running, and based    8   refresh my memory on that, but that's my
 9   on the context of understanding the open source     9   recollection.
10   code and seeing the version number and watching    10      Q. So this section with the heading that
11   the logging, you can confirm that it's -- that     11   the Web browser has already been found to
12   that's what you're seeing.                         12   infringe, in this section you discuss the HTC
13      Q. So on page 17 of your declaration?           13   710 investigation, correct?
14      A. Yes.                                         14      A. Correct.
15      Q. Under the heading Infringement?              15      Q. And you would agree that a different
16      A. Yes.                                         16   version of Android was running on the HTC
17      Q. First, there's a subheading that             17   accused devices than was running on the Galaxy
18   states, "The Web Browser On The Samsung Galaxy     18   Nexus, correct?
19   Nexus Has Already Been Found to Infringe the       19      A. It is a different version, that's
20   '647 Patent." Do you see that?                     20   correct. So what I did, I had done a detailed
21      A. Yes, I see that.                             21   analysis of the HT -- the version of Android
22      Q. What are you referring to as the Web         22   running on the HTC phones, it's an earlier
23   browser on the Samsung Galaxy Nexus?               23   version of Android, and I also did an identical
24      A. The Android system contains certain          24   analysis on the Android 4.0 version of browser
25   stock or standard applications. One of them is     25   and confirmed that, for the purposes of the '647

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 1   patent, that they were functionally the             1   but the Android Version 4.0 that's being accused
 2   identical. The only change, as I recall, is         2   in this cases was not actually found to infringe
 3   that there was a particular method that got         3   in the HTC investigation, correct?
 4   split apart into two parts where, in the new        4          MR. REITER: Objection. Vague.
 5   version of the code, one of them calls the other    5      A. The HTC investigation did not look at
 6   method, but functionally, it's the same.            6   Android 4.0, but the, from a functionality
 7      Q. The actual Web browser that's running         7   perspective, the browser in Android 4.0 is
 8   in the Samsung Galaxy Nexus was not in fact         8   functionally the same as the browser that was in
 9   found to infringe, was it?                          9   the HTC case, based on my comparison.
10          MR. REITER: Objection. Vague.               10      Q. There were -- only HTC devices were at
11      A. The --                                       11   issue in the HTC investigation, right?
12      Q. The Version 4.0 Web browser that you         12      A. Yes, that's correct.
13   analyzed in connection with the Galaxy Nexus was   13      Q. And the only device at issue for
14   not found to infringe in the HTC investigation,    14   purposes of this current declaration is the
15   correct?                                           15   Samsung Galaxy Nexus, correct?
16      A. The HTC investigation was looking at         16      A. That's correct.
17   the stock browser in Android for HTC phones. It    17      Q. Which is not an HTC device?
18   was for an earlier version of Android, so that's   18      A. That's correct.
19   why I did the comparison to make sure that all     19      Q. So in paragraph 54 of your declaration
20   of the relevant parts with respect to my           20   on page 18, you refer to stock Google Android
21   infringement analysis were the same for the 4.0,   21   applications?
22   for the 4.0 version, which is running on the       22      A. Yes.
23   Samsung phone.                                     23      Q. What do you mean by stock Android
24      Q. I understand that you compared the           24   applications?
25   Android versions being run by HTC with the 4.0,    25      A. There are -- the open source
                                             Page 84                                                 Page 85
 1   distribution of Android includes a number of        1      Q. Was your opinion of infringement as to
 2   applications under the packages subdirectory.       2   HT -- with respect to HTC devices limited to the
 3   There are more than a dozen of them, I believe,     3   browser functionality?
 4   and one of them is the browser. So that's --        4      A. No, it was not limited. The browser
 5   that's what I was referring to as these are the     5   was not the only piece of functionality in that
 6   open source applications as opposed to a            6   investigation.
 7   custom-built application.                           7      Q. And were pieces of functionality that
 8      Q. And how do you know -- in the HTC             8   were accused, without disclosing anything
 9   investigation, assuming that you won't be           9   confidential, were pieces of functionality that
10   disclosing any confidential information, was the   10   were accused in HTC proprietary to HTC?
11   stock browser application at issue?                11      A. I'm not a hundred percent sure whether
12      A. Yes, it was.                                 12   answering that question is consistent with the
13      Q. Was it only what you refer to as the         13   confidentiality agreement in that case, but I --
14   stock browser application or were there other      14   I'm happy to answer it if it's not a problem.
15   elements that you analyzed in connection with      15      Q. I would defer to your counsel. All
16   the '647 patent with respect to infringement?      16   I'm looking for is a yes or no, whether it was
17          MR. REITER: In the HTC case or this?        17   all based on public information or not.
18          MS. FERNANDS: In the HTC case.              18          MR. REITER: Well, I wasn't involved
19      A. Are you limiting your question to the        19      in that case. I'm not under the Protective
20   browser? I'm not sure.                             20      Order in that case. So I have no idea.
21      Q. No, I'm not limiting my question to          21          MS. FERNANDS: Whether or not he can
22   the browser. When you -- you opined in the HTC     22      even answer that question under the
23   case that HTC devices infringed the '647 patent,   23      Protective Order?
24   correct?                                           24          MR. REITER: Yes. Right. Right.
25      A. Yes, that's correct.                         25          MS. FERNANDS: Okay.

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 1          MR. REITER: So it's probably safe,           1   comfortable with them, then, you know, I
 2      I'm not instructing you not to answer, I'm       2   understand the position that you're taking.
 3      just saying to use your best judgment as to      3      A. Well, I believe that a redacted
 4      whether or not you can or cannot.                4   version of the minutes from the trial is
 5   BY MS. FERNANDS:                                    5   available, so to the extent that there's
 6      Q. So let's go back to my -- your                6   information that's in the public version,
 7   analysis in HTC was not limited to the browser?     7   presumably that's within bounds, but I don't
 8      A. That's correct, it was not -- it was          8   know whether I can answer that question within
 9   not limited to the browser.                         9   bounds of the Protective Order or not.
10      Q. Was your analysis in HTC limited to          10      Q. Okay. Well, let's move on from that
11   the publicly available Google source code, the     11   and just address this -- perhaps at the lunch
12   open source?                                       12   break I'll see whether we can figure that out.
13      A. Again, I don't know -- I haven't             13          So in paragraph -- I've lost --
14   spoken to the attorneys involved with that case.   14          MR. REITER: 54.
15   I'm not entirely sure whether answering that       15      Q. 54. Thank you.
16   question is consistent with the confidentiality    16          In paragraph 54, the last sentence of
17   agreement with that case, but I -- if I could      17   your declaration, you state that "the
18   get clarification on that, I -- I don't know       18   applications found to infringe previously are
19   what the boundaries are for the confidential --    19   identical in all relevant aspects to the version
20   what I'm allowed to discuss with respect to that   20   of the Web browser application (Browser) found
21   case.                                              21   in Android installed on the Galaxy Nexus." Do
22      Q. I don't either, not being involved in        22   you see that?
23   it. I can't -- I'm trying to ask questions that    23      A. Yes.
24   I couldn't imagine running afoul of any            24      Q. And is it your opinion that with
25   Confidentiality Order, but if you're not           25   respect to the browser information, that in the
                                             Page 88                                                 Page 89
 1   HTC accused devices and your analysis of the        1   identical to your analysis in the ITC 710
 2   Samsung Galaxy Nexus, that the -- that they're,     2   investigation of the browser application running
 3   for all relevant aspects, they're identical?        3   on HTC"?
 4       A. Yes, that's correct. I think that's          4       A. Yes.
 5   what that sentence says, yes.                       5       Q. Do you see that? And then, "because
 6       Q. And HTC, your analysis of HTC -- and         6   the differences between the version of the
 7   it's in paragraph 55 if you need to be              7   browser application in Android 4.0 (on the
 8   reminded --                                         8   Samsung Galaxy Nexus) and the version of the
 9       A. Right.                                       9   browser on Android 2.1 and 2.2 (on the accused
10       Q. -- is that running Android 2.1 or 2.2?      10   HTC Android phone) are insignificant with
11       A. Correct.                                    11   respect to the '647 patent," do you see that?
12       Q. So, in your opinion, for with respect       12       A. Yes.
13   to the browser, Android 2.1 and 2.2 is, in all     13       Q. And it's your opinion that, for
14   relevant aspects, nearly identical to Android      14   purposes of your analysis for the '647 patent,
15   4.0?                                               15   there is no substantial difference between 2.1
16       A. I went through -- yes. I went through       16   and 2.2 on the one hand and 4.0 that you
17   the code line-by-line more or less through the     17   analyzed here?
18   different -- all the relevant parts regarding      18       A. That's correct. As I go on to say in
19   the '647 patent to confirm that they were          19   that paragraph, the onCreateContextMenu got
20   identical from -- in terms of infringement in      20   split apart and into two parts, although the
21   the '647 patent.                                   21   combination of these two new parts has the same
22       Q. And in paragraph 56 you discuss this a      22   functionality as the original, and there was
23   little further where you state that your           23   some what we call refactoring, which just means
24   analysis of the Browser application running on     24   little tweaks and cleaning up things here and
25   the Samsung Galaxy Nexus phone is virtually        25   there, but none of those changes affected the

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 1   analysis for -- with respect to infringement of     1   small amount of tweaking of the code, the code
 2   the '647 patent. It changes some line numbers       2   analysis is the same, and applying appropriate
 3   and source code, but that's -- that's basically     3   claim construction, that's -- I believe that the
 4   it.                                                 4   infringement, my infringement opinions would
 5       Q. So, for purposes of your infringement        5   be -- are the same. That was definitely part of
 6   analysis, that the functionality in your opinion    6   my analysis, yes.
 7   of the 4.0 code that you reviewed was               7      Q. Now, the claim construction in HTC is
 8   essentially the same as the 2.2 and 2.1 code        8   the claim construction that we discussed earlier
 9   that you had previously reviewed?                   9   that you have on page 11 of your report,
10       A. Yes, that's correct.                        10   correct?
11       Q. And in fact, I think that if you look       11      A. Yes. From the 710 case, yes.
12   at the very end of paragraph 56 on page 19, in     12      Q. And you understand that infringement
13   your parenthetical you refer to the Galaxy Nexus   13   was found using that claim construction in HTC?
14   phone as "running essentially the same browser     14      A. Yes.
15   application on an updated version of Android."     15      Q. So if, for instance, a different claim
16   Is that correct?                                   16   construction were applied, then the same
17       A. Yes, that's right.                          17   infringement, the infringement analysis would be
18       Q. And for that reason, because of the         18   different, correct?
19   similarities with 2.1 and 2.2 which you had        19      A. It would depend on what the claim
20   previously analyzed in the ITC, it's one reason    20   construction was. So I would need to -- you
21   you believed that the 4. -- that use of the 4.0    21   know, I reserve the right to review for my
22   browser infringes; is that correct?                22   opinions based on whatever claim construction is
23       A. The same -- well, the -- that's one of      23   adopted, but I would be speculating to beyond
24   the reasons, yes. The same code analysis that I    24   that. However, the -- the final determination
25   had done, when updated appropriately given the     25   for the ITC case upheld the decisions here with
                                             Page 92                                                 Page 93
 1   respect to infringement for the HTC version of      1          But it was attached, this version was
 2   the browser, so that -- that was part of the        2   attached to the report -- the declaration
 3   context for my opinion.                             3   submitted in this case?
 4      Q. So -- it's bad when you can't even            4      A. I believe so.
 5   follow your own notes. My apologies for the         5      Q. And if you look at page 3, page 3
 6   delay.                                              6   jumps from there to page 71, do you see that?
 7          (Mowry Exhibit 5, Expert Report of Dr.       7      A. Yes.
 8      Todd C. Mowry Regarding Infringement and         8      Q. And it appears that all of the
 9      Domestic Industry For U.S. Patent No.            9   analysis of the HTC product has been redacted?
10      5,946,647, marked for identification, as of     10      A. I see that in -- I see that here, yes.
11      this date.)                                     11      Q. And so if you -- so there's only,
12   BY MS. FERNANDS:                                   12   beginning at page 71, there's a discussion of
13      Q. So you have just been handed what's          13   Apple's products and practices of the '647
14   marked as Mowry Exhibit 5.                         14   patent, correct?
15      A. Yes.                                         15      A. Yes.
16      Q. And this is a redacted version of your       16      Q. In analyzing the Android 2.1 and 2.2
17   report in, I believe, in the 710 investigation;    17   code for the HTC investigation, did you use the
18   is that correct?                                   18   open source version of the code?
19      A. That's what it appears to be, yes.           19      A. That was part of what I used, yes.
20      Q. And this was attached in redacted form       20      Q. Was your analysis for the browser
21   to your declaration in this case as Exhibit 13,    21   application limited to the open source version
22   correct?                                           22   of the code?
23      A. I believe so. I don't remember the           23      A. Yes, it was for the browser.
24   number exactly, but that sounds correct.           24      Q. There is no confidential HTC
25      Q. I believe I have that right, but...          25   information that you were relying on for your

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 1      A. Yes, that's correct.                          1      Q. And what did you do with respect to
 2      Q. And I will assume based on the                2   the actual Samsung Galaxy Nexus to confirm -- I
 3   extensive redaction that at least for some of       3   know you described your process, but for each
 4   those there was proprietary information             4   section of the code, how did you confirm that
 5   involved, but if you -- I don't know whether you    5   that code was being used on the Samsung Galaxy
 6   can even answer that in your understanding of       6   Nexus?
 7   the Protective Order.                               7      A. So, method-by-method, how did I
 8      A. I'm not sure whether I can answer that        8   confirm that it was on the Galaxy Nexus?
 9   or not. There's redaction, obviously, so...         9      Q. Well, let me ask you a better
10      Q. How did you select the portions of the       10   question. With respect to each section of the
11   publicly available open source code that you       11   source code that you obtained through the
12   relied on in connection with your opinion in       12   publicly available open source, for each section
13   this case?                                         13   did you do the same process to attempt to
14      A. Well, I followed the -- the                  14   determine whether that code was being used in
15   functionality. So I -- the browser itself          15   that form on the Galaxy Nexus?
16   calls, makes calls and accesses various parts of   16      A. I did it for an entire release of
17   the Android system, so I traced through the full   17   Android. So, in a particular version of
18   code path to see what was being called where and   18   Android, it comes with a set of corresponding
19   anything that was relevant to the '647 patent.     19   stock applications, and I analyzed the
20      Q. You say you traced through the code          20   functionality through wherever -- whichever part
21   path?                                              21   of the Android system it touched when it went
22      A. Yes.                                         22   through the software, and then through the
23      Q. When you traced through the code path,       23   combination of using the phone and observing how
24   that is in the open source version of the code?    24   it behaved -- and I think I forgot to mention
25      A. That's correct, yes.                         25   that before -- I, in addition to looking at the
                                            Page 100                                                Page 101
 1   version number on the phone, I interacted with      1   in data and performing actions on detected
 2   the phone and used the debug logging between all    2   structures." Do you see that?
 3   of that, and knowing what the code did, that was    3      A. Yes.
 4   how I confirmed that it was behaving as I           4      Q. Do you have an opinion as to whether
 5   expected it to behave.                              5   the preamble is limiting in the '647 patent?
 6           (Mowry Exhibit 7, a document with the       6      A. My opinion is it is not limiting.
 7       heading Infringement by Samsung Galaxy Nexus    7      Q. Why is that?
 8       of U.S. Patent No. 5,946,647, marked for        8      A. Well, the only part of the preamble
 9       identification, as of this date.)               9   that's distinct from the claim language after it
10   BY MS. FERNANDS:                                   10   is that it says that this is running on a
11       Q. You have just been handed what we           11   computer-based system and that the Galaxy Nexus
12   marked as Mowry Exhibit 7, claim chart with the    12   is a computer-based system that detects
13   title Infringement by Galaxy -- Samsung Galaxy     13   structures and data, performs actions on
14   Nexus of U.S. Patent No. 5,946,647. Do you         14   detected structures.
15   recognize this?                                    15      Q. Let's go back to your report, if you
16       A. Yes.                                        16   would. I'm sorry, your declaration, Mowry
17       Q. What is this?                               17   Exhibit 1, and let's look at the analyzer server
18       A. This is the claim chart that was            18   for detecting structures in the data and linking
19   attached as an appendix to my declaration, I       19   actions to detected structures element. It's on
20   believe, yes.                                      20   page 22 that it begins.
21       Q. So in the first row after the heading       21      A. Okay.
22   on the right-hand side, you state, "To the         22      Q. So, in paragraph 66, your last
23   extent that the preamble may be construed to be    23   sentence there, is it the case that in your
24   limiting, the Samsung Galaxy Nexus is a            24   opinion the element "analyzer server for
25   computer-based system for detecting structures     25   detected structures in the data and for linking


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 1   actions to the detected structures" is a single     1   hitTestResult of Web View class, setIntent of
 2   claim element?                                      2   the MenuItemImpl class and the things that they
 3      A. Yes, that's correct.                          3   call, of course.
 4      Q. And so the analyzer server must do            4      Q. Let's start with the ones in the
 5   both of those things, the detecting structures      5   detecting portion, FindPartialAddress,
 6   in the data and linking actions to the detected     6   FindPartialEMail, FindPartialNumber and
 7   structures?                                         7   isFocusableText, correct?
 8      A. Yes, the analyzer server must both            8      A. Yes.
 9   detect structures in the data and link actions      9      Q. And those are all methods of the
10   to the detected structures, that's correct.        10   CacheBuilder class, correct?
11      Q. In your opinion, what is the analyzer        11      A. Yes, that's correct.
12   server in the Samsung Galaxy Nexus?                12      Q. Would you describe each of those as
13      A. Well, there, as described in paragraph       13   separate subroutines?
14   67 and paragraph 70 and possibly 71, there are a   14      A. Well, they are -- they are all
15   number of things here. So for the -- I broke       15   connected to each other. IsFocusableText calls
16   this apart into both a detecting and the linking   16   FindPartialAddress, FindPartialEMail,
17   aspects of what the analyzer server does for --    17   FindPartialNumber. So, although they are
18   for detecting structures. It's the                 18   implemented as different components or different
19   FindPartialAddress, FindPartialEMail,              19   methods within this object, they are all part of
20   FindPartialNumber, and isFocusableText methods     20   the same coherent functionality.
21   of the CacheBuilder class, which is in Web Kit,    21      Q. Are different methods within the same
22   and the -- for the linking aspect, it is the       22   object typically referred to as different
23   onCreateContextMenu method in the Browser          23   subroutines?
24   Activity class, onCreateContext method of the      24      A. They're typically referred to as
25   Controller Class, getHitTestResult and             25   methods, so "subroutine" could be used to refer
                                           Page 104                                                 Page 105
 1   to a method. That's -- that's a possibility.        1       Q. Oh.
 2      Q. Now, in paragraph 70, you refer to the        2       A. But, yes, that's correct.
 3   onCreatContextMenu of the Browser Activity class    3       Q. Thank you. So, and are each of these,
 4   and then the onCreateContextMenu -- method --       4   the onCreateContextMenu, the getHitTestResult,
 5   sorry. Strike that one. OnCreateContextMenu         5   the hitTestResult and the MenuItemImpl
 6   method of Browser Activity class and                6   subroutines?
 7   onCreateContextMenu method of Controller Class,     7       A. They are all methods and one might
 8   correct?                                            8   refer to them as subroutines. They are all
 9      A. Yes.                                          9   related to each other because the onCreate --
10      Q. What is the difference between the           10   they all -- there's a -- when the code executes,
11   onCreateContextMenu method of Browser Activity     11   all of these methods get called all together.
12   class and onCreateContextMenu method of            12   So they're all again different components of the
13   Controller Class?                                  13   same functionality.
14      A. The difference is that onCreate -- the       14       Q. Are those methods -- could those
15   onCreateContextMenu method of the Browser class    15   methods also be referred to as separate
16   simply calls onCreateContextMenu of the            16   routines?
17   Controller Class. As I recall, that's all that     17       A. I wouldn't refer to them as separate
18   it does.                                           18   routines. I think that they are all -- they are
19      Q. And then there are also in paragraph         19   all -- well, routine and subroutine, it's -- the
20   70, you refer to the getHitResult and HitResult    20   more accurate term is "method." So "routine"
21   methods of the Web View class and the setIntent    21   sounds like something big, and to the extent
22   method of the MenuItemImpl class, correct?         22   that I would identify something as a routine, I
23      A. Yes, although the first one is               23   would say it would have to be the sum-total of
24   getHitTestResult. I think you said                 24   this functionality rather than picking off
25   getHitResult.                                      25   little parts of this and calling them routines.

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 1      Q. Why would you -- if you were to refer         1   "procedure" or "method."
 2   to something as a routine, why would it have to     2      Q. Have you ever known of "routine" and
 3   be the sum-total of the functionality?              3   "subroutine" being used interchangeably?
 4      A. Well, I was responding in the context         4      A. I can't think of -- to be honest,
 5   of you mentioning subroutine. So if                 5   people -- I don't encounter people using those
 6   subroutine -- if we -- these are not really very    6   terms terribly often, so I can't think of
 7   well-defined terms, to be honest, "routine" and     7   examples of people doing that.
 8   "subroutine."                                       8      Q. So the -- we were discussing earlier
 9          So, but to the extent that we're             9   that the analyzer server requires both detecting
10   discussing routine and subroutine in the same      10   structures and linking actions, right?
11   sentence, "subroutine" sounds like a part of a     11      A. That's correct, yes.
12   routine, and if I was going to interpret it that   12      Q. And how did the "methods" -- is that
13   way, then these, you know, this routine would be   13   the word that you would use?
14   a larger thing made up of smaller components.      14      A. Sure, methods.
15          If we're thinking of things that way,       15      Q. How did the methods that you have
16   then I would say the collection of all of these    16   identified accomplish the linking structure --
17   things is the larger coherent piece which has      17   detecting structures and linking actions?
18   different components in it.                        18      A. Sure. The detected structures is
19      Q. You said that routine and subroutine         19   performed by the -- that aspect of the
20   aren't particularly well-defined. Is it the        20   functionality is performed by the methods in
21   case that they're often used interchangeably by    21   paragraph 67. So isFocusableText is called
22   computer scientists?                               22   within the BuildFrame method inside a
23      A. I don't think that we're taught a            23   CacheBuilder and it then goes off and calls
24   clear definition of what routine and subroutine    24   FindPartialAddress, FindPartialEMail and
25   are. We more typically use terms like              25   FindPartialNumber.
                                            Page 108                                               Page 109
 1          Each of those does what we refer to as       1      Q. So what is setIntent?
 2   parsing to try to find, in this case, a mailing     2      A. SetIntent is a method within the
 3   address, an e-mail address or a phone number,       3   MenuItemImpl class, and by Menu Item, Android
 4   and it looks for -- that's where the detection      4   has a built-in mechanism for pop-up menus so
 5   occurs.                                             5   that if you press on part of the screen, it can
 6          And the -- regarding the linking, in         6   show you a pop-up menu and that pop-up menu is
 7   paragraph 70, onCreateContext method -- the         7   called a Context Menu. That's the name of the
 8   onCreateContextMenu method and                      8   class. And MenuItemImpl is a particular option
 9   onCreateContext -- there's an                       9   in the pop-up menu.
10   onCreateContextMenu method both in Browser         10           When you call setIntent, it takes a --
11   Activity and in Controller. The one in Browser     11   an Intent object, which has been created, which
12   Activity simply calls the one in Controller, and   12   contains, among other things, a copy of the
13   then the one in Controller is just the interface   13   detected structure, for example, a phone number
14   code that calls into -- it calls into              14   or an e-mail address, and it also describes
15   getHitTestResult to recognize whether something    15   the -- the action, for example, to open the
16   that has been long-pressed is indeed a detected    16   dialer or to open the e-mail composition window,
17   structure or not; and if it -- if it is, then it   17   and that gets stored with that particular choice
18   uses setIntent to take Intent objects that have    18   in the Context Menu such that if the user
19   been populated and attach them to individual       19   chooses that and presses on that option, the
20   options in a Context Menu. I believe that's        20   code will necessarily call a method called
21   described in more detail here in paragraph 71,     21   Invoke within -- within MenuItemImpl, which will
22   and then the Context Menu will be displayed to     22   then call startActivity and pass to it the
23   the user, and by virtue after setIntent is         23   Intent object as input, and that's what
24   called, it completes this process of linking the   24   performed the action.
25   actions to the detected structures.                25      Q. And you say that's what performs the


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 1   action, is that startActivity?                      1      A. They're implicit intents.
 2      A. StartActivity is the action processor,        2      Q. What's the difference between an
 3   that's correct.                                     3   implicit and explicit attempt -- strike that.
 4      Q. There was a lot built into that.              4   What is the difference between an implicit and
 5   Let's take it in some bites. First, what is an      5   explicit Intent?
 6   Intent object?                                      6      A. The difference is very analogous to
 7      A. An Intent object is a message. It is          7   the difference between static, what's called
 8   a part, a key part of the Android system. It is     8   static and dynamic linking in terms of calling
 9   used to, for example, launch -- allows one          9   subroutines, which is described, for example, in
10   activity to launch another activity by passing     10   I believe it's Chapter 7 of the textbook that
11   that as the input parameter to a method called     11   I'm using in my undergraduate class this
12   startActivity.                                     12   semester, where, in the case of an explicit
13      Q. Are there different types of intents         13   Intent, it actually specifies the specific
14   within Android?                                    14   activity to be launched by name, whereas in an
15      A. Yes, there are.                              15   implicit Intent, it describes the functionality
16      Q. And what are they?                           16   of that activity. So it has a name, a type of
17      A. Well, you can -- an Intent has several       17   name for it, but if, for example, if the -- if
18   different fields in it and you can populate the    18   you want to open your e-mail composition, an
19   different fields in different ways. There's a      19   e-mail composition window to start composing
20   data field, for example, an action field, and      20   e-mail to somebody, if the user has installed
21   other fields. Sometimes people refer to            21   multiple e-mail programs, then it's possible at
22   implicit and explicit intents.                     22   run time to choose which is -- to select the
23      Q. And in your discussion of the use of         23   preferred one as opposed to hardwiring a
24   Intent, are they implicit or explicit intents in   24   specific choice. And that's become best
25   connection with this?                              25   practice.
                                             Page 112                                              Page 113
 1           For example, in library call linking,       1   Context Menus work, once the -- once the
 2   the industry has moved from what we call static     2   detected structures become links, then if the
 3   to dynamic linking, which is directly analogous     3   user long-presses on a detected structure, then
 4   to the difference between explicit and implicit     4   it will necessarily call onCreateContextMenu.
 5   Intent.                                             5           So I have identified it here as -- as
 6       Q. If you could go to paragraph 71 of           6   this is where linking begins, but, I mean, you
 7   your declaration.                                   7   could also view it that, you know, the code is
 8       A. Yes.                                         8   already in place so that if the user is going to
 9       Q. And just, again, break this down a           9   long-press a detected structure, they will see
10   little bit. The -- the 71 pertains to your         10   this linked menu. But in my analysis, that's --
11   opinion concerning how actions are linked to       11   I did begin what I described as linking at this
12   detected structures, correct?                      12   point here in paragraph 71.
13       A. Yes.                                        13      Q. What do you mean "if the code is
14       Q. And in your second sentence, you state      14   already in place"? What code?
15   that, "The onCreateContextMenu method in the       15      A. The code that will call the -- the
16   Browser Activity class is called after the user    16   user interface code for Android supports Context
17   has selected a detected structure through a        17   Menus, meaning that if you -- if you long-press
18   long-press"; is that correct?                      18   on certain things, like a link, basically, then
19       A. Yes, that's correct.                        19   it knows to call certain methods, in particular,
20       Q. And is the calling of the                   20   onCreateContextMenu gets called and that's --
21   onCreateContextMenu in the Browser class, that's   21   that code is already there in the system before
22   the first step in the linking, in your opinion,    22   any of this has been invoked.
23   correct?                                           23      Q. The code to call
24       A. Well, the code has already been -- is       24   onCreateContextMenu --
25   already in place so that if you, because of how    25      A. Yes.


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 1      Q. -- exists in the system?                      1   one of them by pressing on it, then it will --
 2      A. That's right.                                 2   the system will then necessarily call
 3      Q. And once you call onCreateContextMenu,        3   startActivity and pass into it an input
 4   that in turn calls the onCreateContextMenu          4   parameter that includes not only the information
 5   method of the Controller Class; is that correct?    5   about what it's supposed to do, for example,
 6      A. That's right.                                 6   open the dialer, but also the detected
 7      Q. And at that point, what happens?              7   structure.
 8      A. It then calls getHitTestResult to see         8          So the linking to the detected
 9   whether the thing that you have long-pressed is     9   structure is there, because if they choose the
10   something that it considers to be a detected       10   linked action, the detected structure will be
11   structure in the context of -- of the '647         11   passed along to the action, which then causes
12   patent, and if it believes that it is, then it     12   the CPU to perform a sequence of operations on
13   will then call setIntent to populate this pop-up   13   that detected structure.
14   menu properly so that the user will see this       14      Q. You said "if they choose the linked
15   pop-up menu with these choices of candidate        15   action," at the point that they choose the
16   linked actions.                                    16   action, what is the link between the action and
17      Q. You said that there are choices of           17   the structure? If, for instance, if they do not
18   candidate linked actions. What in your opinion     18   choose the action, is there a link?
19   is the link between the actions in that pop-up     19      A. Yes, there is a link already. The
20   menu and the structure at that point when the      20   linkage -- the link -- well, I would -- I tend
21   menu shows up?                                     21   to think of the link being from the structure to
22      A. The link is that if the user chooses         22   the action. You said from the action to the
23   one of those choices or the things in the pop-up   23   structure, but that's fine.
24   menu such as dial a phone number or add a phone    24          But the link is that because setIntent
25   number to your contact list, if they do choose     25   has been called, which means that an Intent
                                            Page 116                                                Page 117
 1   object has been stored with each choice in the      1   construction, that it is still your opinion that
 2   Context Menu data structure, and because the        2   the Samsung Galaxy Nexus infringes; is that
 3   code is already there in the invoke method in       3   correct?
 4   MenuItemImpl, then whether or not -- the user       4       A. That's correct.
 5   may not choose any of these linked actions, but     5       Q. Under the Northern District of
 6   everything is in place so that if they did          6   Illinois' construction, what is the client in
 7   choose one of them, it will necessarily cause       7   the Samsung Galaxy Nexus?
 8   the system to then perform the action. So           8       A. The client is the -- is the browser
 9   that's -- that's the link.                          9   application code, which is -- yes, the Browser
10      Q. So all of this discussion we've been         10   Activity code.
11   having is part of the analyzer server, correct?    11       Q. And in the Samsung Galaxy Nexus, using
12   The analyzer server detects structures and links   12   the Northern District of Illinois' claim
13   actions to the detected structure?                 13   construction, what is the server routine?
14      A. That's correct.                              14       A. It is the -- it is the code that I
15      Q. And you'll recall we were discussing         15   have described here in paragraph 67 and 70 that
16   earlier that the Northern District of Illinois     16   performs the detection and the linking of
17   construed the analyzer server element as a         17   actions.
18   server routine separate from a client that         18       Q. So that's 67 and 70?
19   receives data having structures from the client,   19       A. Yes.
20   right?                                             20       Q. That includes CacheBuilder, correct?
21      A. Yes, that is what the -- my                  21       A. Yes, that's right.
22   understanding of the ruling, yes, that's           22       Q. And CacheBuilder is a part of browser,
23   correct.                                           23   right?
24      Q. And I believe that you said, even            24       A. No, CacheBuilder is a part of Web Kit.
25   though you disagree with that claim                25   It's an external library that's not part of the


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 1   Browser Activity. It's reused by other parts of     1   application, but instead it's a utility meant to
 2   the system. Other -- other applications call in     2   be used by many applications, and that's the
 3   to Web Kit routines other than the browser that     3   case here.
 4   you see on -- that pops up on your screen.          4      Q. Then the code that's identified in
 5      Q. So, actually, let me first be clear.          5   paragraph 70 you just said also is part of the
 6   When you said that the server routine, you're       6   server, the server routine, correct, in your
 7   saying that it is all of the code you have          7   opinion?
 8   identified in both 67 and 70?                       8      A. Yes, that's right.
 9      A. Yes. I mean, and also the methods             9      Q. OnCreateContextMenu method of the
10   that they call, and for object-oriented code,      10   Browser Activity class, that is part of the
11   you need to include the methods that they          11   browser, correct?
12   inherent from their parent classes.                12      A. The -- in adopting the -- since we're
13      Q. And so you said and CacheBuilder is          13   discussing the claim construction that discusses
14   part of a shared library?                          14   clients and servers, in any client/server
15      A. Yes, it's part of the Web Kit. It's          15   architecture, the client has to exercise the
16   part of Web Kit, which is a shared library.        16   interface into the server. There has to be some
17      Q. And is a shared library a server             17   code in the client that calls into it. So that
18   routine?                                           18   is the code here for onCreateContextMenu and
19      A. Yes. It is in this case, yes.                19   Browser Activity and Controller, for example.
20      Q. How is the shared library a server           20      Q. Okay. So, in your opinion, the
21   routine?                                           21   onCreateContextMenu method of Browser Activity
22      A. It is something that is designed to be       22   and the onCreateContextMenu method of the
23   used by a wide variety of different                23   Controller Class are the code calling from the
24   applications. It is not something that is --       24   client to the server?
25   that a programmer custom-builds for their own      25      A. Yes, that's right. That's -- that
                                            Page 120                                                 Page 121
 1   code is -- they're the bulk of the functionality    1   routine separate from the application that's
 2   for the linking is -- I mean, the analyzer          2   being executed?
 3   server is separate, but it's the server, but        3      A. I'm not sure that I fully understood
 4   anytime you interact with a server, the client      4   the question. You said the data that's being
 5   has to call into the server. So there has to be     5   sent is separate from the application? Can
 6   some interface glue code, as we might call it,      6   you -- can you --
 7   that hooks the application -- the client into       7      Q. So is -- portions of the routine that
 8   the server, and that's -- that's what's in          8   you have identified as the server routine are
 9   onCreateContextMenu.                                9   part of the browser application, correct?
10      Q. Still using the Northern District of         10          MR. REITER: Objection. Misstates
11   Illinois' claim construction, how does the         11      testimony.
12   server routine receive data having structures      12      A. I don't believe I said that. I think
13   from the client in the Samsung Galaxy Nexus?       13   I said that the analyzer server is separate
14      A. Yes, it is through -- let's see. It          14   other than the fact that a client needs to
15   is -- I believe it's the -- I'm not sure if I      15   interface with its server and that there's --
16   wrote that in my -- in my declaration, but it      16   that that's what the onCreateContextMenu is
17   receives it through, as I recall, a parameter      17   doing.
18   called node, which is passed -- I believe it's     18      Q. So it's your opinion, then, that the
19   the third input parameter to BuildFrame. I         19   data -- the data is being sent from the client,
20   might be wrong about that, its relative order,     20   a client that is separate from the server
21   but one of the input parameters to BuildFrame, I   21   routine?
22   believe, is -- is the -- is the data of the Web    22      A. Yes.
23   page. So that's how the analyzer server            23      Q. And why, in your opinion, is the
24   receives the data.                                 24   client that is sending the data separate from
25      Q. Now, is data that's sent to the server       25   the server routine, as you understand them?

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 1      A. Well, the functionality for the server        1       A. I see that.
 2   has been written to be part of the -- of general    2       Q. Do you agree with the court's
 3   shared libraries that are accessed across a         3   statement that, in the context of the '647
 4   number of different applications in Android.        4   patent, "routine" is synonymous with "module" or
 5   The part that's custom-built for browser            5   "component"?
 6   specifically is -- is separate from the analyzer    6       A. I don't know that I would choose to
 7   server.                                             7   use any of those words if I was describing the
 8      Q. We were talking a little bit earlier          8   analyzer server myself. So this isn't -- this
 9   about the imprecision of the use of routine. If     9   isn't language that I put forward myself, but I
10   you could go back to Mowry 4.                      10   wasn't proposing a definition of "routine."
11      A. Yes.                                         11       Q. In your understanding of how "routine"
12      Q. And in the first full paragraph about        12   is used in the art, is it incorrect to use
13   halfway through, the court --                      13   "routine" as synonymous with "module" or
14      A. Page 10?                                     14   "component"?
15      Q. I'm sorry, page 10. I apologize, page        15       A. That's -- there's not -- that's not a
16   10 in Mowry 4. The court notes that, "In the       16   terribly incorrect way to. I mean, I don't see
17   present context, 'routine' is synonymous with      17   a major problem with thinking of it that way.
18   'module' or 'component.'" Do you see that?         18   It's still not how I would choose to
19      A. I see that.                                  19   characterize the analyzer server, but that's
20      Q. And then it goes on, "all of which           20   one -- that's not an unreasonable way to think
21   describe a piece of programming necessary to       21   about routine.
22   perform a specific function; routines consist of   22       Q. And thinking about routine in that way
23   subroutines, and I find nothing wrong with         23   as a module or component, in your opinion, is
24   describing the analyzer server as one routine."    24   there any single routine in the Samsung Galaxy
25         Do you see that?                             25   Nexus that detects structures and links actions
                                            Page 124                                                Page 125
 1   to those detected structures?                       1   "module" might be used.
 2      A. Yes. Well, in -- as the -- in the             2          "Module" might be the same as
 3   court's interpretation here, this thing we were     3   "component," but I think that some programming
 4   just looking at, it mentions that a routine         4   languages actually use the word "module" and
 5   consists of subroutines. So my opinion is that      5   have a very specific meaning for it, and I don't
 6   the routine is the functionality described in       6   want to attach some -- accidentally attach some
 7   aggregate that I identified for detecting and       7   specific meaning to it that's not appropriate.
 8   linking -- detecting structures and linking         8      Q. So, in your opinion, the single
 9   actions to structures, and that would be the        9   routine in the Samsung Galaxy Nexus consists of
10   analyzer server routine.                           10   the code that you have identified in both 67 and
11      Q. Would you describe that aggregate of         11   70, paragraphs 67 and 70 of your declaration?
12   those various functionalities as being a module?   12      A. Yes.
13      A. I'm not exactly sure that I would -- I       13      Q. Is there anything else that is part of
14   would -- I would prefer probably the word          14   that routine?
15   "component" over "module" because I am not sure    15      A. As I said earlier, it's the code --
16   what "module" means exactly. It seems like it      16   the methods and subroutines or pieces of
17   may have a specific meaning to some people in      17   software that those things in turn call
18   some cases. I don't really have a good             18   themselves, and also for object-oriented code, a
19   definition of "module" in mind.                    19   class inherits code from its parent classes.
20      Q. So why do you prefer "component"?            20      Q. So there was additional code in
21      A. Oh, I think that "component" just            21   connection with the parent classes of each of
22   has -- it means a collection of things or a        22   these methods that you would include in the
23   piece of some overall system. I don't know that    23   routine, as you define it?
24   I've heard people misuse the word "component"      24      A. I would have to go back and look to
25   and I'm not exactly sure what people -- how        25   see whether there were constructers for those


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 1   system or to -- it's intended that you would do     1   startActivity.
 2   something with it, and in fact, that's the          2      Q. Is it fair to say that data structures
 3   purpose of startActivity.                           3   are purely informational?
 4          The one input parameter to                   4      A. Well, the word "informational" has a
 5   startActivity is an Intent and that, that exists    5   specific meaning in the prosecution history of
 6   explicitly as a way that you launch other           6   the '647 patent because it came up in the
 7   activities in Android, allows one application to    7   context of the Vale patent. So I can discuss
 8   launch another application.                         8   that context, but I prefer to call it data
 9       Q. So the Intent carries the information        9   rather than calling it informational because of
10   that's necessary for startActivity to launch?      10   that specific history of this patent.
11       A. Yes, an Intent concludes the data that      11      Q. What's the difference between data and
12   is needed for startActivity to launch something,   12   information, as you understand them?
13   and it then, yes, as I describe in the report,     13      A. Well, for many people, they might
14   for an implicit Intent, it then queries the        14   consider them to be synonyms, but as I said, in
15   PackageManager to figure out exactly what thing    15   the discussion of the Vale patent, there was a
16   it's going to launch.                              16   very specific meaning assigned to "information"
17       Q. The Intent itself can't do anything         17   and that's -- that's the -- since we're talking
18   unless it goes to startActivity, is that           18   about the '647 patent, that's why I wanted to be
19   correct?                                           19   just careful about how we use that word.
20       A. As is true of any data structure, when      20      Q. What was the specific meaning assigned
21   the data structure is just -- I mean, all data     21   to "information" in discussion of the Vale
22   structures are passive. They just sit somewhere    22   patent?
23   until you use execute code to do something with    23      A. The Vale patent contains a description
24   them. So it is a data structure that is            24   of how an electronic table of contents could be
25   intended to be passed to certain methods like      25   represented as a -- with a tree-like data
                                           Page 136                                                 Page 137
 1   structure, and there were -- the patent examiner    1      A. No. As I think I've -- I think I
 2   mentioned this at one stage in the prosecution      2   described this in my declaration, but the Intent
 3   of the patent as related work because it            3   is one -- one component of the linking, but the
 4   contains a link-list-type of structure where        4   link is only there because of the code that is
 5   there is a pointer from one node into another       5   also there.
 6   node, but the applicants and the term               6          In particular, after calling
 7   "information" only appeared in this context         7   setIntent, it records the input Intent object in
 8   because the applicants pointed out that although    8   an instance variable called M intent within the
 9   there is a pointer here and this is a type of       9   MenuItemImpl class, and it is the invoke method
10   data structure, this, you know, again, as I        10   within MenuItemImpl.
11   said, linking can mean different things in         11          That method is called when the user
12   different contexts.                                12   clicks on a particular Context Menu choice, and
13           In this context, the linking as in         13   because that code tests to see whether M intent
14   link list, only leads you to information because   14   has been set already, and if it has, it will
15   it's simply an index and there is nothing in       15   then necessarily call startActivity. It is all
16   Vale that leads you to an action, and the          16   of that that is part of the linking.
17   important thing about linking in the '647 patent   17          It happens to be that -- that that
18   is that you link to an action.                     18   invoke code is always sitting there, but it
19           It means that when you choose              19   doesn't follow that code path until you call
20   candidate action, such as one presented in a       20   setIntent.
21   pop-up menu, that it will then necessarily         21      Q. And is that whole grouping of code
22   perform that action. So that's what                22   that you have just described, is that, in your
23   "informational" means.                             23   opinion, a specified connection between the
24       Q. So, in your opinion, is the Intent the      24   structure and the action?
25   link between the structure and the action?         25      A. Yes. Indeed, when you call -- after

                                                                                                                35
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 1   setIntent has been called, the coding data is       1      A. What I mean is that there's already
 2   there so that it is now necessarily the case        2   been a large amount of mechanism that is built
 3   that when you click on an option in the Context     3   into the system that will cause the entire
 4   Menu, it will definitely call startActivity with    4   linking -- the entire specified connection to
 5   the Intent, and since it's been formed properly,    5   occur, and the very last bit that needs to be
 6   it will perform -- cause the CPU to perform a       6   plugged in is to call setIntent with the Intent
 7   sequence of operations on the detected              7   object, and at that point the -- the actions in
 8   structure. So it performs the action.               8   the Context Menu become live.
 9      Q. Before setIntent is called, is there a        9          Now, before the user has long-pressed
10   specified connection between the structure and     10   on a detected structure, there is no Context
11   the action?                                        11   Menu to display so there's no reason to show
12      A. The -- the last piece of the puzzle          12   anything or build it, so it's good coding
13   has not been put in place yet until setIntent is   13   practice to not do work that's unnecessary.
14   called, but the code is there such that, before    14          So that's the reason why those Intent
15   the user -- before the user, for example, has      15   objects are created after you actually
16   even long-pressed on a detected structure, on      16   long-press a detected structure, but the code is
17   create -- the code that will then necessary call   17   already there such that it will necessarily all
18   onCreateContextMenu and cause this whole           18   happen when you press on a detected structure.
19   sequence to happen is already there, but the way   19      Q. So is it the case that until setIntent
20   I prefer to think of it is that setIntent is --    20   is called, there is not what you would consider
21   puts that last piece of the jigsaw puzzle into     21   a specified connection in the Samsung Galaxy
22   place.                                             22   Nexus?
23      Q. Okay. You say "setIntent puts the            23      A. I think I may not -- I may be missing
24   last piece of the jigsaw puzzle into place."       24   how the question is different from the previous
25   What do you mean by that?                          25   one, and since I gave a long answer, I can give
                                            Page 140                                                Page 141
 1   a long answer again, but I don't know if you        1   structure, then they will never be even able to
 2   changed something in the question that I missed.    2   think about selecting a linked action. So there
 3      Q. Well, you gave a long answer to the           3   would be no point in creating one.
 4   last one, which is why I asked it again.            4          MS. FERNANDS: Shall we break for
 5          In your earlier answer you said that         5      lunch?
 6   after setIntent is called --                        6          MR. REITER: Sure.
 7      A. Okay.                                         7          THE VIDEOGRAPHER: The time is 1:34.
 8      Q. -- there is a specified connection; is        8      We're going off the record.
 9   that correct?                                       9          (Luncheon recess.)
10      A. Yes.                                         10
11      Q. Okay. Before setIntent is called, is         11
12   there a specified connection, in your opinion?     12
13      A. I still view that there is a specified       13
14   connection in that the code is in place even       14
15   before the user even presses on the -- even        15
16   before setIntent is called, the code is there      16
17   such that if the user does press a particular      17
18   detected structure, setIntent will necessarily     18
19   be called and it will complete this entire         19
20   process. So I view that also as a specified        20
21   connection.                                        21
22      Q. But the user has to press the                22
23   structure for setIntent to be called?              23
24      A. The user does have to press the              24
25   structure, although if they don't press on the     25


                                                                                                                36
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 1   patent," do you see that?                             1        THE WITNESS: Okay, thank you.
 2      A. Yes.                                            2        MR. REITER: And I have no questions
 3      Q. What do you mean when you say it                3   at this time.
 4   "incorporates features claimed"?                      4        THE VIDEOGRAPHER: The time is 2:51.
                                                           5   That's the end of today's deposition. We're
 5      A. Well, it practices claims 1 and 8, so           6   going off the record.
 6   maybe "features" wasn't the best word choice.         7               oOo
 7   What I -- I guess, put more precisely, it             8
 8   practiced -- they practiced claims 1 and 8 of         9
 9   the '647 patent.                                     10
10          MS. FERNANDS: Let's go off the                11
11      record.                                           12
                                                          13
12          THE VIDEOGRAPHER: The time is 2:39.
                                                          14
13      We're going off the record.                       15
14          (Recess.)                                     16
15          THE VIDEOGRAPHER: The time is 2:50.           17               ____________________
16      We're back on the record.                                          TODD MOWRY
17          MS. FERNANDS: Dr. Mowry, thank you            18
18      very much for your time today. We are done        19   Subscribed and sworn to
19      with this deposition concerning your                   before me this day
20      declaration in connection with the '647           20   of      2012.
                                                          21
21      patent for this case.
                                                               _______________________
22          (Continued on the next page to include        22
23      the jurat.)                                       23
24                                                        24
25                                                        25
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 1                                                1                       INDEX
 2            CERTIFICATE                         2            TESTIMONY OF T. MOWRY:                         PAGE
 3   STATE OF NEW YORK )                          3            Examination by Ms. Fernands                6
                 : ss                             4
 4   COUNTY OF NEW YORK)                          5            MOWRY EXHIBITS:                             PAGE
 5       I, Kathy S. Klepfer, a Registered        6            Exhibit 1, Declaration of Todd Mowry             7
 6   Merit Reporter and Notary Public within and
                                                  7            Exhibit 2, List of Materials Considered       12
 7   for the State of New York, do hereby
                                                  8            Exhibit 3, U.S. Patent No. 5,946,647          14
 8   certify:
 9       That TODD MOWRY, the witness whose       9            Exhibit 4, Judge Posner's Order of March 19,      20
10   deposition is herein before set forth, was  10            2010
11   duly sworn by me and that such deposition is11            Exhibit 5, Expert Report of Dr. Todd C. Mowry 92
12   a true record of the testimony given by such12            Regarding Infringement and Domestic Industry
13   witness.                                    13            For U.S. Patent No. 5,946,647
14       I further certify that I am not         14            Exhibit 6, Initial Determination from the 710 96
15   related to any of the parties to this action15            Investigation
16   by blood or marriage and that I am in no way16            Exhibit 7, a document with the heading         100
17   interested in the outcome of this matter.   17            Infringement by Samsung Galaxy Nexus of U.S.
18       In witness whereof, I have hereunto     18            Patent No. 5,946,647
19   set my hand this 4th day of April, 2012.
                                                 19            Exhibit 8, Curriculum Vitae of Todd C. Mowry 142
20
                                                 20            Exhibit 9, Commission Opinion                154
21          -------------------------------
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22                                               22            proceeding regarding the '647 patent
23                                               23            Exhibit 11, office action in the          160
24                                               24            reexamination proceedings of the '647 patent
25                                               25


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 1


 2                    CERTIFICATE
 3   STATE OF NEW YORK
                                           ss
 4   COUNTY OF NEW YORK)
 5           I, Kathy S. Klepfer, a Registered
 6   Merit Reporter and Notary Public within and
 7   for the State of New York, do hereby
 8   certify:
 9           That TODD MOWRY, the witness whose
10   deposition is herein before set forth, was
11   duly sworn by me and that such deposition is
12   a true record of the testimony given by such
13   witness.
14           I further certify that I am not
15   related to any of the parties to this action
16   by blood or marriage and that I am in no way
17   interested in the outcome of this matter.
18           In witness whereof, I have hereunto
19   set my hand this 4th day of April, 2012.
20

21


                     KATHY S. KLEPFER, RPR, RMR, CRR, CLR
22
                                                                                            I
23                                                                                          i

24                                                                                          i

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Apple
Store
Mac
iPod
iPhone
iPad
iTunes
Support




Features
Built-in Apps
From the App Store
iOS
iCloud
Tech Specs




                     What is Siri?
                     Siri is the intelligent personal assistant that helps you get things done just by asking. It allows you
                     to use your voice to send messages, schedule meetings, place phone calls, and more. But Siri isn’t
                     like traditional voice recognition software that requires you to remember keywords and speak
                     specific commands. Siri understands your natural speech, and it asks you questions if it needs
                     more information to complete a task.

                     Siri uses the processing power of the dual-core A5 chip in iPhone 4S, and it uses 3G and Wi-Fi
                     networks to communicate rapidly with Apple’s data centers. So it can quickly understand what you
                     say and what you’re asking for, then quickly return a response.

                     Siri is currently in beta and we’ll continue to improve it over time.


                     Using Siri
                     How do I ask Siri something?
                     To talk to Siri, hold down the Home button on your iPhone 4S. You’ll hear two quick beeps and see
                     “What can I help you with?” on the screen. Just begin speaking. The microphone icon lights up to let
                     you know that Siri hears you talking. Once you’ve started a dialogue with Siri, tap the microphone
                     icon to talk to it again.

                     There’s more than one way to talk to Siri. When the screen is on, simply bring iPhone 4S up to your
                     ear. You’ll hear two quick beeps to indicate that Siri is listening to you.

                     Siri also works with headphones and Bluetooth headsets. When you’re using headphones with a
                     remote and microphone, you can press and hold the center button to talk to Siri. With a Bluetooth
                     headset, press and hold the call button to bring up Siri.




http://www.apple.com/iphone/features/siri-faq.html                                                                             4/20/2012
Apple - Siri - Frequently Asked Questions                                                                               Page 2 of 4
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                Siri waits for you to stop talking, but you can also tap the microphone icon to tell Siri you’re done
                talking. This is useful when there’s a lot of background noise.

                What happens after I ask Siri a question or ask it to do something?
                When you finish speaking, Siri displays the text of what you said and provides a response. If Siri
                needs more information to complete a request, it will ask you a question. For example, if you say
                “Remind me to call my mom,” Siri will ask “What time would you like me to remind you?”

                When you use earphones or a headset, Siri reads back text messages and email messages that
                you’ve dictated before you send them, and it reads back the subjects of reminders before you
                create them. This is especially helpful when you’re driving and can’t see the iPhone 4S screen.

                Do I have to say things a certain way to get Siri to respond?
                No. You can speak to Siri as you would to a person — in a natural voice with a conversational tone.
                If you want to know what the weather will be like tomorrow, simply say “What will the weather be
                like tomorrow?” Or “Does it look like rain tomorrow?” Or even “Will I need an umbrella tomorrow?”
                No matter how you ask, Siri will tell you the forecast.

                Does Siri work out of the box, or do I have to teach it?
                Siri works right out of the box, without any work on your part. And the more you use Siri, the better
                it will understand you. It does this by learning about your accent and other characteristics of your
                voice. Siri uses voice recognition algorithms to categorize your voice into one of the dialects or
                accents it understands. As more people use Siri and it’s exposed to more variations of a language,
                its overall recognition of dialects and accents will continue to improve, and Siri will work even
                better.

                Siri also uses information from your contacts, music library, calendars, and reminders to better
                understand what you say. So it responds more accurately when you ask to make a phone call, play
                music, or create an appointment or reminder.

                If you like, you can reset what Siri has learned about your voice by turning Siri off and then back on
                in Settings > General > Siri.
                                          Siri


                What Siri Can Do For You
                What types of things can I ask Siri about or ask it to do?
                You can ask Siri to make a call, find a business and get directions, schedule reminders and
                meetings, search the web, and more. You can even ask Siri “What can you do for me?” or tap the “i”
                in the right corner of the screen when you bring Siri up. You’ll see examples of things Siri can do,
                along with ways you can ask for things.

                Which apps does Siri work with?
                Siri works with almost all the built-in apps on iPhone 4S. And it’s smart enough to figure out which
                apps to use to provide you with answers. It also uses Search and Location Services to help you with
                your requests. Here’s a list of apps and services that Siri works with worldwide:

                      Phone                               Reminders                         Find My Friends

                      FaceTime                            Notes                             Alarms, World Clock and Timer

                      Music                               Contacts                          Wolfram|Alpha (English only)

                      Mail                                Weather                           Wikipedia search

                      Messages                            Stocks

                      Calendar                            Web Search


                Siri can also assist you using these apps and services in the U.S. in English:

                     Maps                              Local search with Yelp!




http://www.apple.com/iphone/features/siri-faq.html                                                                          4/20/2012
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                     Maps and local search support will be available in additional countries in 2012.

                     How does Siri learn who I am?
                     If Siri knows who you are, it can use your information to help you. To make sure Siri knows who you
                     are, select your contact information in Settings > General > Siri > My Info.
                                                                                            Info

                     Your information is used for questions like “How do I get home?” or “What good restaurants are
                     near work?”

                     How does Siri learn about my key relationships?
                     Siri also helps you by learning about the key people in your life. The first time you ask Siri to call
                     your sister, it will ask you who your sister is. That information is stored in Contacts along with
                     other relationship information like “mom,” “husband,” and “grandma.”

                     How do location-
                            location-based reminders work?
                     Because Siri knows your current location and other locations like “home” and “work,” it can remind
                     you to do a certain task when you leave a location or arrive at a location. So if you tell Siri,“Remind
                     me to call my wife when I leave the office,” Siri does just that.

                     To turn off the ability for Siri to use your location, go to Settings > Location Services and set the
                     switch for Siri to Off. Regardless of how Locations Services is set for Siri, information about your
                     location is not tracked or stored outside the phone.

                     Does iPhone 4S take dictation?
                     Yes. iPhone 4S supports dictation in any app that has a keyboard. So instead of typing, you can
                     speak and your words will be entered as text.

                     To start dictation, tap the microphone button on your keyboard and start talking. When you’re
                     finished, tap Done and your words will be turned into text. Dictation for each language is built into
                     the keyboard for that language.

                     Is Siri accessible to blind and visually impaired users?
                     Yes. VoiceOver, the screen reader built into iOS, can speak any text that’s displayed in responses
                     from Siri. You can navigate through the responses and have each one read to you. This includes the
                     days of a weather forecast, the body of an email, the details of an answer from Wolfram|Alpha, and
                     more.


                     Language Support and Availability
                     Siri works exclusively on iPhone 4S. Siri understands and can speak the following languages:

                        English (United States, United Kingdom, Australia)
                        French (France)
                        German (Germany)

                        Japanese (Japan)




                     In 2012, Siri will support additional languages, including Chinese, Korean, Italian, and Spanish.

                     Can I use Siri in any of these languages in other countries?
                     Yes. Siri can be enabled in any country, and you can choose to speak to it in English, French, or
                     German. However, Siri is designed to recognize the specific accents and dialects of the supported
                     countries listed above. Since every language has its own accents and dialects, the accuracy rate will
                     be higher for native speakers.




                                   Shop online.                       Visit a store.                 Call Apple.               Apple Store app.
                                   Order your iPhone                  Buy iPhone at the              Get answers before        It’s the easiest way to
           On AT&T, Sprint,        online and get it                  Apple Retail Store and         you buy. Call             buy iPhone 4S — right
           and Verizon.            delivered to your                  we’ll activate it and          1-800-MY-APPLE to         from your current
                                   door. It ships free and            set it up just the way         talk with a               iPhone.
           Starting at $199*       ready to use.                      you want.                      knowledgeable             Download now
         iPhone     Features     Siri    Frequently Asked Questions




http://www.apple.com/iphone/features/siri-faq.html                                                                                   4/20/2012
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http://www.apple.com/iphone/features/siri-faq.html                                                                        4/20/2012
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iPhone Top Seller At AT&T, Sprint, And Verizon
Apple's iPhone 4S is the number-one selling handset at the nation's three largest network operators,
outselling all other smartphones combined.
By Eric Zeman, InformationWeek
April 02, 2012
URL: http://www.informationweek.com/news/mobility/smart_phones/232800138




10 Top iOS 5 Apps
(click image for larger view and for slideshow)
The Apple iPhone 4S is the undisputed smartphone champ, according to data collected by Canaccord Genuity.
The firm examined individual handset sales across the top four wireless network operators in the U.S. between
December 2011 and March 2012. The iPhone leads at AT&T, Sprint, and Verizon, although not at T-Mobile
USA, where it isn't available.

"Our March checks indicated the iPhone continues to extend its market share gains," wrote Canaccord Genuity
analyst Mike Walkley in a note to clients today. "In fact, we believe iPhones are outselling all other smartphones
combined at Sprint and AT&T and selling at roughly equal volume to all Android smartphones at Verizon."

Given the number of other smartphones that are available from both AT&T and Sprint, that's quite an impressive
feat. AT&T alone sells more than two dozen smartphone models. Some of the most notable models are the
Samsung Galaxy Note (which has reached 5 million units sold all by itself), the HTC Vivid, and the Samsung
Galaxy S II Skyrocket. The iPhone 4S alone is selling more units than those two dozen smartphones' sales figures
combined. At Sprint, its non-iPhone device lineup is aging a bit, as the company has slowed down the rate at
which it introduces new products.

[ Verizon was right on target, despite initial doubts about the iPhone 4's success. See Verizon Wireless
CEO Claims Strong iPhone Sales. ]

The top three handsets by carrier for the month of March are as follows:

-- AT&T: Apple iPhone 4S, Samsung Galaxy S II, Samsung Galaxy Note.
-- Sprint: Apple iPhone 4S, Samsung Galaxy S II, Apple iPhone 4.




http://www.informationweek.com/news/mobility/smart_phones/232800138?printer_friendl... 4/10/2012
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-- T-Mobile. Samsung Galaxy S II, HTC Amaze, Samsung Galaxy S Blaze.
-- Verizon: Apple iPhone 4S, Motorola RAZR/RAZR MAXX, and Samsung Galaxy Nexus.

Despite the iPhone 4S's leadership at the top three carriers, Samsung is obviously hot on Apple's trail with its own
models. Samsung isn't popular just in the U.S., notes Canaccord.

"Our global checks also indicated another quarter of strong market share gains for Samsung, particularly in
Europe and Asia," wrote Walkley. "In fact, we believe Samsung's strong smartphone portfolio across all price
tiers will result in Samsung's smartphone shipments increasing a remarkable 15%-plus sequentially during the
seasonally weak March quarter."

The iPhone 4S led at AT&T, Sprint, and Verizon in every month between December and March. Only time will
tell what effect the next generation of Android devices will have on the iPhones 4S's sales lead in the months to
come.

iPhones, iPads, and Android devices are opening a new gateway for malware that old security tools can't
completely close. Security pros must combine education, policy development, and the use of existing tools and
new mobile device management systems to effectively balance mobile device risk with productivity rewards. Find
out more in our Stop Mobile Device-Borne Malware report. (Free registration required.)




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http://www.informationweek.com/news/mobility/smart_phones/232800138?printer_friendl... 4/10/2012
